     Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 1 of 126




                                   EXHIBITS


EXHIBIT A:       USLIPOL000001-26 – USLI 2021 Policy No. EPL1559591E

EXHIBIT B:       Declaration of Kevin Brown

EXHIBIT C:       USLIPOL000027-52 – USLI 2022 Policy No. EPL1559591E

EXHIBIT D:       Complaint

EXHIBIT E:       First Amended Complaint

EXHIBIT F:       Docket CV2021-013286

EXHIBIT G:       USLI000229-231 – 4.11.22 Resp Letter to Denial

EXHIBIT H:       USLI000225-228 – Denial of Coverage Letter
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 2 of 126




                    EXHIBIT “A”
                  Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 3 of 126

    EPL1559591D                                                                                               Home Office Copy
   Renewal of Number
                              United States Liability Insurance Company                                        Direct Bill Policy
                                   1190 Devon Park Drive, Wayne, Pennsylvania 19087
POLICY DECLARATIONS            A Member Company of United States Liability Insurance Group
No. EPL1559591E

NAMED INSURED AND ADDRESS:
USA TRUCK CENTER, LLC
C/O RAJ PATEL
9831 S 51ST ST SUITE D134
PHOENIX, AZ 85044



POLICY PERIOD: (MO. DAY YR.) From: 01/08/2021 To: 01/08/2022                                12:01 A.M. STANDARD TIME AT YOUR
                                                                                              MAILING ADDRESS SHOWN ABOVE




           IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
                               WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.



                                                                                          PREMIUM
           Employment Practices Liability Insurance




                                                      TOTAL:




Coverage Form(s) and Endorsement(s) made a part of this policy at time of issue
                                            See Endorsement EOD (1/95)
 Agent:     LEAVITT GROUP AGENCY ASSOCIATION (2476)                                 Issued: 01/07/2021 1:07 PM
            PO Box 160
            Cedar City, UT 84720

 Broker:    Farmer Woods Group
            919 North 1st STreet                                              By:
                                                                                            Authorized Representative
            Phoenix, AZ 85004
                   THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS,
                   COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF,
   UPD (08-07)     COMPLETE THE ABOVE NUMBERED POLICY.
                                                                                                      USLIPOL000001
           Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 4 of 126

                                       EXTENSION OF DECLARATIONS

Policy No. EPL1559591E                                                       Effective Date:   01/08/2021
                                                                             12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS

FORMS AND ENDORSEMENTS


      The following forms apply to the policy
      Endt#               Revised                        Description of Endorsements

      EPL-108              09/07                Expanded Definition Of Organization Endorsement
      EPL-122              06/09                Franchisor Exclusion
      EPL-144              09/07                Third Party Coverage Endorsement
      EPL-148              09/07                Retroactive Date Endorsement
      EPL-162              05/10                Fair Labor Standards Act Sub-Limit Endorsement
      EPL-167              05/09                Amended Definition Of Loss Endorsement
      EPL-169              11/13                Amended Notice/Claim And Circumstance Reporting Provisions
      EPL-AZ               09/07                Arizona State Amendatory Endorsement
      EPL-J                09/07                Employment Practices Liability Insurance Policy
      JACKET AZ            07-19                Policy Jacket




    EOD (01/95)                            All other terms and conditions remain unchanged.                  Page   1   of   1
                                                                                                            USLIPOL000002
          Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 5 of 126

                  EMPLOYMENT PRACTICES LIABILITY COVERAGE PART DECLARATIONS

PLEASE READ YOUR POLICY CAREFULLY.
THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.

NOTICE: DEFENSE COSTS SHALL BE APPLIED AGAINST THE RETENTION.


    No. EPL1559591E                                                           Effective Date: 01/08/2021
                                                                                              12:01 AM STANDARD TIME

  ITEM I. PARENT ORGANIZATION AND PRINCIPAL ADDRESS
      USA TRUCK CENTER, LLC
      C/O RAJ PATEL
      9831 S 51ST ST SUITE D134
      PHOENIX, AZ 85044



  ITEM II. POLICY PERIOD: (MM/DD/YYYY) From: 01/08/2021 To: 01/08/2022

                                     Employment Practices Liability
   ITEM III. LIMITS OF LIABILITY              $500,000            EACH CLAIM
                                              $500,000            IN THE AGGREGATE



   ITEM IV. RETENTION:                        $2,500              EACH CLAIM

   ITEM V. PREMIUM:                           $10,069

   ITEM VI. RETROACTIVE DATE:                 01/08/2016

   ITEM VII. CO-INSURANCE:                    0.00%




       ITEM VIII. Coverage Form(s)/Part(s) and Endorsement(s) made a part of this policy at time of issue:
            See Endorsement EOD (01/95)




   THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

EPL-150 (08/12)                                                                                              Page   1 Of   1

                                                                                                      USLIPOL000003
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 6 of 126




     This page has been intentionally left blank.




                                                             USLIPOL000004
         Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 7 of 126

                  UNITED STATES LIABILITY INSURANCE GROUP
                            WAYNE, PENNSYLVANIA

                       This Endorsement modifies insurance provided under the following:

                EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY



        EXPANDED DEFINITION OF ORGANIZATION ENDORSEMENT
It is hereby agreed that Section III. DEFINITIONS, L. "Organization" is amended to include the
following:



     Green Fili, LLC
     Jay Sibal Shushi Investments, LLC
     Best Sub, LLC
     G-Valley, LLC
     Lake Havasu City LHC, LLC
     Invest Group, LLC




All other terms and conditions of this policy remain unchanged. This endorsement is a part of your Policy
and takes effect on the effective date of your Policy, unless another effective date is shown.




EPL 108 (09-07)                                                                              Page 1 of 1
                                                                                           USLIPOL000005
       Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 8 of 126




              UNITED STATES LIABILITY INSURANCE GROUP
                       WAYNE, PENNSYLVANIA
                    This endorsement modifies insurance provided under the following:

            EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY

                              FRANCHISOR EXCLUSION

It is hereby agreed that the Company shall not be liable to make any payment for Loss or
Defense Costs based upon, arising out of, directly or indirectly resulting from or in consequence
of any Claim:
     1. Brought against any Insured by any current or former Franchisor or any other current or
         former franchisee of a Franchisor;
     2. Brought against any Insured based solely on the acts or omissions of a current or former
         Franchisor or any other current or former franchisee(s) of a Franchisor; or
     3. Brought against any Insured as a class action lawsuit, whether certified or not, based in
         whole or in part on:
         a. the Insured’s franchise relationship with any current or former Franchisor;
         b. the acts or omissions of a current or former Franchisor; or
         c. the acts or omissions of any other current or former franchisee(s) of a Franchisor.

For the purpose of this endorsement:
“Franchisor” means a person or entity with whom or for whom any Insured operates a
franchise under any form of franchise agreement.



All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




EPL 122 (06-09)                                                                         Page 1 of 1
                                                                                        USLIPOL000006
   Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 9 of 126




          UNITED STATES LIABILITY INSURANCE GROUP
                   WAYNE, PENNSYLVANIA
                This Endorsement modifies insurance provided under the following:

        EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY


              THIRD PARTY COVERAGE ENDORSEMENT

Section III. DEFINITIONS, R. “Wrongful Act”, is amended to add the following
paragraph:

       Wrongful Act shall also include any actual or alleged act of:

       (1) Third Party Discrimination; or
       (2) Third Party Harassment.

Section III. DEFINITIONS, is amended to add the following:

       T. “Third Party” means any person(s) with whom an Insured in their capacity
          as such interacts while the Insured is performing duties related to the conduct
          of the Organization’s business.

       U. “Third Party Discrimination” means discrimination by an Insured, in their
          capacity as such, against a Third Party based upon such Third Party’s race,
          religion, age, sex, disability, national origin, sexual orientation or other
          protected class or characteristic established under applicable federal, state or
          local statute or ordinance while the Insured is performing duties related to the
          conduct of the Organization’s business.

       V. “Third Party Harassment” means; sexual harassment including any
          unwelcome sexual advances, requests for sexual favors or other verbal or
          physical conduct of a sexual nature against a Third Party, or other
          harassment which creates an environment that is hostile, intimidating or
          offensive to a Third Party;

           committed or allegedly committed by an Insured in their capacity as such
           while the Insured is performing duties related to the conduct of the
           Organization’s business. Third Party Harassment shall not include sexual
           abuse or molestation.

All other terms and conditions of this Policy remain unchanged. This endorsement is a
part of your Policy and takes effect on the effective date of your Policy unless another
effective date is shown.


EPL 144 (09-07)                                                                     Page 1 of 1
                                                                                       USLIPOL000007
             Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 10 of 126

                   UNITED STATES LIABILITY INSURANCE GROUP
                             WAYNE, PENNSYLVANIA
                        This Endorsement modifies insurance provided under the following:

                  EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY



                         RETROACTIVE DATE ENDORSEMENT
It is hereby agreed that section II. FULL PRIOR ACTS COVERAGE PROVISION is deleted and
replaced with the following:

    Coverage shall apply to any Claim made against the Insured for Wrongful Acts arising solely out
    of the Insured's duties on behalf of the Organization committed prior to the expiration date of this
    Policy or the effective date of the cancellation or nonrenewal of this Policy, if applicable, provided
    that the Claim is first made during the Policy Period, or Extended Reporting Period, if applicable.

    However, coverage shall not apply to any Claim made against any Insured based upon, arising out
    of, directly or indirectly resulting from, in consequence of, or in any way involving a Wrongful Act
    committed or alleged to have been committed prior to 01/08/2016.

    Coverage shall also not apply to any Claim based upon or arising out of any Wrongful Act or
    circumstance likely to give rise to a Claim of which the person or persons signing the
    Application had knowledge, or otherwise had a reasonable basis to anticipate might result in a
    Claim, prior to the earlier of:

         A. the inception date of this Policy; or

         B. the inception date of the first Policy of this type the Company has issued to the Parent
            Organization, provided that the Company has written continuous coverage for the Parent
            Organization from such date to the inception date of this Policy.




All other terms and conditions of this policy remain unchanged. This endorsement is a part of your
policy and takes effect on the effective date of your policy unless another effective date is shown.




EPL 148 (09-07)                                                                                Page 1 of 1
                                                                                              USLIPOL000008
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 11 of 126




               UNITED STATES LIABILITY INSURANCE GROUP
                        WAYNE, PENNSYLVANIA
                    This endorsement modifies insurance provided under the following:

             EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY

       FAIR LABOR STANDARDS ACT SUB-LIMIT ENDORSEMENT

It is agreed that

I. INSURING AGREEMENT is amended by addition of the following:
    C. The Company will pay on behalf of the Insured a sub-limit of liability of $100,000 in
       excess of the Retention for all Loss and Defense Costs combined that the Insured shall
       become legally obligated to pay because of Claims first made against the Insured during
       the Policy Period or Extended Reporting Period, if applicable, for any actual or alleged
       violation of the federal Fair Labor Standards Act, any amendments thereto, or the
       provisions of any similar federal, state or local law regulating minimum wage, working
       hours, overtime, child labor, record keeping and other matters regulated under the federal
       Fair Labor Standards Act including misclassification of or misrepresentation to
       Employees under these laws. This sub-limit does not apply to or restrict the Limit of
       Liability described in A. above, for Claims alleging violations of the Equal Pay Act.

III. DEFINITIONS, R. “Wrongful Act”, is amended to add the following
     (10) violation of the federal Fair Labor Standards Act, any amendments thereto, or the
        provisions of any similar federal, state or local law regulating minimum wage, working
        hours, overtime, child labor, record keeping and other matters regulated under the federal
        Fair Labor Standards Act;

IV. EXCLUSIONS, B.(9), is deleted in its entirety for purposes of coverage provided by this
endorsement only.

V. LIMITS OF LIABILITY AND RETENTION is amended by addition of the following:
   The $100,000 Sub-Limit of Liability for an actual or alleged violation of the Fair Labor
   Standards Act, amendments thereto or provisions of any similar federal, state or local law
   regulating minimum wage, working hours, overtime, child labor, record keeping and other
   matters regulated under the federal Fair Labor Standards Act shall be a part of and not in
   addition to the Limit specified in the Policy Declarations. Defense Costs for Claims arising
   out of an actual or alleged violation of the Fair Labor Standards Act, amendments thereto or
   provisions of any similar federal, state or local law regulating minimum wage, working
   hours, overtime, child labor, record keeping and other matters regulated under the federal
   Fair Labor Standards Act shall be included within the $100,000 Sub-Limit of Liability set
   forth in this endorsement. The $100,000 Sub-Limit of Liability shall be the maximum
   liability for Loss and Defense Costs from all Claims for actual or alleged violations of the
   Fair Labor Standards Act, amendments thereto or provisions of any similar federal, state or


EPL 162 (05-10)                                                                         Page 1 of 2
                                                                                        USLIPOL000009
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 12 of 126



   local law regulating minimum wage, working hours, overtime, child labor, record keeping
   and other matters regulated under the federal Fair Labor Standards Act.

VIII. DEFENSE AND SETTLEMENT, B., is amended by addition of the following:
   However, in the case of a Claim involving an actual or alleged violation of the Fair Labor
   Standards Act, any amendments thereto, or the provisions of any similar federal, state or
   local law regulating minimum wage, working hours, overtime, child labor, record keeping
   and other matters regulated under the federal Fair Labor Standards Act, the Company will
   pay Defense Costs until such time as the $100,000 Sub-Limit of Liability provided by
   INSURING AGREEMENT, C., is exhausted by payment of Loss and/or Defense Costs
   applicable to actual or alleged violations of the Fair Labor Standards Act, any amendments
   thereto or the provisions of any similar federal, state or local law regulating minimum wage,
   working hours, overtime, child labor, record keeping and other matters regulated under the
   federal Fair Labor Standards Act at which point the Company shall have no further duty to
   defend such Claim.




All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
the Parent Organization’s Policy and takes effect on the effective date of the Parent
Organization’s Policy unless another effective date is shown.




EPL 162 (05-10)                                                                       Page 2 of 2
                                                                                      USLIPOL000010
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 13 of 126




              UNITED STATES LIABILITY INSURANCE GROUP
                       WAYNE, PENNSYLVANIA
                    This Endorsement modifies insurance provided under the following:

            EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY

              AMENDED DEFINITION OF LOSS ENDORSEMENT

It is hereby agreed that Section III. DEFINITIONS is amended by deleting paragraph K. and
replacing it with the following:

   K. “Loss” means damages, settlements, front pay, back pay, and pre-judgment and post-
      judgment interest awarded by a court.
      Loss also includes:
          (1) punitive and exemplary damages;
          (2) liquidated damages awarded by a court pursuant to a violation of the Equal Pay
              Act, the Age Discrimination in Employment Act, the Family Medical Leave Act,
              and the Fair Labor Standards Act (if endorsement EPL-162 is endorsed to this
              policy), all as amended, or any rules or regulations promulgated thereunder, or
              similar provisions of any federal, state or local law, statute or regulation; and
          (3) the multiplied portion of any multiplied damage award
          to the extent such damages are insurable under applicable law, statute or regulation.
      For the purpose of determining the insurability of punitive, exemplary or liquidated
      damages or the multiplied portion of any multiplied damage award, the laws of the
      jurisdiction most favorable to the insurability of such damages shall control, provided
      that such jurisdiction has a substantial relationship to the relevant Insured or to the
      Claim giving rise to the damages.
      Loss does not include:
          (1) fines, penalties and taxes;
          (2) monetary sanctions that are uninsurable by operation of law;
          (3) an express obligation to make payment in the event of the termination of
              employment.




All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




EPL 167 (05-09)                                                                         Page 1 of 1
                                                                                        USLIPOL000011
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 14 of 126




                     This endorsement modifies insurance provided under the following:

                EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY


         Amended Notice/Claim And Circumstance Reporting Provisions

It is agreed:

I. INSURING AGREEMENT is deleted in its entirety and replaced by:
    A. The Company will pay on behalf of the Insured, Loss in excess of the Retention not
       exceeding the Limit of Liability shown on the policy Declarations for which this
       coverage applies that the Insured shall become legally obligated to pay because of
       Claims first made against the Insured during the Policy Period or during any Extended
       Reporting Period, if applicable, for Wrongful Acts arising solely out of an Insured’s
       duties on behalf of the Organization. Such Claim must be reported to the Company in
       accordance with Section IX herein.

    B. The Company has the right and duty to defend any Claim to which this insurance
       applies, even if the allegations of the Claim are groundless, false or fraudulent.

II. FULL PRIOR ACTS COVERAGE PROVISION is deleted in its entirely and replaced by:
     Coverage shall apply to any Claim made against an Insured for Wrongful Acts arising
     solely out of the Insured’s duties on behalf of the Organization committed prior to the
     expiration date of this Policy or the effective date of cancellation or non-renewal of this
     Policy, if applicable, provided that the Claim is first made during the Policy Period, or
     Extended Reporting Period, if applicable. Such Claim must be reported to the Company in
     accordance with Section IX herein.

    However, coverage shall not apply to any Claim based upon or arising out of any Wrongful
    Act or circumstance likely to give rise to a Claim of which the person or persons signing the
    Application had knowledge or otherwise had a reasonable basis to anticipate might result in
    a Claim, prior to the earlier of:
       A. the inception date of this Policy; or

        B. the inception date of the first Policy of this type the Company has issued to the
           Parent Organization, provided that the Company has written continuous coverage
           for the Parent Organization from such date to the inception date of this Policy.


VII. EXTENDED REPORTING PERIOD is deleted in its entirety and replaced by:
 A. If the policy expires, is cancelled or non-renewed for any reason other than non-payment of
      premium, the Parent Organization shall have the right to purchase an Extended Reporting
      Period to report to the Company as soon as practicable during the Extended Reporting
      Period any Claim (s) being first made against an Insured during the twelve (12) months,
      or twenty-four (24) months or thirty six (36) months after the effective date of such


EPL 169 (11-13)                                                                          Page 1 of 3
                                                                                                USLIPOL000012
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 15 of 126




     expiration, non-renewal or cancellation (depending upon the Extended Reporting Period
     purchased,). For the purpose of this section, any change in premium terms or terms on
     renewal shall not constitute a refusal to renew. An Extended Reporting Period shall only
     apply to a Claim arising from a Wrongful Act which was committed before the date of
     such expiration, cancellation or non-renewal.

 B. The additional premium for the Extended Reporting Period shall be 50% of the annual
    premium set forth in the Policy Declarations for the twelve (12) month period; 100% of the
    annual premium set forth in the Policy Declarations for the twenty-four (24) month period;
    or 150% of the annual premium set forth in the Policy Declarations for the thirty-six (36)
    month period. The Extended Reporting Period begins on the expiration date or the effective
    date of cancellation or non-renewal of the policy. The Parent Organization must notify
    the Company in writing and must pay the additional premium due above no later than
    thirty (30) days after the effective date of such expiration, cancellation or non-renewal.

 C. All premium paid with respect to an Extended Reporting Period shall be deemed fully
    earned as of the first day of the Extended Reporting Period.

 D. The Limits of Liability available during the Extended Reporting Period shall not exceed the
    balance of the Limits of Liability available on the expiration date or effective date of
    cancellation or non-renewal of the policy.

 E. Coverage for a Claim first received and reported during the Extended Reporting Period
    shall be excess over any other valid and collectible insurance providing coverage for such
    Claim.


IX. NOTICE/CLAIM AND CIRCUMSTANCE REPORTING PROVISIONS is deleted in its
entirety and replaced by:
    Notice hereunder shall be given in writing to the Company. If mailed, the date of mailing of
    such notice shall constitute the date that such notice was given and proof of mailing shall be
    sufficient proof of notice.

   A. Written Notice of a Claim:
      (1) As a condition precedent to exercising any right to coverage under this Policy, an
          Insured shall give to the Company written notice of a Claim, as soon as practicable
          but:
          (a) if the Policy expires, is cancelled or is non-renewed and if no Extended Reporting
              Period is purchased, no later than sixty (60) days after the expiration date or
              effective date of such cancellation or non-renewal. Coverage for a Claim reported
              to the Company during the sixty (60) day period after expiration, cancellation or
              non-renewal applies only if the Claim is first made against an Insured prior to
              the Policy expiration or effective date of cancellation or non-renewal; or
          (b) if an Extended Reporting Period is purchased, no later than the last day of the
              Extended Reporting Period;



EPL 169 (11-13)                                                                Page 2 of 3
                                                                                      USLIPOL000013
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 16 of 126




           provided that if the Company sends written notice to the Parent Organization
           stating that this Policy is being terminated for nonpayment of premium, an Insured
           shall give to the Company written notice of such Claim prior to the effective date of
           such termination.

       (2) If an Extended Reporting Period is purchased, notice of Claim shall be in accordance
           with the terms and conditions of Section VII. EXTENDED REPORTING PERIOD.

   B. Written Notice of a Circumstance:
      (1) An Insured shall give to the Company written notice of a circumstance which could
          reasonably be expected to give rise to a Claim being made against an Insured as
          soon as practicable during the Policy Period in which an Insured first becomes
          aware of the circumstance.

       (2) If written notice of a circumstance which could reasonably be expected to give rise to
           a Claim being made against an Insured has been given to the Company during the
           Policy Period, any Claim which is subsequently made against an Insured and
           reported to the Company alleging, arising out of, based upon, or attributable to the
           facts set forth in the reported circumstance shall be considered to have been first
           made at the time such notice of the circumstance was given. Coverage for a
           circumstance reported pursuant to this provision applies only if the Wrongful Act
           that is the subject of the reported circumstance occurs prior to the expiration date or if
           applicable, prior to the effective date of cancellation or non-renewal of the Policy
           Period in which the circumstance was reported.

       (3) When reporting a circumstance to the Company, an Insured shall give the reasons
           for anticipating why the circumstance could reasonably be expected to give rise to a
           Claim being made against an Insured with full particulars as to the dates and persons
           involved.



All other terms and conditions of this Policy remain unchanged. This endorsement is part of the
Parent Organization’s Policy and takes effect on the effective date of the Parent
Organization’s Policy unless another effective date is shown.




EPL 169 (11-13)                                                                  Page 3 of 3
                                                                                        USLIPOL000014
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 17 of 126




              UNITED STATES LIABILITY INSURANCE GROUP
                       WAYNE, PENNSYLVANIA
                     This endorsement modifies insurance provided under the following:

            EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY


              ARIZONA STATE AMENDATORY ENDORSEMENT
To be attached to and form a part of all Employment Practices Liability policies written in the
state of Arizona.

It is hereby agreed that Section III. DEFINITIONS, is amended to include the following:
     T. “Retroactive Date” is the date stated in Item VI. of the Policy Declarations for which
         any Wrongful Act occurring prior to that date is excluded from coverage for Loss and
         Defense Costs even if the Claim is first made during the Policy Period.

It is further agreed that Section X. CANCELLATION OR NON-RENEWAL, is amended to add
the following:
     F. If one of the following occur, the Company is not required to provide written notice of
         non-renewal:
         (1) The Company or a Company within the same insurance group has offered to issue a
             renewal policy; or
         (2) The Insured obtained replacement coverage or agreed in writing to replace coverage

   G. If the Company elects to renew this Policy and the renewal is subject to any of the
      following:
      (1) Increase in premium;
      (2) Change in deductible;
      (3) Reduction in Limits of Liability; or
      (4) Substantial reduction in coverage;

       the Company is required to provide written notice to the Parent Organization. If the
       Company fails to provide written notice sixty (60) days prior to the anniversary or
       expiration date of this Policy, the following procedures apply:
       (1) The current Policy will remain in effect until the earlier of the following:
           a. Sixty (60) days after the date of mailing or delivery of the notice; or
           b. The effective date of replacement coverage obtained by the Parent Organization
       (2) If the Parent Organization accepts the renewal, the premium increase, if any, and
           other changes are effective the day following this Policy anniversary or expiration
           date.

All other terms and conditions of this policy remain unchanged. This endorsement is a part of
your policy and takes effect on the effective date of your policy unless another effective date is
shown.


EPL AZ (09-07)                                                                           Page 1 of 1
                                                                                         USLIPOL000015
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 18 of 126


                                Employment Practices Liability Insurance Policy


Notice: This is a Claims Made Policy. This Policy             B. the inception date of the first Policy of this
covers only those Claims first made against the                  type the Company has issued to the Parent
Insured during the Policy Period or Extended                     Organization, provided that the Company
Reporting Period, if purchased. Defense Costs shall              has written continuous coverage for the
be applied against the Retention.                                Parent Organization from such date to the
                                                                 inception date of this Policy.
In consideration of the payment of the premium and
in reliance upon all statements made and information       III. DEFINITIONS
furnished to the Company, including the statements            A. “Application” means:
made in the Application and all attachments and                  (1) an application and any material
materials submitted therewith, and subject to all the                submitted for this Policy and
provisions of this Policy, the Company agrees as                 (2) an application(s),and any material
follows:                                                             submitted, for all previous Policies issued
                                                                     by the Company providing continuous
I. INSURING AGREEMENT                                                coverage until the inception date of this
    A. The Company will pay on behalf of the                         Policy.
       Insured, Loss in excess of the Retention not
       exceeding the Limit of Liability shown on the          The content of (1) and (2) above is incorporated
       policy Declarations for which this coverage            by reference in this Policy as if physically
       applies that the Insured shall become legally          attached hereto.
       obligated to pay because of Claims first
       made against the Insured during the Policy             B. “Claim” means:
       Period or during any Extended Reporting                   (1) any written notice received by any
       Period, if applicable, for Wrongful Acts                      Insured that any person or entity intends
       arising solely out of an Insured’s duties on                  to hold such Insured responsible for a
       behalf of the Organization.                                   Wrongful Act; or
                                                                 (2) any proceeding initiated against any
    B. The Company has the right and duty to                         Insured, including any appeal therefrom,
       defend any Claim to which this insurance                      seeking to hold such Insured
       applies, even if the allegations of the Claim                 responsible for a Wrongful Act,
       are groundless, false or fraudulent.                          including any proceeding conducted by
                                                                     the Equal Employment Opportunity
II. FULL PRIOR ACTS COVERAGE                                         Commission or similar federal, state or
                                                                     local agency and any appeal therefrom;
     PROVISION
    Coverage shall apply to any Claim made against
                                                              A Claim shall be considered first made when the
    an Insured for Wrongful Acts arising solely out
                                                              Insured or its legal representative or agent first
    of the Insured’s duties on behalf of the
                                                              receives notice of a Claim.
    Organization committed prior to the expiration
    date of this Policy or the effective date of
                                                              C. “Company” means the insurer identified on
    cancellation or non-renewal of this Policy, if
                                                                 the Policy Declarations.
    applicable, provided that the Claim is first made
    during the Policy Period, or Extended Reporting
                                                              D. “Defense Costs” means reasonable and
    Period, if applicable.
                                                                 necessary legal fees and expenses incurred
                                                                 by the Company, or by any attorney
    However, coverage shall not apply to any Claim
                                                                 designated by the Company to defend any
    based upon or arising out of any Wrongful Act
                                                                 Insured, resulting from the investigation,
    or circumstance likely to give rise to a Claim of
                                                                 adjustment, defense and appeal of a Claim.
    which the person or persons signing the
                                                                 Defense Costs includes other fees, costs,
    Application had knowledge or otherwise had a
                                                                 costs of attachment or similar bonds (without
    reasonable basis to anticipate might result in a
                                                                 any obligation on the part of the Company to
    Claim, prior to the earlier of:
                                                                 apply for or furnish such bonds,) but does not
                                                                 include salaries, wages, overhead or benefits
    A. the inception date of this Policy; or
                                                                 expenses of any Insured.



EPLJ (09-07)                                                                                         Page 1 of 9
                                                                                            USLIPOL000016
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 19 of 126
   E. “Discrimination” means:                             J. “Insured(s)” means the Organization and
      (1) the termination of an employment                   the Individual Insureds.
          relationship; or
      (2) a demotion or a failure to hire or promote      K. “Loss” means damages and settlements,
          any individual; or                                 front pay and back pay, and pre-judgment
      (3) any other limitation or classification of an       and post judgment interest awarded by a
          Employee or applicant for employment               court and punitive or exemplary damages to
          which would deprive any individual of              the extent such damages are insurable under
          employment opportunities or adversely              applicable law but does not include fines,
          affect any individual’s status as an               penalties, taxes, the multiplied portion of any
          Employee;                                          multiple damage award or an express
                                                             obligation to make payments in the event of
        because of race, color, religion, age, sex,          the termination of employment.
        disability, pregnancy, national origin, marital
        status, sexual orientation or other protected         For the purpose of determining the
        class or characteristic established under             insurability of punitive damages and
        applicable federal, state, or local statute,          exemplary damages, the laws of the
        ordinance, regulation or order.                       jurisdiction most favorable to the insurability
                                                              of such damages shall control, provided that
   F. “Domestic Partner” means any natural                    such jurisdiction has a substantial
      person qualifying as a domestic partner                 relationship to the relevant Insured or to the
      under the provisions of any applicable                  Claim giving rise to the damages.
      federal, state or local law.
                                                          L. “Organization” means:
   G. “Employee” means any natural person                    (1) the Parent Organization and
      whose labor or service is engaged by and               (2) any Subsidiary of the Parent
      directed by the Organization while                         Organization; and
      performing duties related to the conduct of            (3) any entity in its capacity as a debtor in
      the Organization’s business and includes                   possession of (1) or (2) above under the
      leased, part-time, seasonal and temporary                  United States bankruptcy law or
      workers, independent contractors, volunteers               equivalent status under the law of any
      and interns.                                               other jurisdiction.

   An Employee’s status as an Insured will be             M. “Parent Organization” means the entity
   determined as of the date of the Wrongful Act             named in Item 1 of the Policy Declarations.
   that results in a Claim.
                                                          N. “Policy Period” means the period from the
   H. “Harassment” means:                                    effective date of this Policy as set forth in the
       (1) sexual harassment including unwelcome             Policy Declarations, to the expiration date or
           sexual advances, requests for sexual              effective date of cancellation or non-renewal,
           favors or other verbal or physical conduct        if any.
           of a sexual nature that are made a
           condition of employment, are used as a         O. “Retaliation” means any actual or alleged
           basis for employment decisions, or                retaliatory treatment against an Employee
           create a work environment that is hostile,        because of:
           intimidating or offensive or that interferes      (1) the exercise of or attempt to exercise an
           with performance; or                                  Employee’s rights under law; or
       (2) other harassment which creates a work             (2) an Employee’s disclosure of or threat to
           environment that is hostile, intimidating             disclose to a governmental agency or
           or offensive or that otherwise interferes             superior, acts of actual or alleged
           with performance.                                     wrongdoing by an Insured; or
                                                             (3) the filing of any claim under any federal,
   I.   “Individual Insured(s)” means any persons                state, or local “whistle-blower” law
        who were, now are, or shall be directors,                including the Federal False Claims Act;
        officers, partners, managing members or                  or
        Employees of the Organization including              (4) Employee strikes or slowdowns.
        their estates, heirs, legal representatives or
        assigns in the event of their death, incapacity   P. “Subsidiary” means, for the purpose of this
        or bankruptcy.                                       Policy, any entity which is more than 50%
                                                             owned by the Parent Organization as of the
                                                             effective date of this Policy and is disclosed
EPLJ (09-07)                                                                                      Page 2 of 9
                                                                                         USLIPOL000017
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 20 of 126
       as a Subsidiary in an Application to the                  (5) failure to enforce written policies and
       Company.                                                      procedures relating to a Wrongful Act.

       An entity formed or acquired after the                R. “Wrongful Act” means any actual or alleged
       effective date of this Policy is, for the purpose        act of:
       of this Policy, a Subsidiary if:                         (1) Discrimination; or
       (1) the entity’s Employees total less than               (2) Harassment; or
            25% of the total work force of the Parent           (3) Retaliation; or
            Organization and                                    (4) Wrongful Termination; or
       (2) notice is given to the Company with full             (5) Workplace Tort; or
            particulars about the new Subsidiary as             (6) negligent violation of the Uniform
            soon as practicable but no later than the               Services Employment & Reemployment
            expiration date of this Policy or effective             Rights Act; or
            date of cancellation or non-renewal, if             (7) negligent violation of the Family and
            any                                                     Medical Leave Act of 1993; or
                                                                (8) negligent violation of state law having the
       An entity which is formed or acquired after                  same or substantially similar purpose as
       the effective date of this Policy and its                    the Acts in (6) or (7) above; or
       Employees total 25% or more of the total                 (9) acts described in clauses (1) through
       work force of the Parent Organization is, for                (8)above arising from the use of the
       the purpose of this Policy, a Subsidiary if:                 Organization’s Internet, e-mail,
       (1) notice is given to the Company of such                   telecommunication or similar systems,
           Subsidiary as soon as practicable but                    including the failure to provide and
           within sixty (60) days of the formation or               enforce adequate policies and
           acquisition of the Subsidiary and                        procedures relating to such use of the
       (2) the Parent Organization provides the                     Organization’s Internet, e-mail,
           Company with such information as the                     telecommunication or similar systems;
           Company may deem necessary to
           determine insurability of the Subsidiary          committed or allegedly committed by the
           and                                               Organization or by an Individual Insured acting
       (3) the Parent Organization accepts any               solely within his/her capacity as such, involving
           special terms, conditions, exclusions,            and brought by any Employee, former
           limitations or premium imposed by the             Employee or applicant for employment with the
           Company and                                       Organization or asserted by any Employee,
       (4) the Company, at its sole discretion,              former Employee or applicant for employment
           agrees to insure the Subsidiary.                  with the Organization against an Individual
                                                             Insured because of his/her status as such.
       A Subsidiary which is sold or dissolved:
       (1) after the effective date of this Policy and       It is further agreed that the same Wrongful Act,
           which was an Insured under this Policy;           an interrelated series of Wrongful Acts or a
           or                                                series of similar or related Wrongful Acts by one
       (2) prior to the effective date of this Policy        or more Insureds shall be deemed to be one
           and which was an Insured under a prior            Wrongful Act and to have commenced at the
           Policy issued by the Company;                     time of the earliest Wrongful Act.

       shall continue to be an Insured, but only with        S. “Wrongful Termination” means the actual
       respect to Claims first made during this                 or constructive termination of an employment
       Policy Period or Extended Reporting Period,              relationship or the demotion of or the failure
       if applicable, arising out of Wrongful Acts              to promote any Employee in a manner which
       committed or allegedly committed during the              is illegal and wrongful or in breach of an
       time the entity was a Subsidiary of the                  implied agreement to continue employment.
       Parent Organization.
                                                           IV. EXCLUSIONS
   Q. “Workplace Tort” means any actual or                   A. The Company shall not be liable to make
      alleged employment-related:                               payment for Loss or Defense Costs in
      (1) misrepresentation; or                                 connection with any Claim made against the
      (2) negligent supervision, training or                    Insured for;
          evaluation; or
      (3) wrongful discipline; or                                any actual or alleged bodily injury, sickness,
      (4) wrongful deprivation of a career                       disease or death of any person, or damage
          opportunity; or                                        to or destruction of any tangible property
EPLJ (09-07)                                                                                         Page 3 of 9
                                                                                            USLIPOL000018
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 21 of 126
       including any resulting loss of use; provided          was the subject of any notice under any
       that this exclusion shall not apply to Claims          other similar policy of insurance to the
       for mental anguish, emotional distress,                Insured; or any future Claims or
       invasion of privacy, humiliation, libel, slander       litigation based upon the pending or prior
       or defamation that result from a Wrongful              litigation or derived from the same or
       Act.                                                   essentially the same facts, actual or
                                                              alleged;
   B. The Company shall not be liable to make
      payment for Loss or Defense Costs (except           provided that, if this Policy is a renewal of a
      where otherwise noted) in connection with           Policy or Policies previously issued by the
      any Claim made against the Insured arising          Company and if the coverage provided by
      out of, directly or indirectly resulting from or    the Company was continuous from the
      in consequence of, or in any way involving:         effective date of the first such other Policy to
                                                          the effective date of this Policy, the reference
       (1) conduct of the Insured or at the               in this exclusion to the “effective” date” will
           Insured’s direction that is fraudulent,        mean the effective date of the first Policy
           dishonest or criminal provided that this       under which the Company first provided
           exclusion will not apply to:                   continuous coverage to the Insured; or
           (a) Defense Costs incurred until such
               conduct is established to be               (5) any lockout, strike, picket line,
               fraudulent, dishonest or criminal by           replacement of worker(s) or other similar
               final and non-appealable judgment or           actions resulting from labor disputes or
               adjudication;                                  labor negotiations; provided that this
           (b) the strictly vicarious liability of the        exclusion will not apply to a Claim for
               Insured for the fraudulent, dishonest          actual or alleged Retaliation arising from
               or criminal conduct of another                 the foregoing; or
               Insured; or
                                                          (6) the National Labor Relations Act, Labor
       (2) any pension, profit sharing, welfare               Management Relations Act and
           benefit or other employee benefit                  amendments thereto, or any similar
           program established in whole or in part            state, federal or local law or regulation;
           for the benefit of any Individual Insured,         provided that this exclusion will not apply
           or based upon, arising out of or in any            to a Claim for actual or alleged
           way involving the Employee Retirement              Retaliation arising from an Insured’s
           Income Security Act of 1974 (except                alleged violation of such laws; or
           Section 510 thereof) or any amendments
           thereof or regulations promulgated             (7) any Claim against any Subsidiary or its
           thereunder or similar provisions of any            Individual Insureds for any Wrongful
           federal, state or local statutory law or           Act occurring prior to the date that such
           common law; provided that this exclusion           entity became a Subsidiary or any
           will not apply to any Claim for actual or          Wrongful Act occurring at any time that
           alleged Retaliation with regard to                 such entity is not a Subsidiary; or
           benefits paid or payable; or
                                                          (8) any damages which the Insured is
       (3) any obligation under a worker’s                    legally obligated to pay by reason of the
           compensation, disability benefits,                 assumption of another’s liability for a
           insurance benefits or unemployment                 Wrongful Act in a contract or
           compensation law or any similar law or             agreement. This exclusion does not
           regulation; provided that this exclusion           apply to liability for damages that the
           will not apply to any Claim for actual or          Insured would have in the absence of
           alleged Retaliation with regard to                 the contract or agreement;
           benefits paid or payable; or
                                                          (9) actual or alleged violations of the Fair
       (4) any prior or pending litigation,                   Labor Standards Act, any amendments
           administrative or regulatory proceeding,           thereto, or any similar provisions of any
           Claim, demand, arbitration, decree or              federal, state or local law(except the
           judgment of which the Insured had                  Equal Pay Act); or improper wages or
           written notice before the effective date of        wage disputes due to misclassification of
           this Policy; or any fact, circumstance,            Employees as exempt or non exempt; or
           event, situation, or Wrongful Act which            misrepresentation involving any
           before the effective date of this Policy
EPLJ (09-07)                                                                                  Page 4 of 9
                                                                                    USLIPOL000019
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 22 of 126
             Employee’s status as exempt or non-                     behalf of an Insured. If the Company, at its
             exempt.                                                 sole discretion, elects to pay any part or all of
                                                                     the Retention, the Insureds agree to repay
    C. The Company shall not be liable to make                       such amounts to the Company upon
       payment for Loss in connection with any                       demand.
       Claim made against the Insured arising out
       of, directly or indirectly resulting from or in           F. The Limit of Liability for the Extended
       consequence of, or in any way involving:                     Reporting Period, if applicable, shall be a
                                                                    part of and not in addition to the Limit
        (1) the Insured’s actual or alleged liability               specified in the Policy Declarations.
            for damages under any express
            employment contract or express                       G. Claims based upon or arising out of the
            employment agreement; provided that                     same Wrongful Act, interrelated Wrongful
            this exclusion shall not apply to liability             Acts, or a series of similar or related
            for a Wrongful Act which the Insured                    Wrongful Acts shall be considered a single
            would have in the absence of such                       Claim and shall be considered first made
            contract or agreement; or                               during the Policy Period or Extended
                                                                    Reporting Period, if applicable, in which the
        (2) any costs or actual or alleged liability                earliest Claim arising out of such Wrongful
            resulting from the modification of any real             Act(s) was first made and all Loss for such
            or personal property in order to make                   Claims shall be subject to the one Limit of
            said real or personal property more                     Liability that applies to such earliest Claim.
            accessible or accommodating to any
            disabled person.                                     H. The Limit of Liability for this Policy shall apply
                                                                    separately to each consecutive annual period
    Defense Costs shall be a part of and not in                     starting with the beginning of the Policy
    addition to the Limit of Liability stated in Item III of        Period shown in the Policy Declarations. If
    the Policy Declarations for C.(1) and C.(2) above.              this Policy is issued for a period of more than
                                                                    twelve (12) months but less than twenty four
V. LIMITS OF LIABILITY AND                                          (24) months or if the Policy Period is
   RETENTION                                                        extended after issuance, the additional
    Regardless of the number of Insureds under this                 Extended Reporting Period will be deemed
    Policy, Claims made or brought on account of                    part of the last Policy Period for the
    Wrongful Acts or otherwise, the Company’s                       purposes of determining the Limit of Liability.
    liability is limited as follows:
                                                               VI. SPOUSAL AND DOMESTIC PARTNER
    A. The Limit of Liability specified in the Policy              EXTENSION
       Declarations as “in the aggregate” shall be               If a Claim against an Individual Insured
       the maximum liability for Loss from all                   includes a Claim against the lawful spouse or
       Claims to which this Policy applies.                      Domestic Partner of such Individual Insured
                                                                 solely by reason of (a) such spousal or Domestic
    B. The Limit of Liability specified in the Policy            Partner status or (b) such spouse’s or Domestic
       Declarations as the Limit for each Claim                  Partner’s ownership interest in property or
       shall be the maximum liability for Loss for               assets that are sought as recovery for Wrongful
       each Claim to which this Policy applies.                  Acts, any Loss which such spouse or Domestic
                                                                 Partner becomes legally obligated to pay on
    C. Defense Costs shall be in addition to the                 account of such Claim shall be deemed Loss
       Limit of Liability shown in the Policy                    which the Individual Insured becomes legally
       Declarations.                                             obligated to pay as a result of the Claim.

    D. Subject to the Limits of Liability provisions             All definitions, exclusions, terms and conditions
       stated in A., B., and C. above, the Company               of this Policy, including the Retention, applicable
       shall be liable to pay only Defense Costs                 to any Claim against, or Loss or Defense Costs
       and Loss in excess of the Retention                       sustained by, such Individual Insured shall also
       specified in the Policy Declarations hereof as            apply to this coverage extension.
       respects each and every Claim to which this
       Policy applies.                                           The extension of coverage afforded by this
                                                                 Section VI shall not apply to the extent the Claim
   E. The Company shall have no obligation to                    alleges any Wrongful Act, error, omission,
       pay any part or all of the Retention specified            misstatement, misleading statement, neglect or
       in the Policy Declarations for any Claim on               breach of duty committed by such spouse or
EPLJ (09-07)                                                                                             Page 5 of 9
                                                                                               USLIPOL000020
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 23 of 126
   Domestic Partner as long as they are not also         A. The Insured shall not demand or agree to
   an Individual Insured.                                   arbitration of any Claim without the written
                                                            consent of the Company. The Insured shall
VII. EXTENDED REPORTING PERIOD                              not, except at personal cost, make any offer
   A. If the Policy expires, is cancelled or is non         or payment, admit any liability, settle any
      renewed for any reason other than non                 Claim, assume any obligation or incur any
      payment of premium, the Parent Organization           expense without the Company’s written
      shall have the right to purchase an Extended          consent.
      Reporting Period to report any Claim(s) or
      circumstance(s) which could be expected to         B. Except as otherwise provided in this Policy, if
      give rise to a Claim being first made against an      a Claim is made against an Insured for
      Insured during the twelve (12) months, twenty-        Loss that is both covered and uncovered by
      four (24) months or thirty-six (36) months after      this Policy, the Company will pay one
      the expiration date or effective date of such         hundred percent (100%) of the Defense
      cancellation or non-renewal (depending upon           Costs for the Claim until such time that the
      the Extended Reporting Period purchased). An          Limits of Liability of this policy are exhausted
      Extended Reporting Period shall only apply to a       by payment of a covered Loss or the Claim
      Wrongful Act committed before the date of the         for the covered Loss is resolved by
      Policy expiration, cancellation or non-renewal.       settlement, verdict or summary judgment.
      For the purpose of this clause, any change in
      premium terms or terms on renewal shall not        C. The Company, as it deems expedient, has
      constitute a refusal to renew.                        the right to investigate, adjust, defend,
                                                            appeal and, with the consent of the Insured,
   B. The additional premium for the Extended               negotiate the settlement of any Claim
      Reporting Period shall be 50% of the annual           whether within or above the Retention. If the
      premium set forth in the Policy Declarations          Insured refuses to consent to a settlement
      for the twelve (12) month period; 100% of the         recommended by the Company, the
      annual premium set forth in the Policy                Company is not obligated to pay any Loss
      Declarations for the twenty-four (24) month           or defend any Claim after the Limit of
      period; and 150% of the annual premium set            Liability has been exhausted by payment of
      forth in the Policy Declarations for the              Loss by settlement or otherwise. The
      thirty-six (36) month period. The Extended            Company’s obligation to the Insured for
      Reporting Period begins on the expiration             Defense Costs and Loss attributable to
      date or effective date of the cancellation or         such Claim(s) shall be limited to:
      non-renewal of the Policy. The Parent                 (1) the amount of the covered Loss in
      Organization must notify the Company in                   excess of the Retention which the
      writing and must pay the additional premium               Company would have paid in settlement
      set forth above no later than thirty (30) days            at the time the Insured first refused to
      after the expiration date or effective date of            settle;
      such cancellation or non-renewal.                     (2) plus covered Defense Costs incurred up
                                                                to the date the Insured first refused to
   C. All premium paid with respect to an Extended              settle;
      Reporting Period shall be deemed fully                (3) plus seventy five percent (75%) of
      earned as of the first day of the Extended                covered Loss and Defense Costs in
      Reporting Period.                                         excess of the first settlement amount
                                                                recommended by the Company to which
   D. The Limits of Liability available during the              the Insured did not consent.
      Extended Reporting Period shall not exceed
      the balance of the Limits of Liability available   It is understood that payment of (1), (2) and (3)
      on the expiration date or effective date of the    above is the limit of the Company’s liability
      cancellation or non-renewal of the Policy.         under this Policy for any Claim in which the
                                                         Insured fails or refuses to consent to the
   E. Coverage for Claim(s)or circumstances              Company’s settlement recommendation, subject
      which ultimately lead to a Claim(s) first          at all times to the Limits of Liability and Retention
      received and reported during the Extended          provisions of this Policy. The remaining twenty
      Reporting Period shall be excess over any          five percent (25%) of Loss and Defense Costs
      other valid and collectible insurance              in excess of the amount referenced in (1) and (2)
      providing coverage for such Claim(s).              above shall be the obligation of the Insured.

VIII. DEFENSE AND SETTLEMENT                             D. The Insured agrees to cooperate with the
                                                            Company on all Claims, and provide such
EPLJ (09-07)                                                                                      Page 6 of 9
                                                                                       USLIPOL000021
       Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 24 of 126
       assistance and information as the Company              been given to the Company pursuant to
       may reasonably request. Upon the                       Clause IX. A. above, then any Claim which is
       Company’s request, the Insured shall                   subsequently made against the Insured and
       submit to examination and interrogation by a           reported to the Company alleging, arising
       representative of the Company, under oath if           out of, based upon or attributable to the facts
       required, and shall attend hearings,                   alleged in the Claim or circumstance which
       depositions and trials and shall assist in the         could be expected to give rise to a Claim
       conduct of suits, including but not limited to         being made against an Insured for which
       effecting settlement, securing and giving              notice was given, or alleging any Wrongful
       evidence, obtaining the attendance of                  Act which is the same as or related to any
       witnesses, giving written statements to the            Wrongful Act alleged in the Claim or
       Company’s representatives and meeting                  circumstance which could be expected to
       with such representatives for the purpose of           give rise to a Claim being made against an
       investigation and/or defense, all of the above         Insured for which notice was given, shall be
       without charge to the Company. The                     considered made at the time such notice was
       Insured further agrees not to take any action          given.
       which may increase the Insured’s or the
       Company’s exposure for Loss or Defense           X. CANCELLATION OR NON-RENEWAL
       Costs.                                             A. This Policy may be canceled by the Parent
                                                             Organization by either surrender of the
   The Insured shall execute all papers required             Policy thereof to the Company at its address
   and shall do everything that may be necessary to          stated on the Policy Declarations or by
   secure and preserve any rights of indemnity,              mailing to the Company written notice
   contribution or apportionment which the Insured           requesting cancellation and in either case
   or the Company may have, including the                    stating when thereafter such cancellation
   execution of such documents as are necessary to           shall be effective. If canceled by the Parent
   enable the Company to bring suit in the                   Organization, the Company shall retain the
   Insured’s name and shall provide all other                customary short rate proportion of the
   assistance and cooperation which the Company              premium.
   may reasonably require.
                                                          B. The Company may cancel this Policy only in
IX. NOTICE/CLAIM AND CIRCUMSTANCE                            the event of the failure of the Insured to pay
    REPORTING PROVISIONS                                     the premium when due by mailing to the
   Notice of a Claim or circumstance which could             Parent Organization written notice when,
   be expected to give rise to a Claim being made            not less than ten (10) days thereafter, such
   against any Insured shall be given in writing to          cancellation shall be effective.
   the Company. If mailed, the date of mailing of
   such notice shall constitute the date that such        C. In the event the Company refuses to renew
   notice was given and proof of mailing shall be            this Policy, the Company shall mail to the
   sufficient proof of notice.                               Parent Organization, not less than sixty (60)
                                                             days prior to the end of the Policy Period,
   A. As a condition precedent to exercising any             written notice of non-renewal. Such notice
      right to coverage under this Policy, the               shall be binding on all Insureds.
      Insured shall give to the Company written
      notice of a Claim or circumstance which             D. The Company shall mail notice of
      could be expected to give rise to a Claim              Cancellation or Non-renewal by certificate of
      being made against an Insured as soon as               mailing stating the effective date of
      practicable, but:                                      Cancellation or Non-renewal and the specific
      (1) if the Policy expires, is cancelled or is          reason(s) for Cancellation or Non-renewal,
          non-renewed and if no Extended                     which shall become the end of the Policy
          Reporting Period is purchased, no later            Period. Mailing of such notice shall be
          than sixty (60) days after the expiration          sufficient notice of Cancellation or Non-
          date or effective date of such                     renewal.
          cancellation or non-renewal; or
      (2) if an Extended Reporting Period is              E. If the Policy is canceled by the Company,
          purchased, no later than the last day of           earned premium shall be computed pro rata.
          the Extended Reporting Period.                     Premium adjustment may be made at the
                                                             time cancellation is effected, or as soon as
   B. If written notice of a Claim or circumstance           practicable thereafter.
       which could be expected to give rise to a
       Claim being made against an Insured has
EPLJ (09-07)                                                                                     Page 7 of 9
                                                                                       USLIPOL000022
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 25 of 126

XI. REPRESENTATIONS AND                                    Parent Organization in writing, at the address of
    SEVERABILITY                                           the Parent Organization. Such notice shall be
   A. The Insured represents that the particulars          deemed to be notice to all Insureds. The Parent
      and statements contained in the Application          Organization shall be the agent of all Insureds
      are true and agree that (1) those particulars        to effect changes in the Policy or purchase the
      and statements are the basis of this Policy          Extended Reporting Period.
      and are to be considered as incorporated into
      and constituting a part of the Policy; (2) those   XV. ASSIGNMENT
      particulars and statements are material to the       Assignment of interest under this Policy shall not
      acceptance of the risk assumed by the                bind the Company unless its consent is
      Company; and (3) the Policy is issued in             endorsed hereon.
      reliance upon the truth of such
      representations.                                   XVI. OTHER INSURANCE
                                                           This Policy shall be excess of other existing
   B. An Application for coverage shall be                 insurance, including but not limited to any
      construed as a separate Application for              insurance under which there is a duty to defend,
      coverage by each Individual Insured. With            unless such other insurance is specifically written
      respect to the particulars and statements            to be in excess of this Policy.
      contained in the Application, no fact
      pertaining to or knowledge possessed by any        XVII. TERMS OF POLICY CONFORMED TO
      Individual Insured shall be imputed to any           STATUTE
      other Individual Insured for the purpose of          Terms of this Policy which are in conflict with the
      determining if coverage is available.                statutes of the State wherein this Policy is issued
      However, facts pertaining to and knowledge           are hereby amended to conform to such statutes.
      possessed by the individual(s) signing the
      Application and the President, Chairperson,
      Chief Executive Officer, Partner and Chief
                                                         XVIII. CHANGES IN EXPOSURE
      Financial Officer shall be imputed to the            A. If after the inception date of this Policy:
      Organization for the purpose of determining
                                                               (1) the Parent Organization merges into or
      if coverage is available.
                                                                   consolidates with another entity such that
                                                                   the Parent Organization is not the
XII. SUBROGATION                                                   surviving entity; or
   In the event of any payment under this Policy, the          (2) another entity, person or group of entities
   Company shall be subrogated to the Insured’s                    and/or persons acting in concert acquires
   right of recovery therefore against any person or               more than fifty percent (50%) of the
   entity and the Insured shall execute and deliver                assets of the Parent Organization; or
   such instruments and papers and do whatever                 (3) another entity, person or group of entities
   else is necessary to secure such rights. The                    and/or persons acting in concert acquires
   Insured shall not do anything to prejudice such
                                                                   the right to elect or select a majority of
   rights.                                                         the directors of the Parent Organization;
                                                                   or
XIII CHANGES                                                   (4) the Parent Organization sells all or
   Notice to any agent or knowledge by any agent                   substantially all of its assets ,
   shall not effect a waiver or change in any part of
   this Policy or stop the Company from asserting          the above events referred to as a “Transaction”;
   any right under the terms of this Policy, nor shall
   the terms of this Policy be waived or changed           this Policy shall continue in full force and effect
   except by an endorsement, issued by the                 until the expiration date shown in the Policy
   Company to form a part of this Policy.                  Declarations or the effective date of non-renewal
                                                           if applicable, with respect to Wrongful Acts
XIV. AUTHORIZATION CLAUSE AND                              occurring before the Transaction, but there shall
   NOTICES                                                 be no coverage under this Policy for actual or
   By acceptance of this Policy, the Insured agrees        alleged Wrongful Acts occurring on and after
   that the Parent Organization shall act on behalf        the Transaction. The entire premium for this
   of all Insureds with respect to the giving and          Policy shall be deemed fully earned on the
   receiving of any return premiums that may               transaction date. In the event of a Transaction,
   become due under this Policy. Notice to the             the Parent Organization shall have the right to
   Parent Organization shall be directed to the            an offer of coverage by the Company for an
   individual named in the Application, or such            Extended Reporting Period to report Wrongful
   other person as shall be designated by the
EPLJ (09-07)                                                                                        Page 8 of 9
                                                                                         USLIPOL000023
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 26 of 126
   Acts occurring prior to the effective date of the       B. Any person or the legal representatives
   Transaction.                                               thereof who has secured such judgment or
                                                              written agreement shall thereafter be entitled
   B. The Parent Organization shall give the                  to recover under this Policy to the extent of
      Company written notice of the Transaction               the insurance afforded by this Policy. No
      as soon as practicable, but not later than              person or entity shall have any right under
      thirty (30) days after the effective date of the        this Policy to join the Company as a party to
      Transaction.                                            any action against the Insured to determine
                                                              the Insured’s liability, nor shall the
XIX. ACTION AGAINST THE COMPANY                               Company be impleaded by the Insured or
   A. No action shall lie against the Company                 their legal representatives.
      unless as a condition precedent thereto,
      there shall have been full compliance with all           Bankruptcy or insolvency of the Insured or
      of the terms of this Policy, and until the               their successors in interest shall not relieve
      amount of the Insured’s obligation to pay                the Company of its obligations hereunder.
      shall have been finally determined either by
      judgment against the Insured after actual          XX. ACCEPTANCE
      trial or by written agreement of the Insured,        This Policy embodies all agreements existing
      the claimant or the claimant’s legal                 between the parties hereunder or any of their
      representative, and the Company.                     agents relating to this insurance.




EPLJ (09-07)                                                                                       Page 9 of 9
                                                                                         USLIPOL000024
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 27 of 126




                                                   INSURANCE


                                                           POLICY

   UNITED STATES LIABILITY
     INSURANCE GROUP
                                            This policy jacket together with the policy declarations,
                A STOCK COMPANY
                                             coverage forms and endorsements, if any, complete
            A BERKSHIRE HATHAWAY COMPANY                           this policy.

               1190 Devon Park Drive          The enclosed declarations designates the issuing
               Wayne, PA 19087-2191                             company.
             888-523-5545 – USLI.COM




Jacket AZ (07-19)                                                                        Page 1 of 2

                                                                                USLIPOL000025
             Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 28 of 126


                                         INSURANCE POLICY


                                 Read your policy carefully!




 In Witness Whereof, the company has caused this Policy to be executed and attested.

 Secretary                                                    President




Jacket AZ (07-19)                                                                           Page 2 of 2
                                                                                       USLIPOL000026
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 29 of 126




                    EXHIBIT “B”
       Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 30 of 126




 1   Wyatt M. Bailey (Bar No. 20356)
     MEAGHER & GEER, PLLP
 2   16767 N. Perimeter Dr., Suite 210
 3   Scottsdale, Arizona 85260
     Telephone: 480-607-9719
 4   Facsimile: 480-607-9780
     wbailey@meagher.com
 5   Attorneys for Defendant United States
 6   Liability Insurance Company

 7
                          IN THE UNITED STATES DISTRICT COURT
 8
                                FOR THE DISTRICT OF ARIZONA
 9
10   Green Fili, LLC, an Arizona limited                 Case No. 2:23-cv-00655-DGC
     liability company,
11
                             Plaintiffs,                 DECLARATION OF KEVIN
12
                                                         BROWN IN SUPPORT OF UNITED
13        vs.                                            STATES LIABILITY INSURANCE
                                                         COMPANY’S
14   United States Liability Insurance Company,          MOTION FOR SUMMARY
15   a Nebraska company; ABC Corporations I-             JUDGMENT
     X; XYZ Partnerships I-X; John Does I-X;
16   and Jane Does I-X,
                                                         Maricopa County Superior Court
17                           Defendants.                 Case No. CV2023-004283
18
19
            I, Kevin Brown, declare and state as follows:
20
            1.     I am a Coverage Specialist in the Claims Department at United States Liability
21
     Insurance Company (“USLI”) and in that capacity I handle matters for USLI, the Defendant
22
     in the above-captioned matter. I make this declaration in support of USLI’s motion for
23
     summary judgment. I have personal knowledge of the facts stated in this declaration and
24
     can competently testify to these facts if called as a witness in these proceedings.
25
            2.     I was assigned to the claim related to Guadarrama, et al. v. Green Fili, LLC,
26



                                                   1
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 31 of 126




 1 et al., Maricopa County Superior Court Arizona, case number CV2021-013286 (the
 2 “Underlying Case”). In the course of evaluating this claim, I have personally reviewed the
 3 Employment Practices Liability Policy that USLI issued to named insured USA Truck
 4 Center, LLC, under which Green Fili qualified as an insured.
 5         3.     Attached as Exhibit A to USLI’s motion is a true and correct copy of policy
 6 number EPL1559591E issued by USLI to USA Truck Center, LLC, and in effect for the
 7 Policy Period 01/08/2021-01/08/2022.
 8         4.     Attached as Exhibit C to USLI’s motion is a true and correct copy of policy
 9 number EPL1559591F issued by USLI to USA Truck Center, LLC, and in effect for the
10 Policy Period 01/08/2022-01/08/2023.
11         5.     No Insured under the 2021-2022 Policy requested or purchased an Extended
12 Reporting Period from USLI.
13         6.     By letter, dated April 11, 2022, ULSI denied Green Fili coverage for the
14 allegations in the Underlying Case citing, in part, the fact that Green Fili did not report the
15 claim within sixty days after the expiration of the 21-22 Policy. Attached as Exhibit H to
16 USLI’s motion is true and correct copy of the April 11, 2022 letter.
17         7.     By letter, dated April 11, 2022, ULSI denied Green Fili coverage for the
18 allegations in the Underlying Case citing, in part, the fact that the Claims against Green Fili
19 were not first made during the 22-23 Policy. Attached as Exhibit H to USLI’s motion is true
20 and correct copy of the April 11, 2022 letter.
21         I declare under penalty of perjury under the laws of the United States of America that
                                                       30 2023 at _____________.
22 the foregoing is true and correct. Executed on June ____,      Oakbrook, IL

23
24                                             Kevin Brown
                                               Coverage Specialist
25                                             United States Liability Insurance Company
26



                                                    2
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 32 of 126




                    EXHIBIT “C”
                  Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 33 of 126

    EPL1559591E                                                                                               Home Office Copy
   Renewal of Number
                             United States Liability Insurance Company                                         Direct Bill Policy
                                   1190 Devon Park Drive, Wayne, Pennsylvania 19087
POLICY DECLARATIONS            A Member Company of United States Liability Insurance Group
No. EPL1559591F

NAMED INSURED AND ADDRESS:
USA TRUCK CENTER, LLC
C/O RAJ PATEL
9831 S 51ST ST SUITE D134
PHOENIX, AZ 85044



POLICY PERIOD: (MO. DAY YR.) From: 01/08/2022 To: 01/08/2023                                12:01 A.M. STANDARD TIME AT YOUR
                                                                                              MAILING ADDRESS SHOWN ABOVE




           IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
                              WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.
     THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS INDICATED.



                                                                                          PREMIUM
           Employment Practices Liability Insurance




                                                      TOTAL:




Coverage Form(s) and Endorsement(s) made a part of this policy at time of issue
                                            See Endorsement EOD (1/95)
 Agent:     LEAVITT GROUP AGENCY ASSOCIATION (2476)                                 Issued: 01/04/2022 11:22 AM
            PO Box 160
            Cedar City, UT 84720

 Broker:    Farmer Woods Group
            919 North 1st STreet                                              By:
                                                                                            Authorized Representative
            Phoenix, AZ 85004
                   THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS,
                   COVERAGE PART COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF,
   UPD (08-07)     COMPLETE THE ABOVE NUMBERED POLICY.
                                                                                                      USLIPOL000027
          Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 34 of 126

                                       EXTENSION OF DECLARATIONS

Policy No. EPL1559591F                                                       Effective Date:   01/08/2022
                                                                             12:01 AM STANDARD TIME AT YOUR MAILING ADDRESS

FORMS AND ENDORSEMENTS


      The following forms apply to the policy
      Endt#               Revised                        Description of Endorsements

      EPL-108              09/07                Expanded Definition Of Organization Endorsement
      EPL-122              06/09                Franchisor Exclusion
      EPL-144              09/07                Third Party Coverage Endorsement
      EPL-148              09/07                Retroactive Date Endorsement
      EPL-162              05/10                Fair Labor Standards Act Sub-Limit Endorsement
      EPL-167              05/09                Amended Definition Of Loss Endorsement
      EPL-169              11/13                Amended Notice/Claim And Circumstance Reporting Provisions
      EPL-AZ               09/07                Arizona State Amendatory Endorsement
      EPL-J                09/07                Employment Practices Liability Insurance Policy
      JACKET AZ            07-19                Policy Jacket




    EOD (01/95)                           All other terms and conditions remain unchanged.                   Page   1   of   1
                                                                                                            USLIPOL000028
         Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 35 of 126

                  EMPLOYMENT PRACTICES LIABILITY COVERAGE PART DECLARATIONS

PLEASE READ YOUR POLICY CAREFULLY.
THIS IS A CLAIMS MADE POLICY COVERAGE FORM AND UNLESS OTHERWISE PROVIDED HEREIN, THE
COVERAGE OF THIS FORM IS LIMITED TO LIABILITY FOR CLAIMS FIRST MADE DURING THE POLICY
PERIOD, OR THE EXTENSION PERIOD, IF APPLICABLE. DEFENSE COSTS SHALL BE APPLIED AGAINST
THE RETENTION.

NOTICE: DEFENSE COSTS SHALL BE APPLIED AGAINST THE RETENTION.


    No. EPL1559591F                                                           Effective Date: 01/08/2022
                                                                                              12:01 AM STANDARD TIME

  ITEM I. PARENT ORGANIZATION AND PRINCIPAL ADDRESS
      USA TRUCK CENTER, LLC
      C/O RAJ PATEL
      9831 S 51ST ST SUITE D134
      PHOENIX, AZ 85044



  ITEM II. POLICY PERIOD: (MM/DD/YYYY) From: 01/08/2022 To: 01/08/2023

                                     Employment Practices Liability
   ITEM III. LIMITS OF LIABILITY              $500,000            EACH CLAIM
                                              $500,000            IN THE AGGREGATE



   ITEM IV. RETENTION:                        $2,500              EACH CLAIM

   ITEM V. PREMIUM:                           $10,326

   ITEM VI. RETROACTIVE DATE:                 01/08/2016

   ITEM VII. CO-INSURANCE:                    0.00%




       ITEM VIII. Coverage Form(s)/Part(s) and Endorsement(s) made a part of this policy at time of issue:
            See Endorsement EOD (01/95)




  THESE DECLARATIONS ARE PART OF THE POLICY DECLARATIONS CONTAINING THE NAME OF THE INSURED AND THE POLICY PERIOD.

EPL-150 (08/12)                                                                                              Page   1 Of   1

                                                                                                      USLIPOL000029
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 36 of 126




      This page has been intentionally left blank.




                                                              USLIPOL000030
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 37 of 126

                  UNITED STATES LIABILITY INSURANCE GROUP
                            WAYNE, PENNSYLVANIA

                       This Endorsement modifies insurance provided under the following:

               EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY



        EXPANDED DEFINITION OF ORGANIZATION ENDORSEMENT
It is hereby agreed that Section III. DEFINITIONS, L. "Organization" is amended to include the
following:



     Green Fili, LLC
     Jay Sibal Shushi Investments, LLC
     Best Sub, LLC
     Lake Havasu City LHC, LLC
     Invest Group, LLC




All other terms and conditions of this policy remain unchanged. This endorsement is a part of your Policy
and takes effect on the effective date of your Policy, unless another effective date is shown.




EPL 108 (09-07)                                                                              Page 1 of 1
                                                                                           USLIPOL000031
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 38 of 126




              UNITED STATES LIABILITY INSURANCE GROUP
                       WAYNE, PENNSYLVANIA
                    This endorsement modifies insurance provided under the following:

            EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY

                              FRANCHISOR EXCLUSION

It is hereby agreed that the Company shall not be liable to make any payment for Loss or
Defense Costs based upon, arising out of, directly or indirectly resulting from or in consequence
of any Claim:
     1. Brought against any Insured by any current or former Franchisor or any other current or
         former franchisee of a Franchisor;
     2. Brought against any Insured based solely on the acts or omissions of a current or former
         Franchisor or any other current or former franchisee(s) of a Franchisor; or
     3. Brought against any Insured as a class action lawsuit, whether certified or not, based in
         whole or in part on:
         a. the Insured’s franchise relationship with any current or former Franchisor;
         b. the acts or omissions of a current or former Franchisor; or
         c. the acts or omissions of any other current or former franchisee(s) of a Franchisor.

For the purpose of this endorsement:
“Franchisor” means a person or entity with whom or for whom any Insured operates a
franchise under any form of franchise agreement.



All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




EPL 122 (06-09)                                                                         Page 1 of 1
                                                                                        USLIPOL000032
  Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 39 of 126




          UNITED STATES LIABILITY INSURANCE GROUP
                   WAYNE, PENNSYLVANIA
                This Endorsement modifies insurance provided under the following:

        EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY


              THIRD PARTY COVERAGE ENDORSEMENT

Section III. DEFINITIONS, R. “Wrongful Act”, is amended to add the following
paragraph:

       Wrongful Act shall also include any actual or alleged act of:

       (1) Third Party Discrimination; or
       (2) Third Party Harassment.

Section III. DEFINITIONS, is amended to add the following:

       T. “Third Party” means any person(s) with whom an Insured in their capacity
          as such interacts while the Insured is performing duties related to the conduct
          of the Organization’s business.

       U. “Third Party Discrimination” means discrimination by an Insured, in their
          capacity as such, against a Third Party based upon such Third Party’s race,
          religion, age, sex, disability, national origin, sexual orientation or other
          protected class or characteristic established under applicable federal, state or
          local statute or ordinance while the Insured is performing duties related to the
          conduct of the Organization’s business.

       V. “Third Party Harassment” means; sexual harassment including any
          unwelcome sexual advances, requests for sexual favors or other verbal or
          physical conduct of a sexual nature against a Third Party, or other
          harassment which creates an environment that is hostile, intimidating or
          offensive to a Third Party;

           committed or allegedly committed by an Insured in their capacity as such
           while the Insured is performing duties related to the conduct of the
           Organization’s business. Third Party Harassment shall not include sexual
           abuse or molestation.

All other terms and conditions of this Policy remain unchanged. This endorsement is a
part of your Policy and takes effect on the effective date of your Policy unless another
effective date is shown.


EPL 144 (09-07)                                                                     Page 1 of 1
                                                                                       USLIPOL000033
             Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 40 of 126

                   UNITED STATES LIABILITY INSURANCE GROUP
                             WAYNE, PENNSYLVANIA
                        This Endorsement modifies insurance provided under the following:

                EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY



                         RETROACTIVE DATE ENDORSEMENT
It is hereby agreed that section II. FULL PRIOR ACTS COVERAGE PROVISION is deleted and
replaced with the following:

    Coverage shall apply to any Claim made against the Insured for Wrongful Acts arising solely out
    of the Insured's duties on behalf of the Organization committed prior to the expiration date of this
    Policy or the effective date of the cancellation or nonrenewal of this Policy, if applicable, provided
    that the Claim is first made during the Policy Period, or Extended Reporting Period, if applicable.

    However, coverage shall not apply to any Claim made against any Insured based upon, arising out
    of, directly or indirectly resulting from, in consequence of, or in any way involving a Wrongful Act
    committed or alleged to have been committed prior to 01/08/2016.

    Coverage shall also not apply to any Claim based upon or arising out of any Wrongful Act or
    circumstance likely to give rise to a Claim of which the person or persons signing the
    Application had knowledge, or otherwise had a reasonable basis to anticipate might result in a
    Claim, prior to the earlier of:

         A. the inception date of this Policy; or

         B. the inception date of the first Policy of this type the Company has issued to the Parent
            Organization, provided that the Company has written continuous coverage for the Parent
            Organization from such date to the inception date of this Policy.




All other terms and conditions of this policy remain unchanged. This endorsement is a part of your
policy and takes effect on the effective date of your policy unless another effective date is shown.




EPL 148 (09-07)                                                                                Page 1 of 1
                                                                                              USLIPOL000034
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 41 of 126




               UNITED STATES LIABILITY INSURANCE GROUP
                        WAYNE, PENNSYLVANIA
                    This endorsement modifies insurance provided under the following:

             EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY

       FAIR LABOR STANDARDS ACT SUB-LIMIT ENDORSEMENT

It is agreed that

I. INSURING AGREEMENT is amended by addition of the following:
    C. The Company will pay on behalf of the Insured a sub-limit of liability of $100,000 in
       excess of the Retention for all Loss and Defense Costs combined that the Insured shall
       become legally obligated to pay because of Claims first made against the Insured during
       the Policy Period or Extended Reporting Period, if applicable, for any actual or alleged
       violation of the federal Fair Labor Standards Act, any amendments thereto, or the
       provisions of any similar federal, state or local law regulating minimum wage, working
       hours, overtime, child labor, record keeping and other matters regulated under the federal
       Fair Labor Standards Act including misclassification of or misrepresentation to
       Employees under these laws. This sub-limit does not apply to or restrict the Limit of
       Liability described in A. above, for Claims alleging violations of the Equal Pay Act.

III. DEFINITIONS, R. “Wrongful Act”, is amended to add the following
     (10) violation of the federal Fair Labor Standards Act, any amendments thereto, or the
        provisions of any similar federal, state or local law regulating minimum wage, working
        hours, overtime, child labor, record keeping and other matters regulated under the federal
        Fair Labor Standards Act;

IV. EXCLUSIONS, B.(9), is deleted in its entirety for purposes of coverage provided by this
endorsement only.

V. LIMITS OF LIABILITY AND RETENTION is amended by addition of the following:
   The $100,000 Sub-Limit of Liability for an actual or alleged violation of the Fair Labor
   Standards Act, amendments thereto or provisions of any similar federal, state or local law
   regulating minimum wage, working hours, overtime, child labor, record keeping and other
   matters regulated under the federal Fair Labor Standards Act shall be a part of and not in
   addition to the Limit specified in the Policy Declarations. Defense Costs for Claims arising
   out of an actual or alleged violation of the Fair Labor Standards Act, amendments thereto or
   provisions of any similar federal, state or local law regulating minimum wage, working
   hours, overtime, child labor, record keeping and other matters regulated under the federal
   Fair Labor Standards Act shall be included within the $100,000 Sub-Limit of Liability set
   forth in this endorsement. The $100,000 Sub-Limit of Liability shall be the maximum
   liability for Loss and Defense Costs from all Claims for actual or alleged violations of the
   Fair Labor Standards Act, amendments thereto or provisions of any similar federal, state or


EPL 162 (05-10)                                                                         Page 1 of 2
                                                                                        USLIPOL000035
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 42 of 126



   local law regulating minimum wage, working hours, overtime, child labor, record keeping
   and other matters regulated under the federal Fair Labor Standards Act.

VIII. DEFENSE AND SETTLEMENT, B., is amended by addition of the following:
   However, in the case of a Claim involving an actual or alleged violation of the Fair Labor
   Standards Act, any amendments thereto, or the provisions of any similar federal, state or
   local law regulating minimum wage, working hours, overtime, child labor, record keeping
   and other matters regulated under the federal Fair Labor Standards Act, the Company will
   pay Defense Costs until such time as the $100,000 Sub-Limit of Liability provided by
   INSURING AGREEMENT, C., is exhausted by payment of Loss and/or Defense Costs
   applicable to actual or alleged violations of the Fair Labor Standards Act, any amendments
   thereto or the provisions of any similar federal, state or local law regulating minimum wage,
   working hours, overtime, child labor, record keeping and other matters regulated under the
   federal Fair Labor Standards Act at which point the Company shall have no further duty to
   defend such Claim.




All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
the Parent Organization’s Policy and takes effect on the effective date of the Parent
Organization’s Policy unless another effective date is shown.




EPL 162 (05-10)                                                                       Page 2 of 2
                                                                                      USLIPOL000036
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 43 of 126




              UNITED STATES LIABILITY INSURANCE GROUP
                       WAYNE, PENNSYLVANIA
                    This Endorsement modifies insurance provided under the following:

            EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY

              AMENDED DEFINITION OF LOSS ENDORSEMENT

It is hereby agreed that Section III. DEFINITIONS is amended by deleting paragraph K. and
replacing it with the following:

   K. “Loss” means damages, settlements, front pay, back pay, and pre-judgment and post-
      judgment interest awarded by a court.
      Loss also includes:
          (1) punitive and exemplary damages;
          (2) liquidated damages awarded by a court pursuant to a violation of the Equal Pay
              Act, the Age Discrimination in Employment Act, the Family Medical Leave Act,
              and the Fair Labor Standards Act (if endorsement EPL-162 is endorsed to this
              policy), all as amended, or any rules or regulations promulgated thereunder, or
              similar provisions of any federal, state or local law, statute or regulation; and
          (3) the multiplied portion of any multiplied damage award
          to the extent such damages are insurable under applicable law, statute or regulation.
      For the purpose of determining the insurability of punitive, exemplary or liquidated
      damages or the multiplied portion of any multiplied damage award, the laws of the
      jurisdiction most favorable to the insurability of such damages shall control, provided
      that such jurisdiction has a substantial relationship to the relevant Insured or to the
      Claim giving rise to the damages.
      Loss does not include:
          (1) fines, penalties and taxes;
          (2) monetary sanctions that are uninsurable by operation of law;
          (3) an express obligation to make payment in the event of the termination of
              employment.




All other terms and conditions of this Policy remain unchanged. This endorsement is a part of
your Policy and takes effect on the effective date of your Policy unless another effective date is
shown.




EPL 167 (05-09)                                                                         Page 1 of 1
                                                                                        USLIPOL000037
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 44 of 126




                     This endorsement modifies insurance provided under the following:

                EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY


         Amended Notice/Claim And Circumstance Reporting Provisions

It is agreed:

I. INSURING AGREEMENT is deleted in its entirety and replaced by:
    A. The Company will pay on behalf of the Insured, Loss in excess of the Retention not
       exceeding the Limit of Liability shown on the policy Declarations for which this
       coverage applies that the Insured shall become legally obligated to pay because of
       Claims first made against the Insured during the Policy Period or during any Extended
       Reporting Period, if applicable, for Wrongful Acts arising solely out of an Insured’s
       duties on behalf of the Organization. Such Claim must be reported to the Company in
       accordance with Section IX herein.

    B. The Company has the right and duty to defend any Claim to which this insurance
       applies, even if the allegations of the Claim are groundless, false or fraudulent.

II. FULL PRIOR ACTS COVERAGE PROVISION is deleted in its entirely and replaced by:
     Coverage shall apply to any Claim made against an Insured for Wrongful Acts arising
     solely out of the Insured’s duties on behalf of the Organization committed prior to the
     expiration date of this Policy or the effective date of cancellation or non-renewal of this
     Policy, if applicable, provided that the Claim is first made during the Policy Period, or
     Extended Reporting Period, if applicable. Such Claim must be reported to the Company in
     accordance with Section IX herein.

    However, coverage shall not apply to any Claim based upon or arising out of any Wrongful
    Act or circumstance likely to give rise to a Claim of which the person or persons signing the
    Application had knowledge or otherwise had a reasonable basis to anticipate might result in
    a Claim, prior to the earlier of:
       A. the inception date of this Policy; or

        B. the inception date of the first Policy of this type the Company has issued to the
           Parent Organization, provided that the Company has written continuous coverage
           for the Parent Organization from such date to the inception date of this Policy.


VII. EXTENDED REPORTING PERIOD is deleted in its entirety and replaced by:
 A. If the policy expires, is cancelled or non-renewed for any reason other than non-payment of
      premium, the Parent Organization shall have the right to purchase an Extended Reporting
      Period to report to the Company as soon as practicable during the Extended Reporting
      Period any Claim (s) being first made against an Insured during the twelve (12) months,
      or twenty-four (24) months or thirty six (36) months after the effective date of such


EPL 169 (11-13)                                                                          Page 1 of 3
                                                                                                USLIPOL000038
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 45 of 126




     expiration, non-renewal or cancellation (depending upon the Extended Reporting Period
     purchased,). For the purpose of this section, any change in premium terms or terms on
     renewal shall not constitute a refusal to renew. An Extended Reporting Period shall only
     apply to a Claim arising from a Wrongful Act which was committed before the date of
     such expiration, cancellation or non-renewal.

 B. The additional premium for the Extended Reporting Period shall be 50% of the annual
    premium set forth in the Policy Declarations for the twelve (12) month period; 100% of the
    annual premium set forth in the Policy Declarations for the twenty-four (24) month period;
    or 150% of the annual premium set forth in the Policy Declarations for the thirty-six (36)
    month period. The Extended Reporting Period begins on the expiration date or the effective
    date of cancellation or non-renewal of the policy. The Parent Organization must notify
    the Company in writing and must pay the additional premium due above no later than
    thirty (30) days after the effective date of such expiration, cancellation or non-renewal.

 C. All premium paid with respect to an Extended Reporting Period shall be deemed fully
    earned as of the first day of the Extended Reporting Period.

 D. The Limits of Liability available during the Extended Reporting Period shall not exceed the
    balance of the Limits of Liability available on the expiration date or effective date of
    cancellation or non-renewal of the policy.

 E. Coverage for a Claim first received and reported during the Extended Reporting Period
    shall be excess over any other valid and collectible insurance providing coverage for such
    Claim.


IX. NOTICE/CLAIM AND CIRCUMSTANCE REPORTING PROVISIONS is deleted in its
entirety and replaced by:
    Notice hereunder shall be given in writing to the Company. If mailed, the date of mailing of
    such notice shall constitute the date that such notice was given and proof of mailing shall be
    sufficient proof of notice.

   A. Written Notice of a Claim:
      (1) As a condition precedent to exercising any right to coverage under this Policy, an
          Insured shall give to the Company written notice of a Claim, as soon as practicable
          but:
          (a) if the Policy expires, is cancelled or is non-renewed and if no Extended Reporting
              Period is purchased, no later than sixty (60) days after the expiration date or
              effective date of such cancellation or non-renewal. Coverage for a Claim reported
              to the Company during the sixty (60) day period after expiration, cancellation or
              non-renewal applies only if the Claim is first made against an Insured prior to
              the Policy expiration or effective date of cancellation or non-renewal; or
          (b) if an Extended Reporting Period is purchased, no later than the last day of the
              Extended Reporting Period;



EPL 169 (11-13)                                                                Page 2 of 3
                                                                                      USLIPOL000039
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 46 of 126




           provided that if the Company sends written notice to the Parent Organization
           stating that this Policy is being terminated for nonpayment of premium, an Insured
           shall give to the Company written notice of such Claim prior to the effective date of
           such termination.

       (2) If an Extended Reporting Period is purchased, notice of Claim shall be in accordance
           with the terms and conditions of Section VII. EXTENDED REPORTING PERIOD.

   B. Written Notice of a Circumstance:
      (1) An Insured shall give to the Company written notice of a circumstance which could
          reasonably be expected to give rise to a Claim being made against an Insured as
          soon as practicable during the Policy Period in which an Insured first becomes
          aware of the circumstance.

       (2) If written notice of a circumstance which could reasonably be expected to give rise to
           a Claim being made against an Insured has been given to the Company during the
           Policy Period, any Claim which is subsequently made against an Insured and
           reported to the Company alleging, arising out of, based upon, or attributable to the
           facts set forth in the reported circumstance shall be considered to have been first
           made at the time such notice of the circumstance was given. Coverage for a
           circumstance reported pursuant to this provision applies only if the Wrongful Act
           that is the subject of the reported circumstance occurs prior to the expiration date or if
           applicable, prior to the effective date of cancellation or non-renewal of the Policy
           Period in which the circumstance was reported.

       (3) When reporting a circumstance to the Company, an Insured shall give the reasons
           for anticipating why the circumstance could reasonably be expected to give rise to a
           Claim being made against an Insured with full particulars as to the dates and persons
           involved.



All other terms and conditions of this Policy remain unchanged. This endorsement is part of the
Parent Organization’s Policy and takes effect on the effective date of the Parent
Organization’s Policy unless another effective date is shown.




EPL 169 (11-13)                                                                  Page 3 of 3
                                                                                        USLIPOL000040
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 47 of 126




              UNITED STATES LIABILITY INSURANCE GROUP
                       WAYNE, PENNSYLVANIA
                     This endorsement modifies insurance provided under the following:

            EMPLOYMENT PRACTICES LIABILITY INSURANCE POLICY


              ARIZONA STATE AMENDATORY ENDORSEMENT
To be attached to and form a part of all Employment Practices Liability policies written in the
state of Arizona.

It is hereby agreed that Section III. DEFINITIONS, is amended to include the following:
     T. “Retroactive Date” is the date stated in Item VI. of the Policy Declarations for which
         any Wrongful Act occurring prior to that date is excluded from coverage for Loss and
         Defense Costs even if the Claim is first made during the Policy Period.

It is further agreed that Section X. CANCELLATION OR NON-RENEWAL, is amended to add
the following:
     F. If one of the following occur, the Company is not required to provide written notice of
         non-renewal:
         (1) The Company or a Company within the same insurance group has offered to issue a
             renewal policy; or
         (2) The Insured obtained replacement coverage or agreed in writing to replace coverage

   G. If the Company elects to renew this Policy and the renewal is subject to any of the
      following:
      (1) Increase in premium;
      (2) Change in deductible;
      (3) Reduction in Limits of Liability; or
      (4) Substantial reduction in coverage;

       the Company is required to provide written notice to the Parent Organization. If the
       Company fails to provide written notice sixty (60) days prior to the anniversary or
       expiration date of this Policy, the following procedures apply:
       (1) The current Policy will remain in effect until the earlier of the following:
           a. Sixty (60) days after the date of mailing or delivery of the notice; or
           b. The effective date of replacement coverage obtained by the Parent Organization
       (2) If the Parent Organization accepts the renewal, the premium increase, if any, and
           other changes are effective the day following this Policy anniversary or expiration
           date.

All other terms and conditions of this policy remain unchanged. This endorsement is a part of
your policy and takes effect on the effective date of your policy unless another effective date is
shown.


EPL AZ (09-07)                                                                           Page 1 of 1
                                                                                         USLIPOL000041
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 48 of 126


                                Employment Practices Liability Insurance Policy


Notice: This is a Claims Made Policy. This Policy             B. the inception date of the first Policy of this
covers only those Claims first made against the                  type the Company has issued to the Parent
Insured during the Policy Period or Extended                     Organization, provided that the Company
Reporting Period, if purchased. Defense Costs shall              has written continuous coverage for the
be applied against the Retention.                                Parent Organization from such date to the
                                                                 inception date of this Policy.
In consideration of the payment of the premium and
in reliance upon all statements made and information       III. DEFINITIONS
furnished to the Company, including the statements            A. “Application” means:
made in the Application and all attachments and                  (1) an application and any material
materials submitted therewith, and subject to all the                submitted for this Policy and
provisions of this Policy, the Company agrees as                 (2) an application(s),and any material
follows:                                                             submitted, for all previous Policies issued
                                                                     by the Company providing continuous
I. INSURING AGREEMENT                                                coverage until the inception date of this
    A. The Company will pay on behalf of the                         Policy.
       Insured, Loss in excess of the Retention not
       exceeding the Limit of Liability shown on the          The content of (1) and (2) above is incorporated
       policy Declarations for which this coverage            by reference in this Policy as if physically
       applies that the Insured shall become legally          attached hereto.
       obligated to pay because of Claims first
       made against the Insured during the Policy             B. “Claim” means:
       Period or during any Extended Reporting                   (1) any written notice received by any
       Period, if applicable, for Wrongful Acts                      Insured that any person or entity intends
       arising solely out of an Insured’s duties on                  to hold such Insured responsible for a
       behalf of the Organization.                                   Wrongful Act; or
                                                                 (2) any proceeding initiated against any
    B. The Company has the right and duty to                         Insured, including any appeal therefrom,
       defend any Claim to which this insurance                      seeking to hold such Insured
       applies, even if the allegations of the Claim                 responsible for a Wrongful Act,
       are groundless, false or fraudulent.                          including any proceeding conducted by
                                                                     the Equal Employment Opportunity
II. FULL PRIOR ACTS COVERAGE                                         Commission or similar federal, state or
                                                                     local agency and any appeal therefrom;
     PROVISION
    Coverage shall apply to any Claim made against
                                                              A Claim shall be considered first made when the
    an Insured for Wrongful Acts arising solely out
                                                              Insured or its legal representative or agent first
    of the Insured’s duties on behalf of the
                                                              receives notice of a Claim.
    Organization committed prior to the expiration
    date of this Policy or the effective date of
                                                              C. “Company” means the insurer identified on
    cancellation or non-renewal of this Policy, if
                                                                 the Policy Declarations.
    applicable, provided that the Claim is first made
    during the Policy Period, or Extended Reporting
                                                              D. “Defense Costs” means reasonable and
    Period, if applicable.
                                                                 necessary legal fees and expenses incurred
                                                                 by the Company, or by any attorney
    However, coverage shall not apply to any Claim
                                                                 designated by the Company to defend any
    based upon or arising out of any Wrongful Act
                                                                 Insured, resulting from the investigation,
    or circumstance likely to give rise to a Claim of
                                                                 adjustment, defense and appeal of a Claim.
    which the person or persons signing the
                                                                 Defense Costs includes other fees, costs,
    Application had knowledge or otherwise had a
                                                                 costs of attachment or similar bonds (without
    reasonable basis to anticipate might result in a
                                                                 any obligation on the part of the Company to
    Claim, prior to the earlier of:
                                                                 apply for or furnish such bonds,) but does not
                                                                 include salaries, wages, overhead or benefits
    A. the inception date of this Policy; or
                                                                 expenses of any Insured.



EPLJ (09-07)                                                                                         Page 1 of 9
                                                                                            USLIPOL000042
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 49 of 126
   E. “Discrimination” means:                             J. “Insured(s)” means the Organization and
      (1) the termination of an employment                   the Individual Insureds.
          relationship; or
      (2) a demotion or a failure to hire or promote      K. “Loss” means damages and settlements,
          any individual; or                                 front pay and back pay, and pre-judgment
      (3) any other limitation or classification of an       and post judgment interest awarded by a
          Employee or applicant for employment               court and punitive or exemplary damages to
          which would deprive any individual of              the extent such damages are insurable under
          employment opportunities or adversely              applicable law but does not include fines,
          affect any individual’s status as an               penalties, taxes, the multiplied portion of any
          Employee;                                          multiple damage award or an express
                                                             obligation to make payments in the event of
        because of race, color, religion, age, sex,          the termination of employment.
        disability, pregnancy, national origin, marital
        status, sexual orientation or other protected         For the purpose of determining the
        class or characteristic established under             insurability of punitive damages and
        applicable federal, state, or local statute,          exemplary damages, the laws of the
        ordinance, regulation or order.                       jurisdiction most favorable to the insurability
                                                              of such damages shall control, provided that
   F. “Domestic Partner” means any natural                    such jurisdiction has a substantial
      person qualifying as a domestic partner                 relationship to the relevant Insured or to the
      under the provisions of any applicable                  Claim giving rise to the damages.
      federal, state or local law.
                                                          L. “Organization” means:
   G. “Employee” means any natural person                    (1) the Parent Organization and
      whose labor or service is engaged by and               (2) any Subsidiary of the Parent
      directed by the Organization while                         Organization; and
      performing duties related to the conduct of            (3) any entity in its capacity as a debtor in
      the Organization’s business and includes                   possession of (1) or (2) above under the
      leased, part-time, seasonal and temporary                  United States bankruptcy law or
      workers, independent contractors, volunteers               equivalent status under the law of any
      and interns.                                               other jurisdiction.

   An Employee’s status as an Insured will be             M. “Parent Organization” means the entity
   determined as of the date of the Wrongful Act             named in Item 1 of the Policy Declarations.
   that results in a Claim.
                                                          N. “Policy Period” means the period from the
   H. “Harassment” means:                                    effective date of this Policy as set forth in the
       (1) sexual harassment including unwelcome             Policy Declarations, to the expiration date or
           sexual advances, requests for sexual              effective date of cancellation or non-renewal,
           favors or other verbal or physical conduct        if any.
           of a sexual nature that are made a
           condition of employment, are used as a         O. “Retaliation” means any actual or alleged
           basis for employment decisions, or                retaliatory treatment against an Employee
           create a work environment that is hostile,        because of:
           intimidating or offensive or that interferes      (1) the exercise of or attempt to exercise an
           with performance; or                                  Employee’s rights under law; or
       (2) other harassment which creates a work             (2) an Employee’s disclosure of or threat to
           environment that is hostile, intimidating             disclose to a governmental agency or
           or offensive or that otherwise interferes             superior, acts of actual or alleged
           with performance.                                     wrongdoing by an Insured; or
                                                             (3) the filing of any claim under any federal,
   I.   “Individual Insured(s)” means any persons                state, or local “whistle-blower” law
        who were, now are, or shall be directors,                including the Federal False Claims Act;
        officers, partners, managing members or                  or
        Employees of the Organization including              (4) Employee strikes or slowdowns.
        their estates, heirs, legal representatives or
        assigns in the event of their death, incapacity   P. “Subsidiary” means, for the purpose of this
        or bankruptcy.                                       Policy, any entity which is more than 50%
                                                             owned by the Parent Organization as of the
                                                             effective date of this Policy and is disclosed
EPLJ (09-07)                                                                                      Page 2 of 9
                                                                                         USLIPOL000043
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 50 of 126
       as a Subsidiary in an Application to the                  (5) failure to enforce written policies and
       Company.                                                      procedures relating to a Wrongful Act.

       An entity formed or acquired after the                R. “Wrongful Act” means any actual or alleged
       effective date of this Policy is, for the purpose        act of:
       of this Policy, a Subsidiary if:                         (1) Discrimination; or
       (1) the entity’s Employees total less than               (2) Harassment; or
            25% of the total work force of the Parent           (3) Retaliation; or
            Organization and                                    (4) Wrongful Termination; or
       (2) notice is given to the Company with full             (5) Workplace Tort; or
            particulars about the new Subsidiary as             (6) negligent violation of the Uniform
            soon as practicable but no later than the               Services Employment & Reemployment
            expiration date of this Policy or effective             Rights Act; or
            date of cancellation or non-renewal, if             (7) negligent violation of the Family and
            any                                                     Medical Leave Act of 1993; or
                                                                (8) negligent violation of state law having the
       An entity which is formed or acquired after                  same or substantially similar purpose as
       the effective date of this Policy and its                    the Acts in (6) or (7) above; or
       Employees total 25% or more of the total                 (9) acts described in clauses (1) through
       work force of the Parent Organization is, for                (8)above arising from the use of the
       the purpose of this Policy, a Subsidiary if:                 Organization’s Internet, e-mail,
       (1) notice is given to the Company of such                   telecommunication or similar systems,
           Subsidiary as soon as practicable but                    including the failure to provide and
           within sixty (60) days of the formation or               enforce adequate policies and
           acquisition of the Subsidiary and                        procedures relating to such use of the
       (2) the Parent Organization provides the                     Organization’s Internet, e-mail,
           Company with such information as the                     telecommunication or similar systems;
           Company may deem necessary to
           determine insurability of the Subsidiary          committed or allegedly committed by the
           and                                               Organization or by an Individual Insured acting
       (3) the Parent Organization accepts any               solely within his/her capacity as such, involving
           special terms, conditions, exclusions,            and brought by any Employee, former
           limitations or premium imposed by the             Employee or applicant for employment with the
           Company and                                       Organization or asserted by any Employee,
       (4) the Company, at its sole discretion,              former Employee or applicant for employment
           agrees to insure the Subsidiary.                  with the Organization against an Individual
                                                             Insured because of his/her status as such.
       A Subsidiary which is sold or dissolved:
       (1) after the effective date of this Policy and       It is further agreed that the same Wrongful Act,
           which was an Insured under this Policy;           an interrelated series of Wrongful Acts or a
           or                                                series of similar or related Wrongful Acts by one
       (2) prior to the effective date of this Policy        or more Insureds shall be deemed to be one
           and which was an Insured under a prior            Wrongful Act and to have commenced at the
           Policy issued by the Company;                     time of the earliest Wrongful Act.

       shall continue to be an Insured, but only with        S. “Wrongful Termination” means the actual
       respect to Claims first made during this                 or constructive termination of an employment
       Policy Period or Extended Reporting Period,              relationship or the demotion of or the failure
       if applicable, arising out of Wrongful Acts              to promote any Employee in a manner which
       committed or allegedly committed during the              is illegal and wrongful or in breach of an
       time the entity was a Subsidiary of the                  implied agreement to continue employment.
       Parent Organization.
                                                           IV. EXCLUSIONS
   Q. “Workplace Tort” means any actual or                   A. The Company shall not be liable to make
      alleged employment-related:                               payment for Loss or Defense Costs in
      (1) misrepresentation; or                                 connection with any Claim made against the
      (2) negligent supervision, training or                    Insured for;
          evaluation; or
      (3) wrongful discipline; or                                any actual or alleged bodily injury, sickness,
      (4) wrongful deprivation of a career                       disease or death of any person, or damage
          opportunity; or                                        to or destruction of any tangible property
EPLJ (09-07)                                                                                         Page 3 of 9
                                                                                            USLIPOL000044
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 51 of 126
       including any resulting loss of use; provided          was the subject of any notice under any
       that this exclusion shall not apply to Claims          other similar policy of insurance to the
       for mental anguish, emotional distress,                Insured; or any future Claims or
       invasion of privacy, humiliation, libel, slander       litigation based upon the pending or prior
       or defamation that result from a Wrongful              litigation or derived from the same or
       Act.                                                   essentially the same facts, actual or
                                                              alleged;
   B. The Company shall not be liable to make
      payment for Loss or Defense Costs (except           provided that, if this Policy is a renewal of a
      where otherwise noted) in connection with           Policy or Policies previously issued by the
      any Claim made against the Insured arising          Company and if the coverage provided by
      out of, directly or indirectly resulting from or    the Company was continuous from the
      in consequence of, or in any way involving:         effective date of the first such other Policy to
                                                          the effective date of this Policy, the reference
       (1) conduct of the Insured or at the               in this exclusion to the “effective” date” will
           Insured’s direction that is fraudulent,        mean the effective date of the first Policy
           dishonest or criminal provided that this       under which the Company first provided
           exclusion will not apply to:                   continuous coverage to the Insured; or
           (a) Defense Costs incurred until such
               conduct is established to be               (5) any lockout, strike, picket line,
               fraudulent, dishonest or criminal by           replacement of worker(s) or other similar
               final and non-appealable judgment or           actions resulting from labor disputes or
               adjudication;                                  labor negotiations; provided that this
           (b) the strictly vicarious liability of the        exclusion will not apply to a Claim for
               Insured for the fraudulent, dishonest          actual or alleged Retaliation arising from
               or criminal conduct of another                 the foregoing; or
               Insured; or
                                                          (6) the National Labor Relations Act, Labor
       (2) any pension, profit sharing, welfare               Management Relations Act and
           benefit or other employee benefit                  amendments thereto, or any similar
           program established in whole or in part            state, federal or local law or regulation;
           for the benefit of any Individual Insured,         provided that this exclusion will not apply
           or based upon, arising out of or in any            to a Claim for actual or alleged
           way involving the Employee Retirement              Retaliation arising from an Insured’s
           Income Security Act of 1974 (except                alleged violation of such laws; or
           Section 510 thereof) or any amendments
           thereof or regulations promulgated             (7) any Claim against any Subsidiary or its
           thereunder or similar provisions of any            Individual Insureds for any Wrongful
           federal, state or local statutory law or           Act occurring prior to the date that such
           common law; provided that this exclusion           entity became a Subsidiary or any
           will not apply to any Claim for actual or          Wrongful Act occurring at any time that
           alleged Retaliation with regard to                 such entity is not a Subsidiary; or
           benefits paid or payable; or
                                                          (8) any damages which the Insured is
       (3) any obligation under a worker’s                    legally obligated to pay by reason of the
           compensation, disability benefits,                 assumption of another’s liability for a
           insurance benefits or unemployment                 Wrongful Act in a contract or
           compensation law or any similar law or             agreement. This exclusion does not
           regulation; provided that this exclusion           apply to liability for damages that the
           will not apply to any Claim for actual or          Insured would have in the absence of
           alleged Retaliation with regard to                 the contract or agreement;
           benefits paid or payable; or
                                                          (9) actual or alleged violations of the Fair
       (4) any prior or pending litigation,                   Labor Standards Act, any amendments
           administrative or regulatory proceeding,           thereto, or any similar provisions of any
           Claim, demand, arbitration, decree or              federal, state or local law(except the
           judgment of which the Insured had                  Equal Pay Act); or improper wages or
           written notice before the effective date of        wage disputes due to misclassification of
           this Policy; or any fact, circumstance,            Employees as exempt or non exempt; or
           event, situation, or Wrongful Act which            misrepresentation involving any
           before the effective date of this Policy
EPLJ (09-07)                                                                                  Page 4 of 9
                                                                                    USLIPOL000045
        Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 52 of 126
             Employee’s status as exempt or non-                     behalf of an Insured. If the Company, at its
             exempt.                                                 sole discretion, elects to pay any part or all of
                                                                     the Retention, the Insureds agree to repay
    C. The Company shall not be liable to make                       such amounts to the Company upon
       payment for Loss in connection with any                       demand.
       Claim made against the Insured arising out
       of, directly or indirectly resulting from or in           F. The Limit of Liability for the Extended
       consequence of, or in any way involving:                     Reporting Period, if applicable, shall be a
                                                                    part of and not in addition to the Limit
        (1) the Insured’s actual or alleged liability               specified in the Policy Declarations.
            for damages under any express
            employment contract or express                       G. Claims based upon or arising out of the
            employment agreement; provided that                     same Wrongful Act, interrelated Wrongful
            this exclusion shall not apply to liability             Acts, or a series of similar or related
            for a Wrongful Act which the Insured                    Wrongful Acts shall be considered a single
            would have in the absence of such                       Claim and shall be considered first made
            contract or agreement; or                               during the Policy Period or Extended
                                                                    Reporting Period, if applicable, in which the
        (2) any costs or actual or alleged liability                earliest Claim arising out of such Wrongful
            resulting from the modification of any real             Act(s) was first made and all Loss for such
            or personal property in order to make                   Claims shall be subject to the one Limit of
            said real or personal property more                     Liability that applies to such earliest Claim.
            accessible or accommodating to any
            disabled person.                                     H. The Limit of Liability for this Policy shall apply
                                                                    separately to each consecutive annual period
    Defense Costs shall be a part of and not in                     starting with the beginning of the Policy
    addition to the Limit of Liability stated in Item III of        Period shown in the Policy Declarations. If
    the Policy Declarations for C.(1) and C.(2) above.              this Policy is issued for a period of more than
                                                                    twelve (12) months but less than twenty four
V. LIMITS OF LIABILITY AND                                          (24) months or if the Policy Period is
   RETENTION                                                        extended after issuance, the additional
    Regardless of the number of Insureds under this                 Extended Reporting Period will be deemed
    Policy, Claims made or brought on account of                    part of the last Policy Period for the
    Wrongful Acts or otherwise, the Company’s                       purposes of determining the Limit of Liability.
    liability is limited as follows:
                                                               VI. SPOUSAL AND DOMESTIC PARTNER
    A. The Limit of Liability specified in the Policy              EXTENSION
       Declarations as “in the aggregate” shall be               If a Claim against an Individual Insured
       the maximum liability for Loss from all                   includes a Claim against the lawful spouse or
       Claims to which this Policy applies.                      Domestic Partner of such Individual Insured
                                                                 solely by reason of (a) such spousal or Domestic
    B. The Limit of Liability specified in the Policy            Partner status or (b) such spouse’s or Domestic
       Declarations as the Limit for each Claim                  Partner’s ownership interest in property or
       shall be the maximum liability for Loss for               assets that are sought as recovery for Wrongful
       each Claim to which this Policy applies.                  Acts, any Loss which such spouse or Domestic
                                                                 Partner becomes legally obligated to pay on
    C. Defense Costs shall be in addition to the                 account of such Claim shall be deemed Loss
       Limit of Liability shown in the Policy                    which the Individual Insured becomes legally
       Declarations.                                             obligated to pay as a result of the Claim.

    D. Subject to the Limits of Liability provisions             All definitions, exclusions, terms and conditions
       stated in A., B., and C. above, the Company               of this Policy, including the Retention, applicable
       shall be liable to pay only Defense Costs                 to any Claim against, or Loss or Defense Costs
       and Loss in excess of the Retention                       sustained by, such Individual Insured shall also
       specified in the Policy Declarations hereof as            apply to this coverage extension.
       respects each and every Claim to which this
       Policy applies.                                           The extension of coverage afforded by this
                                                                 Section VI shall not apply to the extent the Claim
   E. The Company shall have no obligation to                    alleges any Wrongful Act, error, omission,
       pay any part or all of the Retention specified            misstatement, misleading statement, neglect or
       in the Policy Declarations for any Claim on               breach of duty committed by such spouse or
EPLJ (09-07)                                                                                             Page 5 of 9
                                                                                               USLIPOL000046
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 53 of 126
   Domestic Partner as long as they are not also         A. The Insured shall not demand or agree to
   an Individual Insured.                                   arbitration of any Claim without the written
                                                            consent of the Company. The Insured shall
VII. EXTENDED REPORTING PERIOD                              not, except at personal cost, make any offer
   A. If the Policy expires, is cancelled or is non         or payment, admit any liability, settle any
      renewed for any reason other than non                 Claim, assume any obligation or incur any
      payment of premium, the Parent Organization           expense without the Company’s written
      shall have the right to purchase an Extended          consent.
      Reporting Period to report any Claim(s) or
      circumstance(s) which could be expected to         B. Except as otherwise provided in this Policy, if
      give rise to a Claim being first made against an      a Claim is made against an Insured for
      Insured during the twelve (12) months, twenty-        Loss that is both covered and uncovered by
      four (24) months or thirty-six (36) months after      this Policy, the Company will pay one
      the expiration date or effective date of such         hundred percent (100%) of the Defense
      cancellation or non-renewal (depending upon           Costs for the Claim until such time that the
      the Extended Reporting Period purchased). An          Limits of Liability of this policy are exhausted
      Extended Reporting Period shall only apply to a       by payment of a covered Loss or the Claim
      Wrongful Act committed before the date of the         for the covered Loss is resolved by
      Policy expiration, cancellation or non-renewal.       settlement, verdict or summary judgment.
      For the purpose of this clause, any change in
      premium terms or terms on renewal shall not        C. The Company, as it deems expedient, has
      constitute a refusal to renew.                        the right to investigate, adjust, defend,
                                                            appeal and, with the consent of the Insured,
   B. The additional premium for the Extended               negotiate the settlement of any Claim
      Reporting Period shall be 50% of the annual           whether within or above the Retention. If the
      premium set forth in the Policy Declarations          Insured refuses to consent to a settlement
      for the twelve (12) month period; 100% of the         recommended by the Company, the
      annual premium set forth in the Policy                Company is not obligated to pay any Loss
      Declarations for the twenty-four (24) month           or defend any Claim after the Limit of
      period; and 150% of the annual premium set            Liability has been exhausted by payment of
      forth in the Policy Declarations for the              Loss by settlement or otherwise. The
      thirty-six (36) month period. The Extended            Company’s obligation to the Insured for
      Reporting Period begins on the expiration             Defense Costs and Loss attributable to
      date or effective date of the cancellation or         such Claim(s) shall be limited to:
      non-renewal of the Policy. The Parent                 (1) the amount of the covered Loss in
      Organization must notify the Company in                   excess of the Retention which the
      writing and must pay the additional premium               Company would have paid in settlement
      set forth above no later than thirty (30) days            at the time the Insured first refused to
      after the expiration date or effective date of            settle;
      such cancellation or non-renewal.                     (2) plus covered Defense Costs incurred up
                                                                to the date the Insured first refused to
   C. All premium paid with respect to an Extended              settle;
      Reporting Period shall be deemed fully                (3) plus seventy five percent (75%) of
      earned as of the first day of the Extended                covered Loss and Defense Costs in
      Reporting Period.                                         excess of the first settlement amount
                                                                recommended by the Company to which
   D. The Limits of Liability available during the              the Insured did not consent.
      Extended Reporting Period shall not exceed
      the balance of the Limits of Liability available   It is understood that payment of (1), (2) and (3)
      on the expiration date or effective date of the    above is the limit of the Company’s liability
      cancellation or non-renewal of the Policy.         under this Policy for any Claim in which the
                                                         Insured fails or refuses to consent to the
   E. Coverage for Claim(s)or circumstances              Company’s settlement recommendation, subject
      which ultimately lead to a Claim(s) first          at all times to the Limits of Liability and Retention
      received and reported during the Extended          provisions of this Policy. The remaining twenty
      Reporting Period shall be excess over any          five percent (25%) of Loss and Defense Costs
      other valid and collectible insurance              in excess of the amount referenced in (1) and (2)
      providing coverage for such Claim(s).              above shall be the obligation of the Insured.

VIII. DEFENSE AND SETTLEMENT                             D. The Insured agrees to cooperate with the
                                                            Company on all Claims, and provide such
EPLJ (09-07)                                                                                      Page 6 of 9
                                                                                       USLIPOL000047
       Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 54 of 126
       assistance and information as the Company              been given to the Company pursuant to
       may reasonably request. Upon the                       Clause IX. A. above, then any Claim which is
       Company’s request, the Insured shall                   subsequently made against the Insured and
       submit to examination and interrogation by a           reported to the Company alleging, arising
       representative of the Company, under oath if           out of, based upon or attributable to the facts
       required, and shall attend hearings,                   alleged in the Claim or circumstance which
       depositions and trials and shall assist in the         could be expected to give rise to a Claim
       conduct of suits, including but not limited to         being made against an Insured for which
       effecting settlement, securing and giving              notice was given, or alleging any Wrongful
       evidence, obtaining the attendance of                  Act which is the same as or related to any
       witnesses, giving written statements to the            Wrongful Act alleged in the Claim or
       Company’s representatives and meeting                  circumstance which could be expected to
       with such representatives for the purpose of           give rise to a Claim being made against an
       investigation and/or defense, all of the above         Insured for which notice was given, shall be
       without charge to the Company. The                     considered made at the time such notice was
       Insured further agrees not to take any action          given.
       which may increase the Insured’s or the
       Company’s exposure for Loss or Defense           X. CANCELLATION OR NON-RENEWAL
       Costs.                                             A. This Policy may be canceled by the Parent
                                                             Organization by either surrender of the
   The Insured shall execute all papers required             Policy thereof to the Company at its address
   and shall do everything that may be necessary to          stated on the Policy Declarations or by
   secure and preserve any rights of indemnity,              mailing to the Company written notice
   contribution or apportionment which the Insured           requesting cancellation and in either case
   or the Company may have, including the                    stating when thereafter such cancellation
   execution of such documents as are necessary to           shall be effective. If canceled by the Parent
   enable the Company to bring suit in the                   Organization, the Company shall retain the
   Insured’s name and shall provide all other                customary short rate proportion of the
   assistance and cooperation which the Company              premium.
   may reasonably require.
                                                          B. The Company may cancel this Policy only in
IX. NOTICE/CLAIM AND CIRCUMSTANCE                            the event of the failure of the Insured to pay
    REPORTING PROVISIONS                                     the premium when due by mailing to the
   Notice of a Claim or circumstance which could             Parent Organization written notice when,
   be expected to give rise to a Claim being made            not less than ten (10) days thereafter, such
   against any Insured shall be given in writing to          cancellation shall be effective.
   the Company. If mailed, the date of mailing of
   such notice shall constitute the date that such        C. In the event the Company refuses to renew
   notice was given and proof of mailing shall be            this Policy, the Company shall mail to the
   sufficient proof of notice.                               Parent Organization, not less than sixty (60)
                                                             days prior to the end of the Policy Period,
   A. As a condition precedent to exercising any             written notice of non-renewal. Such notice
      right to coverage under this Policy, the               shall be binding on all Insureds.
      Insured shall give to the Company written
      notice of a Claim or circumstance which             D. The Company shall mail notice of
      could be expected to give rise to a Claim              Cancellation or Non-renewal by certificate of
      being made against an Insured as soon as               mailing stating the effective date of
      practicable, but:                                      Cancellation or Non-renewal and the specific
      (1) if the Policy expires, is cancelled or is          reason(s) for Cancellation or Non-renewal,
          non-renewed and if no Extended                     which shall become the end of the Policy
          Reporting Period is purchased, no later            Period. Mailing of such notice shall be
          than sixty (60) days after the expiration          sufficient notice of Cancellation or Non-
          date or effective date of such                     renewal.
          cancellation or non-renewal; or
      (2) if an Extended Reporting Period is              E. If the Policy is canceled by the Company,
          purchased, no later than the last day of           earned premium shall be computed pro rata.
          the Extended Reporting Period.                     Premium adjustment may be made at the
                                                             time cancellation is effected, or as soon as
   B. If written notice of a Claim or circumstance           practicable thereafter.
       which could be expected to give rise to a
       Claim being made against an Insured has
EPLJ (09-07)                                                                                     Page 7 of 9
                                                                                       USLIPOL000048
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 55 of 126

XI. REPRESENTATIONS AND                                    Parent Organization in writing, at the address of
    SEVERABILITY                                           the Parent Organization. Such notice shall be
   A. The Insured represents that the particulars          deemed to be notice to all Insureds. The Parent
      and statements contained in the Application          Organization shall be the agent of all Insureds
      are true and agree that (1) those particulars        to effect changes in the Policy or purchase the
      and statements are the basis of this Policy          Extended Reporting Period.
      and are to be considered as incorporated into
      and constituting a part of the Policy; (2) those   XV. ASSIGNMENT
      particulars and statements are material to the       Assignment of interest under this Policy shall not
      acceptance of the risk assumed by the                bind the Company unless its consent is
      Company; and (3) the Policy is issued in             endorsed hereon.
      reliance upon the truth of such
      representations.                                   XVI. OTHER INSURANCE
                                                           This Policy shall be excess of other existing
   B. An Application for coverage shall be                 insurance, including but not limited to any
      construed as a separate Application for              insurance under which there is a duty to defend,
      coverage by each Individual Insured. With            unless such other insurance is specifically written
      respect to the particulars and statements            to be in excess of this Policy.
      contained in the Application, no fact
      pertaining to or knowledge possessed by any        XVII. TERMS OF POLICY CONFORMED TO
      Individual Insured shall be imputed to any           STATUTE
      other Individual Insured for the purpose of          Terms of this Policy which are in conflict with the
      determining if coverage is available.                statutes of the State wherein this Policy is issued
      However, facts pertaining to and knowledge           are hereby amended to conform to such statutes.
      possessed by the individual(s) signing the
      Application and the President, Chairperson,
      Chief Executive Officer, Partner and Chief
                                                         XVIII. CHANGES IN EXPOSURE
      Financial Officer shall be imputed to the            A. If after the inception date of this Policy:
      Organization for the purpose of determining
                                                               (1) the Parent Organization merges into or
      if coverage is available.
                                                                   consolidates with another entity such that
                                                                   the Parent Organization is not the
XII. SUBROGATION                                                   surviving entity; or
   In the event of any payment under this Policy, the          (2) another entity, person or group of entities
   Company shall be subrogated to the Insured’s                    and/or persons acting in concert acquires
   right of recovery therefore against any person or               more than fifty percent (50%) of the
   entity and the Insured shall execute and deliver                assets of the Parent Organization; or
   such instruments and papers and do whatever                 (3) another entity, person or group of entities
   else is necessary to secure such rights. The                    and/or persons acting in concert acquires
   Insured shall not do anything to prejudice such
                                                                   the right to elect or select a majority of
   rights.                                                         the directors of the Parent Organization;
                                                                   or
XIII CHANGES                                                   (4) the Parent Organization sells all or
   Notice to any agent or knowledge by any agent                   substantially all of its assets ,
   shall not effect a waiver or change in any part of
   this Policy or stop the Company from asserting          the above events referred to as a “Transaction”;
   any right under the terms of this Policy, nor shall
   the terms of this Policy be waived or changed           this Policy shall continue in full force and effect
   except by an endorsement, issued by the                 until the expiration date shown in the Policy
   Company to form a part of this Policy.                  Declarations or the effective date of non-renewal
                                                           if applicable, with respect to Wrongful Acts
XIV. AUTHORIZATION CLAUSE AND                              occurring before the Transaction, but there shall
   NOTICES                                                 be no coverage under this Policy for actual or
   By acceptance of this Policy, the Insured agrees        alleged Wrongful Acts occurring on and after
   that the Parent Organization shall act on behalf        the Transaction. The entire premium for this
   of all Insureds with respect to the giving and          Policy shall be deemed fully earned on the
   receiving of any return premiums that may               transaction date. In the event of a Transaction,
   become due under this Policy. Notice to the             the Parent Organization shall have the right to
   Parent Organization shall be directed to the            an offer of coverage by the Company for an
   individual named in the Application, or such            Extended Reporting Period to report Wrongful
   other person as shall be designated by the
EPLJ (09-07)                                                                                        Page 8 of 9
                                                                                         USLIPOL000049
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 56 of 126
   Acts occurring prior to the effective date of the       B. Any person or the legal representatives
   Transaction.                                               thereof who has secured such judgment or
                                                              written agreement shall thereafter be entitled
   B. The Parent Organization shall give the                  to recover under this Policy to the extent of
      Company written notice of the Transaction               the insurance afforded by this Policy. No
      as soon as practicable, but not later than              person or entity shall have any right under
      thirty (30) days after the effective date of the        this Policy to join the Company as a party to
      Transaction.                                            any action against the Insured to determine
                                                              the Insured’s liability, nor shall the
XIX. ACTION AGAINST THE COMPANY                               Company be impleaded by the Insured or
   A. No action shall lie against the Company                 their legal representatives.
      unless as a condition precedent thereto,
      there shall have been full compliance with all           Bankruptcy or insolvency of the Insured or
      of the terms of this Policy, and until the               their successors in interest shall not relieve
      amount of the Insured’s obligation to pay                the Company of its obligations hereunder.
      shall have been finally determined either by
      judgment against the Insured after actual          XX. ACCEPTANCE
      trial or by written agreement of the Insured,        This Policy embodies all agreements existing
      the claimant or the claimant’s legal                 between the parties hereunder or any of their
      representative, and the Company.                     agents relating to this insurance.




EPLJ (09-07)                                                                                       Page 9 of 9
                                                                                         USLIPOL000050
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 57 of 126




                                                   INSURANCE


                                                           POLICY

   UNITED STATES LIABILITY
     INSURANCE GROUP
                                            This policy jacket together with the policy declarations,
                A STOCK COMPANY
                                             coverage forms and endorsements, if any, complete
            A BERKSHIRE HATHAWAY COMPANY                           this policy.

               1190 Devon Park Drive          The enclosed declarations designates the issuing
               Wayne, PA 19087-2191                             company.
             888-523-5545 – USLI.COM




Jacket AZ (07-19)                                                                        Page 1 of 2

                                                                                USLIPOL000051
             Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 58 of 126


                                         INSURANCE POLICY


                                 Read your policy carefully!




 In Witness Whereof, the company has caused this Policy to be executed and attested.

 Secretary                                                    President




Jacket AZ (07-19)                                                                           Page 2 of 2
                                                                                       USLIPOL000052
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 59 of 126




                    EXHIBIT “D”
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 60 of 126

                                                                            Clerk of the Superior Court
                                                                            *** Electronically Filed ***
                                                                                 C. Cuellar, Deputy
                                                                              8/24/2021 11:28:12 AM
                                                                                Filing ID 13288909

   1   LUBIN & ENOCH, P.C.
       Nicholas J. Enoch, State Bar No. 016473
       Clara S. Acosta, State Bar No. 036044
   2   William W. Holder, State Bar No. 009478
       349 North Fourth Avenue
   3   Phoenix, Arizona 85003-1505
       Telephone: (602) 234-0008
       Facsimile: (602) 626-3586
   4   Email: nickAlubinandenoch.corn

       Attorneys for Plaintiffs
   5

   6              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

   7                       IN AND FOR THE COUNTY OF MARICOPA

   8   Ana Jimenez Guadarrama, a married
                                                        No.      CV2021-013286
       woman; Jose Eduardo Jimenez, a single
   9   man; Manuel Najera Flores, a married man;
       Daniela Mundo Jimenez, a single woman;
  10
                     Plaintiffs,
  11                                                    COMPLAINT
       v.
                                                        Tier 2
  12
       Green Fili, LLC, an Arizona Corporation;
  13   Rajen A. Patel, a single man; Jiten Sibal and
       Mamta Sibal, in their personal capacity as
  14   husband and wife and as trustees on behalf
       of the Sibal Family Trust; and John
  15   "Harvey" Doe, a single man;

  16                 Defendants.

  17          Plaintiffs, Ana Jimenez Guadarrama ("Guadarrama"), Jose Eduardo Jimenez
  18
       ("Jimenez"), Manuel Najera Flores ("Najera"), and Daniela Mundo Jimenez ("Mundo")
  19
       (collectively, the "Plaintiffs"), by and through their attorneys, Lubin & Enoch, P.C., bring
  20
       this action pursuant to, inter alia, the Fair Labor Standards Act of 1938, 29 U.S.C. § 201,
  21
       et seq. ("FLSA"), the Arizona Minimum Wage Act, A.R.S. § 23-362, et seq. ("AMWA"),
  22



                                                    1

                                                                                     USLI000121
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 61 of 126




   1   unlawful contract by requiring Plaintiffs to pay for employment, committed fraud, and

   2   unjustly enriched themselves at the expense of Plaintiffs. Specifically, Plaintiffs allege as

   3   follows:

   4
                                                THE PARTIES
   5
             2.      Guadarrama is a former employee of Defendants Green Fili, LLC, Rajen A.
   6
       Patel, Jiten Sibal, and John "Harvey" Doe (hereinafter "Harvey") (collectively referred to
   7
       as "Defendants"), from approximately August 2020 to March 2021.
   8
             3.      Jimenez was Defendants' employee in May 2020 and from approximately
   9
       September 2020 to April 2021.
  10
             4.      Najera was Defendants' employee from approximately September 2020 to
  11
       March 2021.
  12
             5.      Mundo was Defendants' employee from approximately August 2020 to
  13
       March 2021.
  14
             6.      Defendant Jiten Sibal (hereinafter "Sibal") is a married man and resident of
  15
       Gilbert, Arizona. Sibal and his wife, Mamta Sibal, are now, and at all times relevant
  16
       hereto were, husband and wife, constituting a marital community under the laws of the
  17
       State of Arizona. Sibal engaged in acts and made omissions while performing as an agent
  18
       for the benefit of the marital community.
  19
             7.      Sibal is the owner of Filiberto's No. 72 where Plaintiffs worked.
  20
             8.      Defendant Rajen Patel ("hereinafter "Patel") is the sole individual member
  21
       of the corporate Defendant, Green Fili LLC.
  22



                                                     3

                                                                                      USLI000122
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 62 of 126




   1   See, e.g., Irwin Union Collateral Inc. v. Peters & Burris, 2009 U.S. Dist. LEXIS 123393,

   2   2009 WL 5184902, at *11 (D. Ariz. Dec. 22, 2009) ("The trustee, acting on behalf of the

   3   trust, signed these document [sic]. Because of this fact, it does not appear unfair to

   4   require that a lawsuit against the trust proceed against the trustee for the trust in her

   5   representative capacity").

   6          19.    Upon information and belief, currently and during all relevant time periods,

   7   Patel has been a resident of Maricopa County, Arizona.

   8          20.    Upon information and belief, currently and during all relevant time periods,

   9   Sibal has been a resident of Maricopa County, Arizona.

  10          21.    Upon information and belief, currently and during all relevant time periods,

  11   Harvey has been a resident of Maricopa County, Arizona.

  12          22.    Plaintiffs are former employees of Defendants as that term is defined in 29

  13   U.S.C. § 203(e)(1), A.R.S. § 23-362(A), and A.R.S. § 23-371(F).

  14          23.    Defendants are Plaintiffs' former employers as that term is defined in 29

  15   U.S.C. § 203(d), A.R.S. § 23-362(B), and A.R.S. § 23-371(G).

  16          24.    Upon information and belief, Sibal and Harvey exercised managerial

  17   responsibilities and substantial control over the terms and conditions of Plaintiffs' work.

  18   Among other things, Sibal and Harvey were primarily responsible for hiring and firing

  19   employees, supervising, and controlling employee work schedules and conditions of

  20   employment, determining the rate and method of payment, and maintaining any

  21   employment records that may exist.

  22



                                                      5

                                                                                       USLI000123
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 63 of 126




   1   indirectly, by reason that one employer controls, is controlled, or is under control with the

   2   other employer. Id. at 1469-470 (citing 29 C.F.R. § 791.2(b)).

   3          30.    Similarly, AMWA defines "employer" to "include[] any corporation,

   4   proprietorship, partnership, joint venture, limited liability company, trust, association,

   5   political subdivision of the state, individual or other entity acting directly or indirectly in

   6   the interest of an employer in relation to an employee..." A.R.S. § 23-362(B).

   7          31.    Therefore, Defendants are "employers" as defined under the FLSA and

   8   AMWA. 29 U.S.C. § 203(d); A.R.S. § 23-362(B).

   9
                                     JURISDICTION AND VENUE
  10
              32.    This Court has subject matter jurisdiction over this case pursuant to 29
  11
       U.S.C. § 216(b), Ariz. Const. art. VI § 14, and A.R.S. §§ 12-123 and 23-364.
  12
              33.    This Court has personal jurisdiction over Defendants.
  13
              34.    Venue is proper in this Court pursuant to A.R.S. § 12-401.
  14
                                          GENERAL ALLEGATIONS
  15
                                                   The Contract
  16
              35.    On or about August 28, 2020, Guadarrama and Najera signed a contract
  17
       ("the Contract") with Sibal to be employed as managers of Filiberto's No. 72 (the
  18
       "Restaurant"), located at 6187 West Chandler Boulevard, Chandler, Arizona 85226.
  19

  20

  21

 22



                                                      7

                                                                                        USLI000124
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 64 of 126




   1          46.    There is a direct connection between Defendants' enrichment and

  2    Plaintiffs' impoverishment.

  3           47.    There is no justification for Defendants' enrichment and Plaintiffs'

  4    impoverishment.

  5           48.    If Plaintiffs do not prevail on their theory that the Contact violated the

  6    Arizona Exactions of Fees as a Condition of Employment law, there is no remedy at law.

   7                                              Guadarrama

  8           49.    In preparation for her role as the food preparer at the Restaurant,

  9    Guadarrama was required to complete two (2) to three (3) weeks of in-store training at

  10   two (2) of Sibal's other Filibertos' restaurants: one located at 3610 W. Southern Avenue

  11   and the other at 5220 W. Baseline Road. Guadarrama trained in August and September

 12    2020 for approximately four (4) hours per day, five (5) days per week.

 13           50.    Guadarrama did not receive any compensation for her training hours.

 14           51.    The day prior to Guadarrama and Najera taking over management of the

 15    Restaurant, Guadarrama and Mundo spent approximately twelve (12) hours cleaning the

 16    Restaurant and rectifying health and safety hazards. They were not paid for this work.

 17           52.    Guadarrama began working full time at the Restaurant on September 11,

 18    2020. She was the only food preparer for the restaurant, which is open 24/7. In addition

 19    to preparing the food for all shifts, she was responsible for cleaning the kitchen.

 20           53.    From September 2020 to the first week of December 2020, Guadarrama

 21    regularly worked five (5) days per week. Despite the Contract stating she would work

 22    sixty (60) hours per week, she was scheduled for forty (40) hours per week and was paid



                                                     9

                                                                                       USLI000125
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 65 of 126




   1           60.    Per the Contract, Guadarrama and Najera were also supposed to be paid a

   2   commission based on monthly sales.

   3           61.    Sibal, the owner, verbally told Guadarrama and Najera that they would

   4   receive twenty percent (20%) of the sales in commission.

   5           62.    Guadarrama and Najera did not receive information regarding monthly

   6   sales to verify whether they were properly paid.

   7           63.    From September 2020 to November 2020, Najera and Guadarrama were

   8   required to split their commissions with the cashier manager, in violation of the Contract.

   9   In those months, they received approximately one thousand seven hundred dollars

  10   ($1,700.00) per month.

  11           64.    On average, from December 2020 through February 2021, Harvey paid

  12   Naj era a lump sum between two thousand three hundred dollars ($2,300.00) and two

  13   thousand four hundred dollars ($2,400.00) per month in cash for commission.

  14           65.    Defendants did not pay Guadarrama and Najera their commission in March

  15   2021.

  16           66.    Guadarrama and Najera received a W2 for 2020, although the bonuses and

  17   commission pay were not included as compensation in the W2.

 18            67.    Guadarrama's paid sick time was tracked on her paystub; however,

  19   Guadarrama's paystub did not reflect all the hours she worked and so the amount of paid

 20    sick time listed on her paycheck did not properly reflect the amount of paid sick time she

 21    had accrued.

 22



                                                   11

                                                                                    USLI000126
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 66 of 126




   1          73.   Throughout his employment from September 2020 to March 31, 2020,

   2   Najera regularly worked seven (7) days per week and occasionally received one (1) day

   3   off. However, there were two (2) to three (3) straight months where Najera worked every

   4   day with no days off

   5          74.   Throughout his employment, Najera regularly worked ten (10) hours per

   6   day.

   7          75.    Approximately two times per week, Najera worked double shifts, adding an

   8   average of twelve (12) to sixteen (16) hours to his average work week.

   9          76.    From September 2020 to March 31, 2021, Najera worked an average of

  10   eighty-two (82) to ninety (90) hours per week.

  11          77.    Defendants paid Najera weekly with a check.

  12          78.    Sibal told Najera that Defendants would pay him a salary of six hundred

  13   and fifty dollars ($650.00) per week. Per the Contract, Najera's salary compensated him

  14   for sixty (60) hours per week.

  15          79.   Sibal told Najera that for any hours that Najera worked over sixty 60) in

  16   one week, Defendants would pay Najera at the end of the month with a personal check

  17   for each hour at then applicable rate of Arizona's minimum wage.

  18          80.   At the end of September 2020, Defendants paid Najera two hundred eighty

  19   eight dollars ($288.00). This additional payment for overtime hours was made the first

  20   month he worked for Defendants but never again.

  21          81.   Najera also received a bonus of one hundred sixty dollars ($160.00) at the

  22



                                                  13

                                                                                  USLI000127
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 67 of 126




   1            89.   From September 2020 to October 2020, Jimenez typically worked forty

   2   (40) hours per week and was paid thirteen dollars and fifty cents ($13.50) per hour of

   3   work.

   4            90.   In October 2020, Harvey improperly reclassified Jimenez as a salaried

   5   worker. From October 2020 to April 2021, Jimenez was scheduled to work eight (8)

   6   hour shifts, seven (7) days per week.

   7            91.   In addition, once salaried, Jimenez was required to cover other employees'

   8   shifts when they were absent, causing him to work back-to-back shifts to cover for absent

   9   employees.

  10            92.   Between October 2020 and December 2020, there were approximately

  11   seven (7) days per month where Jimenez worked two (2) back-to-back shifts of eight (8)

  12   hours each. Including the hours from the back-to-back shifts, Jimenez worked an average

  13   work week of sixty (60) hours per week.

  14            93.   Regardless of the hours he worked, beginning in October 2020, Defendants

  15   paid Jimenez weekly with a check in the amount of six hundred twenty-four dollars

  16   ($624.00) per week. This salary was based upon minimum wage for fifty-six (56) hours

  17   per week.

  18            94.   Jimenez was not permitted or paid to take sick time off when he needed it.

  19   Additionally, Jimenez's accrued paid sick time hours were not tracked on his paystub as

  20   required by A.R.S. § 23-375. On Jimenez's pay stub, the space next to "sick time" was

  21   blank.

  22



                                                   15

                                                                                   USLI000128
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 68 of 126




   1          101.   At the first training store, Mundo was trained to pay employees' overtime

   2   by evening out the cash register. This was done by taking an order or two off the record

   3   by writing the order on a piece of paper and giving it to the chef. That way, the order was

   4   not in the system, but the money from the purchase was in the cash register.

   5          102.   In October 2020, Mundo started training for a manager position at a third

   6   Filiberto's location. At this point, Mundo started receiving pay for her work.

   7          103.   On or around November 11, 2020, Mundo started working for Defendants

   8   as a cash register manager at the Restaurant.

   9          104.   Mundo's job responsibilities included, but were not limited to, creating

  10   schedules, submitting hours for payroll, hiring employees, covering employee shifts,

  11   receiving checks, monitoring cleanliness, cleaning the bathroom and lobby, making

  12   natural fruit waters, and packaging food. Mundo did not have the ability to change pay

  13   rates or discipline employees.

  14          105.   Harvey was Mundo's supervisor.

  15          106.   During her first month at the Restaurant, Mundo was admonished for

  16   payroll being too high. Harvey ordered her not to assign extra work to hourly workers if

  17   it would result in them working overtime. To keep payroll down, Harvey and Sibal told

  18   Mundo to reclassify the cooks as salaried employees and require them to work seven (7)

  19   days per week to reduce labor costs.

  20          107.   From November 2020 to March 2021, Mundo was scheduled to work ten

  21   (10) hours per day, six (6) days per week and had Saturdays off. For this work, she was

  22



                                                   17

                                                                                      USLI000129
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 69 of 126




   1           115.     Mundo did not have the balance of her accrued sick time listed on her

   2    paycheck, and she was not allowed to take paid sick time off as there were no employees

   3    to cover for her.

   4           116.     At times, Mundo paid employees for their overtime hours with cash from

   5    the cash register because Harvey had told her that she was not allowed to pay employees

   6    for their overtime hours given the limited payroll budget.

   7           117.     When Mundo paid employees from the cash register, she would either take

   8    an order off the record as she had been trained to do or would issue a refund to balance

   9    the register.

  10           118.     Mundo always used this money to pay other employees for their overtime

   11   hours that would be unpaid otherwise. Mundo did not keep any of the money for herself

  12           119.     When Sibal discovered that Mundo had been paying employees this way,

  13    he accused her of stealing ten thousand dollars ($10,000.00).

  14           120.     Mundo has records showing that she took out three thousand two hundred

  15    eighty-five dollars and eighty-three cents ($2,285.83) in refunds and voids.

  16           121.     On March 27, 2021, Mundo stopped working at the Restaurant, ending her

  17    employment with Defendants.

  18           122.     During the relevant time period, Defendants did not provide the salaried

  19    Plaintiffs with paid sick time off, and Defendants prevented the hourly Plaintiffs from

  20    utilizing the benefit.

  21           123.     Upon information and belief, Defendants have more than fifteen (15)

  22    employees within the meaning of A.R.S § 23-372(A). Accordingly, Plaintiffs should have



                                                     19

                                                                                       USLI000130
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 70 of 126




   1   if fully set forth herein.

   2          127.    The FLSA requires employers to pay employees at least the minimum wag

   3   rate as set by federal law. 29 U.S.C. § 206(a).

   4          128.    At all times hereinafter mentioned, Defendants have been an employer within

   5   the meaning of 29 U.S.C. § 203(d).

   6          129.    At all times hereinafter mentioned, Defendants have been an enterprisc

   7   engaged in commerce or in the production of goods for commerce within the meaning o

   8   29 U.S.C. § 203(s)(1), that has had employees engaged in commerce or in the production

   9   of goods for commerce, or employees handling, selling, or otherwise working on goods o

  10   materials that have been moved in or produced for commerce, or in any closely relate

  11   process or occupation directly essential to the production thereof. Upon information an

  12   belief, Defendants' enterprise has had, and has, an annual gross volume of sales made o

  13   business done of no less than $500,000.00 (exclusive of excise taxes at the retail leve

  14   which are separately stated).

  15          130.    During the respective periods of Plaintiffs' employment by Defendants

  16   Plaintiffs provided services for Defendants that involved interstate commerce for purpose

  17   of the FLSA.

  18          131.    In performing the operations hereinabove described, Plaintiffs engaged it

  19   commerce within the meaning of 29 U.S.C. §§ 203(b), 203(i), 203(j), and 206(a).

  20          132.    As a result of Defendants' pay policies, Plaintiffs were not compensated foi

  21   the work they performed at a rate of hourly pay equal to or greater than the minimum se

  22   by federal law, thereby violating 29 U.S.C. §§ 206 and 215(a)(2).



                                                    21

                                                                                    USLI000131
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 71 of 126




   1          140.    Moreover, Defendants knowingly, willfully, and with reckless disregar

   2   carried out their illegal pattern of failing to pay Plaintiffs the proper amount of overtim

   3   compensation. 29 U.S.C. §§ 207(a), 255(a).

   4          141.    Defendants are sophisticated parties and employers, and therefore knew—o

   5   should have known—that their pay policies violated the FLSA.

   6          142.    The decisions and practices by Defendants to not pay the proper amount o

   7   overtime for all hours worked were neither reasonable nor in good faith.

   8          143.    Accordingly, Plaintiffs are entitled to be paid overtime wages for all hour

   9   worked in excess of forty (40) hours per workweek pursuant to the FLSA in an amoun

  10   equal to one- and one-half times their regular rate of pay, plus liquidated damages

  11   attorneys' fees and costs.

  12    COUNT III: VIOLATION OF A.R.S. 4 23-363 AS AMENDED BY THE AMWA
                        (Failure to Pay the State Minimum Wage)
  13
              144.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs a
  14
       if fully set forth herein.
  15
              145.    The AMWA requires employers to pay employees at least the minimun
  16
       wage rate as set by state law. A.R.S. § 23-363.
  17
              146.    At all times relevant to the Complaint, Defendants were employers within
  18
       the meaning of A.R.S. § 23-362(B).
  19
              147.    At all times hereinafter mentioned, Plaintiffs were employees within the
  20
       meaning of A.R.S § 23-362(A).
  21

  22



                                                   23

                                                                                    USLI000132
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 72 of 126




   1          155.   Defendants' illegal policy has caused Plaintiffs to work hours for which the

   2   were not compensated and, accordingly, they accumulated less paid sick time than was

   3   actually earned and at a slower rate.

   4          156.   The Industrial Commission of Arizona requires employers to pay employees

   5   for "all hours worked." A.R.S. § 23-362; A.A.C. § R20-5-1206. By implication, Plaintiffs

   6   must accumulate paid sick time at a rate equivalent to "all hours worked." The FLSA's

   7   express reservation of the state's power to set standards higher than those required by the

   8   FLSA establishes a floor of protection which the states are free to build upon. 29 U.S.C. §

   9   218(a); see also Reyes, 2013 U.S. Dist. LEXIS 192798, at *7. Therefore, the FLSA and

  10   applicable case law is persuasive authority for purposes of the AFWHFA to the extent it

  11   does not conflict with state law, specifically whether Plaintiffs suffered or were permitted

  12   to work.

  13          157.   At all times relevant to the Complaint, Defendants have been an employer

  14   within the meaning of A.R.S. § 23-371(G).

  15          158.   At all times hereinafter mentioned, Plaintiffs were employees within th

  16   meaning of A.R.S. § 23-371(F).

  17          159.   Plaintiffs are entitled to recover the balance of the earned paid sick tim

  18   owed, including interest thereon, and an additional amount equal to twice that amount owe

  19   pursuant to A.R., S § 23-364(G).

  20          160.   Plaintiffs have suffered damages as a result of Defendants' illegal pa

  21   practices.

  22



                                                   25

                                                                                    USLI000133
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 73 of 126




   1           168.    Plaintiffs were employed by Defendants during the relevant time period and

   2   were covered employees entitled to the protections of A.R.S. § 23-374(A).

   3           169.    Defendants' illegal policy preventing employees from taking earned paid

   4   sick time has caused Plaintiffs to take sick time for which they were not compensated.

   5           170.    At all times relevant to the complaint, Defendants have been an employe

   6   within the meaning of A.R.S. § 23-371(G).

   7           171.    At all times hereinafter mentioned, Plaintiffs were employees within the

   8   meaning of A.R.S. § 23-371(F).

   9           172.    Plaintiffs have suffered damages as a result of Defendants' illegal pay

  10           practices.

  11           173.    In violating the AFWHFA, Defendants acted willfully, without a good faith

  12   basis, and with reckless disregard of applicable Arizona law, and hence, a three-year statute

  13   of limitations applies to the commencement of this action. A.R.S. § 23-364(H).

  14           174.    Plaintiffs now seek such compensation that was owed to them under A.R.S.

  15   § 23-374(A) plus liquidated damages, attorneys' fees, and costs.

  16                       COUNT VI: VIOLATION OF 26 U.S.C. & 7434
                       (Fraudulent Filing of Information Returns by Defendants)
  17
              175.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs a
  18
       if fully set forth herein.
  19
              176.     Defendants willfully filed fraudulent information returns with respect t
  20
       payments made to Plaintiffs in violation of 26 U.S.C. § 7434.
  21

  22



                                                    27

                                                                                     USLI000134
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 74 of 126




   1          184.    Plaintiffs now seek to be repaid the twenty-thousand dollars ($20,000.00)

   2   that was unlawfully taken from them as a condition of their employment with Defendants,

   3   plus liquidated damages, attorneys' fees, and costs.

   4          185.    Defendants are liable to Plaintiffs for all wages unpaid, together with

   5          reasonable attorneys' fees to be fixed by the court. The judgment shall also include

   6   compensation to Plaintiffs at the same rate at which the wages were agreed to be paid, from

   7   the time they became due until the judgement is satisfied. A.R.S. § 23-201(B).

   8          186.    This judgment shall be a first and prior lien against the Restaurant, the

   9          property of Defendants upon which Plaintiffs performed labor. A.R.S. § 23-201(C).

  10          187.    Obtaining labor under false pretenses is a class 1 misdemeanor. A.R.S. § 23

  11   201(D).

  12                   COUNT VIII: VIOLATION OF A.R.S. § 12-543, et seq.
                                         (Fraud)
  13
              188.    Plaintiffs Guadarrama and Najera reallege and incorporate by reference the
  14
       foregoing paragraphs as if fully set forth herein.
  15
              189.    Defendants knowingly and willfully violated Arizona's common law on
  16
       fraud. A.R.S. § 12-543.
  17
              190.    A showing of fraud requires a party to show: "(1) a representation; (2) its
  18
       falsity; (3) its materiality; (4) the speaker's knowledge of its falsity or ignorance of its
  19
       truth; (5) the speaker's intent that it be acted upon by the recipient in the manner
  20
       reasonably contemplated; (6) the hearer's ignorance of its falsity; (7) the hearer's reliance
  21

  22



                                                     29

                                                                                        USLI000135
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 75 of 126




   1    COUNT IX: ALTERNATIVE LEGAL THEORY: VIOLATION OF ARIZONA'S
                    COMMON LAW ON UNJUST ENRICHMENT
   2                          (Unjust Enrichment)

   3          202.   Plaintiffs Guadarrama and Najera reallege and incorporate by reference the

   4   forgoing paragraphs as if fully set forth herein.

   S          203.   Defendants knowingly and unjustly enriched themselves in the amount of

   6   twenty thousand dollars ($20,000.00).

   7          204.   Plaintiffs Guadarrama and Najera were impoverished in the amount of

   8   twenty thousand dollars ($20,000.00).

   9          205.    There is a direct connection between Defendants' enrichment and

  10   Plaintiffs Guadarrama's and Najera's impoverishment.

  11          206.    There is no justification for Defendants' enrichment and Plaintiffs

  12   Guadarrama's and Najera's impoverishment.

  13          207.   In the absence of a finding that the Contract violated the Arizona Exactions

  14   of Fees as a Condition of Employment law, there is no remedy at law for this violation.

  15   See, e.g., Hill v. Hill, 185 Kan. 389, 345 P.2d 1015, 1025 (1959) ("The existence of a

  16   remedy at law does not deprive equity of jurisdiction unless such remedy is clear,

  17   adequate and complete").

  18          208.    The Contract was unlawful.

  19          209.   Defendants must make restitution to Plaintiffs Guadarrama and Najera.

  20   Harmon v. Harmon, 126 Ariz. 242, 245, 613 P.2d 1298, 1301 (App. 1980) ("A person

  21   who has been unjustly enriched at the expense of another is required to make restitution

  22   to the other"); see also, Loiselle v. Cosas Management Group, LLC, 224 Ariz. 207, 210,



                                                    31

                                                                                    USLI000136
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 76 of 126




   1          K.     Statutory penalties for a willful violation of 26 U.S.C. § 7434;

   2          L.     Litigation costs pursuant to 29 U.S.C. § 216(b) and A.R.S. §§ 12-341 & 23-

   3   364(G);

   4          M.     An award of relief for willful fraud, pursuant to A.R.S. § 12-543(3);

   5          N.     Restitution pursuant to Arizona's common law on unjust enrichment;

   6          O.     In the event Defendants fail to satisfy any judgment for Plaintiffs, to wit,

   7   against Defendants within ten (10) days of the Order becoming final, Defendants shall

   8   pay Plaintiffs an amount which is treble the amount of the outstanding judgment with

   9   interest thereon, in accordance with A.R.S. § 23-360;

  10          P.     A declaratory judgment pursuant to the Uniform Declaratory Judgments

  11   Act, A.R.S. § 12-1831, et seq., that Defendants have violated their statutory and legal

  12   obligations and deprived Plaintiffs of their rights, privileges, protections, compensation,

  13   benefits, and entitlements under the law, as alleged herein; and

  14          Q.     Such other legal and equitable relief, including punitive damages, as the

  15   Court deems just.

  16          RESPECTUFLLY SUBMITTED this 24th day of August, 2021.

  17

  18                                             LUBIN & ENOCH, P.C.

  19
                                          By:    /s/ Nicholas J. Enoch
  20                                             Nicholas J. Enoch, Esq.
                                                 Attorneys for Plaintiff
  21

 22



                                                   33

                                                                                        USLI000137
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 77 of 126




                    EXHIBIT “E”
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 78 of 126



                                                                               Clerk of the Superior Court
                                                                               *** Electronically Filed ***
                                                                                 M. De La Cruz, Deputy
                                                                                 11/2/2021 12:23:00 PM
                                                                                   Filing ID 13563327

      1   LUBIN & ENOCH, P.C.
          Nicholas J. Enoch, State Bar No. 016473
          Clara S. Acosta, State Bar No. 036044
      2   William W. Holder, State Bar No. 009478
          349 North Fourth Avenue
      3   Phoenix, Arizona 85003-1505
          Telephone: (602) 234-0008
          Facsimile: (602) 626-3586
      4   Email: nick@lubinandenoch.com

      5   Attorneys for Plaintiffs

      6              IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

      7                       IN AND FOR THE COUNTY OF MARICOPA

      8   Ana Jimenez Guadarrama, a married
                                                    No. CV2021-013286
          woman; Jose Eduardo Jimenez, a single
      9   man; Manuel Najera Flores, a married man;
          Daniela Mundo Jimenez, a single woman;
          and Ana Maria Guadarrama Espinosa, a
          single woman,
     11                                             FIRST AMENDED COMPLAINT
                      Plaintiffs,                   Tier 2
     12
          v.
     13                                                    (Assigned to the Honorable Pamela
                                                           Gates)
          Green Fili, LLC, an Arizona Corporation;
     14   Rajen A. Patel, a single man; Jiten Sibal and
          Mamta Sibal, in their personal capacity as
     15   husband and wife and as trustees on behalf
          of the Sibal Family Trust; and John
     16   "Harvey" Doe, a single man,

     17                 Defendants.

     18          Plaintiffs, Ana Jimenez Guadarrama ("Guadarrama"), Jose Eduardo Jimenez

     19   ("Jimenez"), Manuel Najera Flores ("Najera"), Daniela Mundo Jimenez ("Mundo") and

     20   Ana Maria Guadarrama Espinosa ("Espinosa") (collectively, the "Plaintiffs"), by and

     21   through their attorneys, Lubin & Enoch, P.C., bring this action pursuant to, inter alia, the

     22   Fair Labor Standards Act of 1938, 29 U.S.C. § 201, et seq. ("FLSA"), the Arizona



                                                       I



                                                                                          USLI000084
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 79 of 126




         Minimum Wage Act, A.R.S. § 23-362, et seq. ("AMWA"), the Arizona Fair Wages and

     2   Healthy Families Act, A.R.S. § 23-371, et seq. ("AFWHFA"), the Internal Revenue

     3   Code, 26 U.S.C. § 7434 ("IRC"), the Arizona Exactions of Fees as a Condition of

     4   Employment law, A.R.S. § 23-202, Arizona's common law on fraud, A.R.S. § 12-543, et

     5   seq., and Arizona's common law on unjust enrichment. See, e.g., Trustmark Ins. Co. v.

     6   Bank One, Arizona, NA, 202 Ariz. 535, 541, ¶ 31, 48 P.3d 485, 491 (App. 2002) ("Unjust

     7   enrichment occurs when one party has and retains money or benefits that in justice and

     8   equity belong to another").

     9
                                            INTRODUCTION
    10
               1.     This lawsuit arises pursuant to the overtime and minimum wage sections of
    11
         the FLSA and the AMWA; the AFWHFA, the IRC; the Arizona Exactions of Fees as a
    12
         Condition of Employment law; Arizona's common law on fraud; and Arizona's common
    13
         law on unjust enrichment. The FLSA requires that any employee either directly engaged
    14
         in commerce or who works for an employer or enterprise engaged in commerce or in the
    15
         production of goods for commerce be paid the federal minimum wage and one- and one-
    16
         half times "the regular rate at which he is employed" for all hours worked in excess of
    17
         forty (40) hours in a given week. Plaintiffs were employees covered by the statute and
    18
         were required to work more than forty (40) hours in many weeks, yet were not paid the
    19
         overtime rate of pay for those hours nor were they paid the federal minimum wage. In
    20
         addition, Plaintiffs were not paid the minimum wage required by AMWA and FLSA, nor
    21
         did they properly accumulate paid sick time as required by AFWHFA. Defendants
    22



                                                     2



                                                                                       USLI000085
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 80 of 126




     1   willfully filed fraudulent information returns. Lastly, Defendants willfully entered into an

     2   unlawful contract by requiring Plaintiffs to pay for employment, committed fraud, and

     3   unjustly enriched themselves at the expense of Plaintiffs. Specifically, Plaintiffs allege as

     4   follows:

                                                  THE PARTIES
     6
               2.      Guadarrama is a former employee of Defendants Green Fili, LLC, Rajen A.
     7
         Patel, Jiten Sibal, and John "Harvey" Doe (hereinafter "Harvey") (collectively referred to
     8
         as "Defendants"), from approximately August 2020 to March 2021.
     9
               3.      Jimenez was Defendants' employee in May 2020 and from approximately
    10
         September 2020 to April 2021.
    11
               4.      Najera was Defendants' employee from approximately September 2020 to
    12
         March 2021.
    13
               5.      Mundo was Defendants' employee from approximately August 2020 to
    14
         March 2021.
    15
               6.      Espinosa was Defendants' employee from approximately February 2021 to
    16
         March 2021.
    17
               7.      Defendant Jiten Sibal (hereinafter "Sibal") is a married man and resident of
    18
         Gilbert, Arizona. Sibal and his wife, Mamta Sibal, are now, and at all times relevant
    19
         hereto were, husband and wife, constituting a marital community under the laws of the
    20
         State of Arizona. Sibal engaged in acts and made omissions while performing as an agent
    21
         for the benefit of the marital community.
    22



                                                       3



                                                                                          USLI000086
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 81 of 126




     1         8.     Sibal is the owner of Filiberto's No. 72 where Plaintiffs worked.

     2         9.     Defendant Rajen Patel ("hereinafter "Patel") is the sole individual member

     3   of the corporate Defendant, Green Fili LLC. Upon information and belief, Patel exerciscd

     4   managerial responsibilities and substantial control over the terms and conditions of

     5   Plaintiffs' work. Among other things, and upon information and belief, Patel was

     6   primarily responsible for hiring and firing employees, supervising, and controlling

     7   employee work schedules and conditions of employment, determining the rate and

     8   method of payment, and maintaining any employment records that may exist.

     9         10.     Defendant Harvey was Plaintiffs' supervisor at Filiberto's No. 72.

    10         11.     Currently, and during all relevant time periods, Guadarrama has been a

    11   resident of Maricopa County, Arizona.

    12         12.     Currently, and during all relevant time periods, Jimenez has been a resident

    13   of Maricopa County, Arizona.

    14          13.    Currently, and during all relevant time periods, Naj era has been a resident

    15   of Maricopa County, Arizona.

    16          14.    Currently, and during all relevant time periods, Mundo has been a resident

    17   of Maricopa County, Arizona.

    18          15.    Defendant Green Fili, LLC is an Arizona corporation organized under the

    19   laws of the State of Arizona and regularly does business in Maricopa County, Arizona. Its

    20   primary place of business is listed on the Arizona Corporation Commission site as being

    21   2727 West Southern Avenue #5 Tempe, Arizona 85282.

    22



                                                      4



                                                                                        USLI000087
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 82 of 126




     1          16.    Upon information and belief, Green Fili LLC's annual dollar volume of

     2   business is not less than $500,000.

     3          17.    The Sibal Family Trust is an Arizona trust organized under the laws of the

     4   State of Arizona and, as a member of Green Fili, LLC, regularly does business in

     5   Maricopa County, Arizona.

     6          18.    The Sibal Family Trust is located at 2992 East Camellia Drive, Gilbert

     7   Arizona 85296 and is in the care of Sibal and Mamta Sibal.

     8          19.    Sibal and Mamta Sibal are trustees of The Sibal Family Trust, and as

     9   trustees, are liable to suit for the actions they conducted in their representative capacities.

    10   See, e.g., Irwin Union Collateral Inc. v. Peters & Burris, 2009 U.S. Dist. LEXIS 123393,

    11   2009 WL 5184902, at *11 (D. Ariz. Dec. 22, 2009) ("The trustee, acting on behalf of the

    12   trust, signed these document [sic]. Because of this fact, it does not appear unfair to

    13   require that a lawsuit against the trust proceed against the trustee for the trust in her

    14   representative capacity").

    15          20.    Upon information and belief, currently and during all relevant time periods,

    16   Patel has been a resident of Maricopa County, Arizona.

    17          21.    Upon information and belief, currently and during all relevant time periods,

    18   the Sibals have been residents of Maricopa County, Arizona.

    19          22.    Upon information and belief, currently and during all relevant time periods,

    20   Harvey has been a resident of Maricopa County, Arizona.

    21          23.    Plaintiffs are former employees of Defendants as that term is defined in 29

    22   U.S.C. § 203(e)(1), A.R.S. § 23-362(A), and A.R.S. § 23-371(F).



                                                        5



                                                                                            USLI000088
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 83 of 126




     1          24.     Defendants are Plaintiffs' former employers as that term is defined in 29

     2   U.S.C. § 203(d), A.R.S. § 23-362(B), and A.R,S. § 23-371(G).

     3          25.     Upon information and belief, Sibal, in his personal and trust capacity, and

     4   Harvey exercised managerial responsibilities and substantial control over the terms and

     5   conditions of Plaintiffs' work. Among other things, Sibal and Harvey were primarily

     6   responsible for hiring and firing employees, supervising, and controlling employee work

     7   schedules and conditions of employment, determining the rate and method of payment,

     8   and maintaining any employment records that may exist.

     9          26.     Harvey communicated policies, rules and pay rate changes to Najera and

    10   Mundo, picked up invoices and cash from the register at the Restaurant, dropped off

    11   employee paychecks, and reviewed employees' timesheets.

    12          27.     At all times relevant to this proceeding, Sibal performed these employer

    13   and managerial functions directly in the interest of himself and the corporate Defendant.

    14          28.     While working for Defendants, Plaintiffs were "engaged in commerce" as

    15   defined in the FLSA and corresponding regulations. 29 U.S.C. § 203 (b); see also 29

    16   C.F.R. § 776.9 ("[i]t is clear that the employees covered by the wage and hour provisions

    17   of the Act as employees `engaged in commerce' are employees doing work involving or

    18   related to the movement of persons or things . . . ." ).

    19          29.     Plaintiffs were not exempt from receiving overtime as required by § 206(a)

    20   of the FLSA.

    21          30.     When more than one entity is an employer for purposes of the FLSA, the

    22   entities are termed "joint employers." Torres-Lopez v. May, Ill F.3d 633, 638 (9th Cir.



                                                        6



                                                                                         USLI000089
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 84 of 126




     I   1997) (internal page numbers omitted). "Joint employment should be defined expansively

     2   under the FLSA." Id. at 639. All joint employers are individually responsible for

     3   compliance with the FLSA. Bonnette v. Cal. Health & Welfare Agency, 704 F.2d 1465,

     4   1469 (9th Cir. 1983) (citing 29 C.F.R. § 791.2(A)). The Department of Labor has stated

     5   that a joint employment relationship exists when either (1) the employer acts directly or

     6   indirectly in the interest of the other employers in relation to the employee; or (2) the

     7   employers are not completely disassociated with respect to the employment of a

     8   particular employee and may be deemed to share control of the employee, directly or

     9   indirectly, by reason that one employer controls, is controlled, or is under control with the

    10   other employer. Id. at 1469-470 (citing 29 C.F.R. § 791.2(b)).

    11          31.    Similarly, AMWA defines "employer" to "include[] any corporation,

    12   proprietorship, partnership, joint venture, limited liability company, trust, association,

    13   political subdivision of the state, individual or other entity acting directly or indirectly in

    14   the interest of an employer in relation to an employee..." A.R.S. § 23-362(B).

    15          32.    Therefore, Defendants are "employers" as defined under the FLSA and

    16   AMWA. 29 U.S.C. § 203(d); A.R.S. § 23-362(B).

    17                                 JURISDICTION AND VENUE
    18
                33.    This Court has subject matter jurisdiction over this case pursuant to 29
    19
         U.S.C. § 216(b), Ariz. Const. art. VI § 14, and A.R.S. §§ 12-123 and 23-364.
    20
                34.    This Court has personal jurisdiction over Defendants.
    21
                35.    Venue is proper in this Court pursuant to A.R.S. § 12-401.
    22



                                                        7



                                                                                            USLI000090
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 85 of 126




     1                                      GENERAL ALLEGATIONS

     2                                             The Contract

     3            36.   On or about August 28, 2020, Guadarrama and Najera signed a contract

     4   ("the Contract") with Sibal to be employed as managers of Filiberto's No. 72 (the

     5   "Restaurant"), located at 6187 West Chandler Boulevard, Chandler, Arizona 85226.

     6            37.   Filiberto's is a fast-food chain restaurant that serves Mexican American

     7   food. Among other things, Filiberto's employees prepare, sell, and serve food that has

     8   traveled in interstate commerce.

     9            38.   Guadarrama, Najera, Jimenez, Mundo, and Jimena Monserrat (Mundo's

    10   sister) were present at the time Guadarrama and Najera signed the Contract.

    11            39.   On or about August 28, 2020, Guadarrama and Najera made a twenty-

    12   thousand-dollar ($20,000.00) deposit to Sibal as consideration for employment at the

    13   Restaurant.

    14            40.   Guadarrama repeatedly asked Sibal for a copy of the Contract affirming

    15   that she and Najera paid Sibal twenty-thousand dollars ($20,000.00), which he declined

    16   to do.

    17            41.   Sibal signed and gave Guadarrama a sticky note stating, "I received 20k

    18   from Manuel Najera for contract."

    19            42.   The Contract required that Guadarrama and Najera give Defendants a three

    20   (3) month notice if they wished to leave the Restaurant.

    21            43.   The Contract was unlawful under the Arizona Exactions of Fees as a

    22



                                                      8



                                                                                        USLI000091
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 86 of 126




     1   Condition of Employment law, A.R.S. § 23-202.

     2          44.    Given its unlawfulness, the Contract is void and unenforceable.

     3          45.    Defendants were enriched in the amount of twenty thousand dollars

     4   ($20,000.00) as a result of the Contract.

     5          46.    Plaintiffs were impoverished in the amount of twenty thousand dollars

     6   ($20,000.00) as a result of the Contract.

     7          47.    There is a direct connection between Defendants' enrichment and

     8   Plaintiffs' impoverishment.

     9          48.    There is no justification for Defendants' enrichment and Plaintiffs'

    10   impoverishment.

    11          49.    If Plaintiffs do not prevail on their theory that the Contact violated the

    12   Arizona Exactions of Fees as a Condition of Employment law, there is no remedy at law.

    13                                               Guadarrama

    14          50.    In preparation for her role as the food preparer at the Restaurant,

    15   Guadarrama was required to complete two (2) to three (3) weeks of in-store training ai

    16   two (2) of Sibal's other Filibertos' restaurants: one located at 3610 W. Southern Avenue

    17   and the other at 5220 W. Baseline Road. Guadarrama trained in August and September

    18   2020 for approximately four (4) hours per day, five (5) days per week.

    19          51.    Guadarrama did not receive any compensation for her training hours.

    20          52.    The day prior to Guadarrama and Najera taking over management of the

    21   Restaurant, Guadarrama and Mundo spent approximately twelve (12) hours cleaning the

    22



                                                       9



                                                                                          USLI000092
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 87 of 126




     1   Restaurant and rectifying health and safety hazards. They were not paid for this work.

     2          53.    Guadarrama began working full time at the Restaurant on September 11,

     3   2020. Until February 2021, she was the only food preparer for the restaurant, which is

     4   open 24/7. In addition to preparing the food for all shifts, she was responsible for

     5   cleaning the kitchen.

     6          54.    From September 2020 to the first week of December 2020, Guadarrama

     7   regularly worked five (5) days per week. Despite the Contract stating she would work

     8   sixty (60) hours per week, she was scheduled for forty (40) hours per week and was paid

     9   as an hourly employee. She typically worked ten (10) to twenty (20) overtime hours per

    10   week off the clock in order to complete the work required for a 24/7 restaurant.

    11          55.    In one workweek, Guadarrama remained clocked in for all hours she

    12   worked. Sibal was incensed that she had worked overtime on the clock, although he paid

    13   her the overtime hours at the overtime rate. He stated that it was the last time she would

    14   be paid overtime.

    15          56.    With the exception of the one workweek mentioned, supra, Guadarrama

    16   was not paid for anything for any of her overtime hours.

    17          57.    Najera, the manager, told Guadarrama to work these overtime hours off the

    18   clock because Sibal became angry when he had to pay workers overtime and Najera did

    19   not want to lose his Contract.

    20          58.    During the second week of December 2020, Harvey told Guadarrama and

    21   Najera that they would no longer be eligible for overtime pay. In addition, Harvey

    22   required Guadarrama to permanently add a sixth ten-hour workday to her schedule. The



                                                      10



                                                                                         USLI000093
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 88 of 126




     1   ten (10) additional hours Guadarrama worked were paid to her at the straight time rate on

     2   the paycheck of her husband and manager, Najera.

     3          59.    From December 2020 to March 31, 2021, Guadarrama worked six (6) days

     4   per week and approximately sixty (60) to seventy (70) hours per week for which she was

     5   paid fifty (50) hours per week, all at the straight time rate.

     6          60.    Defendants paid Guadarrama weekly with a check and she was paid at the

     7   then-applicable Arizona minimum wage: twelve dollars ($12.00) per hour in 2020 and

     8   twelve dollars and fifty cents ($12.50) in 2021.

     9          61.    Per the Contract, Guadarrama and Najera were also supposed to be paid a

    10   commission based on monthly sales.

    11          62.    Sibal, the owner, verbally told Guadarrama and Najera that they would

    12   receive twenty percent (20%) of the sales in commission.

    13          63.    Guadarrama and Najera did not receive information regarding monthly

    14   sales to verify whether they were properly paid.

    15          64.    From September 2020 to November 2020, Najera and Guadarrama were

    16   required to split their commissions with the cashier manager, in violation of the Contract.

    17   In those months, they received approximately one thousand seven hundred dollars

    18   ($1,700.00) per month.

    19          65.    On average, from December 2020 through February 2021, Harvey paid

    20   Najera a lump sum between two thousand three hundred dollars ($2,300.00) and two

    21   thousand four hundred dollars ($2,400.00) per month in cash for commission.

    22          66.    Defendants did not pay Guadarrama and Najera their commission in March



                                                       11



                                                                                        USLI000094
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 89 of 126




     1   2021.

     2             67.   Guadarrama and Najera received a W2 for 2020, although the bonuses and

     3   commission pay were not included as compensation in the W2.

     4             68.   Guadarrama's paid sick time was tracked on her paystub; however,

     5   Guadarrama's paystub did not reflect all the hours she worked and so the amount of paid

     6   sick time listed on her paycheck did not properly reflect the amount of paid sick time she

     7   had accrued.

     8             69.   Defendants did not have a policy or practice of permitting or paying

     9   employees to take paid sick time. Guadarrama never asked for a sick day off when she

    10   needed it, because, as the only food preparer, she would have to either make up the work

    11   or it would fall on her husband, Najera, who could not do the work in addition to his own

    12   duties.

    13             70.   When they decided to end the Contract, Guadarrama and Najera gave three

    14   months' notice, as required by the Contract. On March 31, 2021, one month after giving

    15   notice, Guadarrama and Najera were replaced as managers, and they stopped working at

    16   the Restaurant.

    17                                                  Najera

    18             71.   On or around September 2020, Najera started working for Defendants as a

    19   kitchen manager at the Restaurant. Najera had worked at Defendants' other restaurants

    20   for approximately seven (7) years and was not required to undergo additional training.

    21             72.   Najera's primary job responsibilities included, but were not limited to,

    22   cleaning the kitchen, checking inventory, ordering food and other supplies, stocking the



                                                       12



                                                                                          USLI000095
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 90 of 126




         kitchen with food, signing the invoices, and forwarding the invoices to Harvey for

     2   payment. Najera also regularly covered others' jobs when an employee was absent, or a

     3   position was vacant.

     4          73.   Najera also had authority to hire kitchen staff within the numerical limits

     5   given by Sibal and Harvey, discipline employees and change their schedules. He could

     6   recommend pay rate changes or the termination of an employee to Sibal and Harvey but

     7   could not act without their approval.

     8          74.    Throughout his employment from September 2020 to March 31, 2020,

     9   Najera regularly worked seven (7) days per week and occasionally received one (1) day

    10   off. However, there were two (2) to three (3) straight months where Najera worked every

    11   day with no days off.

    12          75.    Throughout his employment, Najera regularly worked ten (10) hours per

    13   day.

    14          76.    Approximately two times per week, Najera worked double shifts, adding

    15   an average of twelve (12) to sixteen (16) hours to his average work week.

    16          77.    From September 2020 to March 31, 2021, Najera worked an average of

    17   eighty-two (82) to ninety (90) hours per week.

    18          78.    Defendants paid Najera weekly with a check.

    19          79.    Sibal told Najera that Defendants would pay him a salary of six hundred

    20   and fifty dollars ($650.00) per week. Per the Contract, Najera's salary compensated him

    21   for sixty (60) hours per week.

    22          80.    Sibal told Najera that for any hours that Najera worked over sixty (60) in



                                                    13



                                                                                       USLI000096
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 91 of 126




     1          one week, Defendants would pay Najera at the end of the month with a personal

     2   check for each hour at then applicable rate of Arizona's minimum wage.

     3          81.     At the end of September 2020, Defendants paid Najera two hundred eighty

     4   eight dollars ($288.00). This additional payment for overtime hours was made the first

     5   month he worked for Defendants but never again.

     6          82.     Najera also received a bonus of one hundred sixty dollars ($160.00) at the

     7   end of every month. This bonus was earned as an incentive for conserving, and not

     8   wasting, supplies, cutlery, plates, napkins, and other inventory.

     9          83.     In March 2021, Najera was not paid the monthly bonus of one

    10   hundred sixty dollars ($160.00).

    11          84.     When Najera asked Defendants for his March monthly bonus

    12   and commissions, Defendants refused.

    13          85.      Najera did not have the balance of his accrued sick time listed on his

    14   paycheck, and he was not allowed to take paid sick time off as there were no employees

    15   to cover for him, in violation of A.R.S. § 23-373(E).

    16          86.     Defendants did not have a policy or practice of permitting or paying

    17   employees to take paid sick time. Najera never asked for a sick day off when he needed

    18   one because no other employees could replace him.

    19          87.     Defendants would transfer employees from other Filiberto's locations to

    20   cover shifts for those that called in sick.

    21                                                 Jimenez

    22          88.     On or around May 2020, Jimenez completed approximately twenty (20)



                                                         14



                                                                                         USLI000097
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 92 of 126




     1   hours of in-store training as a cashier at another Filiberto's location. Then, in September

     2   2020 when he joined the Restaurant full-time, he worked for two (2) weeks,

     3   approximately eighty (80) hours, unpaid as "training" to be a cook.

     4           89.   As a cook, Jimenez's primary job responsibilities included, but were not

     5   limited to, grilling, serving food, cleaning, and assisting with food preparation.

     6           90.    From September 2020 to October 2020, Jimenez typically worked forty

     7   (40) hours per week and was paid thirteen dollars and fifty cents ($13.50) per hour of

     8   work.

     9           91.    In October 2020, Harvey improperly reclassified Jimenez as a salaried

    10   worker. From October 2020 to April 2021, Jimenez was scheduled to work eight (8) hour

    11   shifts, seven (7) days per week.

    12           92.   In addition, once salaried, Jimenez was required to cover other employees'

    13   shifts when they were absent, causing him to work back-to-back shifts to cover for absent

    14   employees.

    15           93.   Between October 2020 and December 2020, there were approximately

    16   seven (7) days per month where Jimenez worked two (2) back-to-back shifts of eight (8)

    17   hours each. Including the hours from the back-to-back shifts, Jimenez worked an average

    18   work week of sixty (60) hours per week.

    19           94.   Regardless of the hours he worked, beginning in October 2020, Defendants

    20   paid Jimenez weekly with a check in the amount of six hundred twenty-four dollars

    21   ($624.00) per week. This salary was based upon minimum wage for fifty-six (56) hours

    22   per week.



                                                      15



                                                                                          USLI000098
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 93 of 126




     1            95.    Jimenez was not permitted or paid to take sick time off when he needed it.

     2   Additionally, Jimenez's accrued paid sick time hours were not tracked on his paystub as

     3   required by A.R.S. § 23-375. On Jimenez's pay stub, the space next to "sick rime" was

     4   blank.

     5            96.    On January 7, 2021, Jimenez burnt his wrist with hot enchilada sauce

     6   while working in the kitchen. Jimenez informed Harvey of his work injury. Jimenez's

     7   injury required a hospital visit and he missed a day of work. Jimenez was not

     8   compensated for the time he was out of work for his injury.

     9            97.    On or around April of 2021, Jimenez stopped working at the Restaurant,

    10   ending his employment with Defendants.

    11                                               Mundo

    12            98.    On or around August 16, 2020, Mundo attended an employee meeting with

    13   Harvey, Najera, Guadarrama, Jimenez, and Jimena Monserrat, where they discussed the

    14   required training and the dates when Najera and Guadarrama would be ready to manage

    15   the Restaurant. Sibal gave Plaintiffs the menu, work uniforms, and applications.

    16            99.    Mundo was required to undergo "training," to wit, working alone, for free,

    17   at two (2) other Filiberto's locations — specifically, one located at 3610 W. Southern

    18   Avenue and the other at 5220 W. Baseline Road — from on or about August 20, 2020 to

    19   October 2020. She was trained as a cashier and was taught how to take orders and

    20   package food.

    21            100.   The training was four (4) to five (5) hours per day for five (5) to six (6)

    22   days per week. Mundo trained for twenty (20) to thirty (30) hours per week for eight (8)



                                                        16



                                                                                            USLI000099
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 94 of 126




     1   weeks.

     2            101.   Mundo was not paid anything for these training hours. During her

     3   "training," Mundo was used as a replacement when other employees were absent or a

     4   position was vacant.

     5            102.   At the first training store, Mundo was trained to pay employees' overtime

     6   by evening out the cash register. This was done by taking an order or two off the record

     7   by writing the order on a piece of paper and giving it to the chef. That way, the order was

     8   not in the system, but the money from the purchase was in the cash register.

     9            103.   In October 2020, Mundo started training for a manager position at a third

    10   Filiberto's location. At this point, Mundo started receiving pay for her work.

    11            104.   On or around November 11, 2020, Mundo started working for Defendants

    12   as a cash register manager at the Restaurant.

    13            105.   Mundo's job responsibilities included, but were not limited to, creating

    14   schedules, submitting hours for payroll, hiring employees, covering employee shifts,

    15   receiving checks, monitoring cleanliness, cleaning the bathroom and lobby, making

    16   natural fruit waters, and packaging food. Mundo did not have the ability to change pay

    17   rates or discipline employees.

    18            106.   Harvey was Mundo's supervisor.

    19            107.   During her first month at the Restaurant, Mundo was admonished for

    20   payroll being too high. Harvey ordered her not to assign extra work to hourly workers if

    21   it would result in them working overtime. To keep payroll down, Harvey and Sibal told

    22   Mundo to reclassify the cooks as salaried employees and require them to work seven (7)



                                                       17



                                                                                          USLI000100
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 95 of 126




     1   days per week to reduce labor costs.

     2          108.   From November 2020 to March 2021, Mundo was scheduled to work ten

     3   (10) hours per day, six (6) days per week and had Saturdays off. For this work, she was

     4   compensated weekly a set salary of seven hundred fifty dollars ($750.00) per week for

     5   the sixty (60) hours that she regularly worked.

     6          109.   For the first week or two in November 2020, no employee was available to

     7   cover the Saturday shift, and so Mundo worked ten (10) hours per day for seven (7) days

     8   per week.

     9          110.   Mundo clocked in and out on the cash register at her scheduled start and

    10   end time, not at the time that she actually entered and left.

    11          111.   If an employee was sick, Mundo would cover for the employee in addition

    12   to her regularly scheduled sixty (60) hours.

    13          112.   When Mundo covered other employee's shifts, her extra hours were

    14          generally paid at the end of the month in a separate paycheck at the straight time

    15   rate of twelve dollars and fifty cents ($12.50) per hour. However, Mundo sometimes had

    16   to wait one (1) or two (2) months to be paid for these extra hours.

    17          113.   For the month of February 2021, there was no cashier for the "graveyard

    18   shift" from 11:00 p.m. to 8:00 a.m. Throughout the entire month of February 2021,

    19   Mundo worked her regular shift from 8:00 a.m. to 6:00 p.m., went home to rest, and then

    20   worked again from 11:00 p.m. through the end of her shift the next day at 6:00 p.m. As a

    21   result, Mundo received a warning for working more than one hundred (100) hours.

    22          114.   Mundo also received a bonus of one hundred sixty ($160.00) dollars at the



                                                        18



                                                                                        USLI000101
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 96 of 126




      1   end of every month as an incentive for not wasting supplies.

     2           115.     In March 2021, Mundo did not receive the one hundred sixty dollar

     3    ($160.00) bonus.

     4           116.     Upon information and belief, Mundo's bonuses and hourly pay referenced

     5    in 11112 were not reported on the W2 she received.

     6           117.     Mundo did not have the balance of her accrued sick time listed on her

     7    paycheck, and she was not allowed to take paid sick time off as there were no employees

     8    to cover for her.

     9           118.     At times, Mundo paid employees for their overtime hours with cash from

    10    the cash register because Harvey had told her that she was not allowed to pay employees

     II   for their overtime hours given the limited payroll budget.

    12           119.     When Mundo paid employees from the cash register, she would either take

    13    an order off the record as she had been trained to do or would issue a refund to balance

    14    the register.

    15           120.     Mundo always used this money to pay other employees for their overtime

    16    hours that would be unpaid otherwise. Mundo did not keep any of the money for herself.

    17           121.     When Sibal discovered that Mundo had been paying employees this way,

    18    he accused her of stealing ten thousand dollars ($10,000.00).

    19           122.     Mundo has records showing that she took out three thousand two hundred

    20    eighty-five dollars and eighty-three cents ($2,285.83) in refunds and voids.

    21           123.     On March 27, 2021, Mundo stopped working at the Restaurant, ending her

    22    employment with Defendants.



                                                       19



                                                                                         USLI000102
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 97 of 126




     1                                                   Espinosa

     2            124.   On or around February 2021, Espinosa completed a week of training by

     3   Plaintiff Jimenez as a food preparer. Her training was unpaid and was approximately 18

     4   hours.

     5            125.   Espinosa began working part-time as a food preparer for Defendants in

     6   February 2021.

     7            126.   Espinosa was scheduled to work 4:00 pm to 10:00 pm, Thursday through

     8   Sunday, for a total of eighteen (18) hours. On one occasion, she worked a fourth day in

     9   the week. Espinosa did not work overtime at Filiberto's.

    10            127.   Espinosa was not paid for her first three (3) weeks of work, including the

    11   week she had worked a fourth day.

    12            128.   Plaintiff was also not paid for her last week of work in March 2021.

    13            129.   Defendants were aware that she had not been paid and although they had

    14   agreed to pay her for her hours worked, they did not.

    15            130.   Espinosa was compensated $12.15 per hour.

    16            131.   Paid sick time appeared on her paycheck but four weeks' worth of hours at

    17   the beginning of her employment had not been counted toward the accruing sick time

    18   balance.

    19            132.   During the relevant time period, Defendants did not provide the

    20   misclassified salaried Plaintiffs with paid sick time off, and Defendants prevented the

    21   hourly Plaintiffs from utilizing the benefit.

    22            133.   Upon information and belief, Defendants have more than fifteen (15)



                                                         20



                                                                                           USLI000103
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 98 of 126




     1   employees within the meaning of A.R.S § 23-372(A). Accordingly, Plaintiffs should have

     2   accrued one (1) hour of paid sick time for every thirty (30) hours worked, for a maximum

     3   of forty (40) hours of earned paid sick time per year. Plaintiffs worked significantly more

     4   than a sufficient number of hours to accrue a total of forty (40) hours of earned paid sick

     5   time each year.

     6          134.   Upon information and belief, Defendants were aware of their obligation to

     7   pay the minimum wage and the proper amount of overtime for all hours worked in excess

     8   of forty (40) hours each week but have failed to do so. This can be inferred by the fact

     9   that Filibertos has been investigated by the federal Department of Labor and was found to

    10   be in violation of minimum wage and overtime laws. Further, Defendants are engaged in

    11   the operation of a sophisticated business.

    12          135.   Upon information and belief, Defendants have failed to maintain the

    13   required pay records pursuant to 29 U.S.C. § 211(c) and A.R.S. § 23-364(D). Defendants'

    14   failure to maintain the required pay records raises a rebuttable presumption that

    15   Defendants did not pay the required minimum and overtime premium. See A.R.S. § 23-

    16   364(D); Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 688 (1946) (overruling a

    17   circuit court requiring the employee to come forth with pay records and stating that the

    18   burden is on employers to provide evidence of the precise amount of work to negate

    19   employees' evidence of work performed).

    20                                    CAUSES OF ACTION

    21                         COUNT I: VIOLATION OF THE FLSA
             (Failure to Pay Federal Minimum Wage as to Plaintiffs Guadarrama, Jimenez,
    22                       Mundo, and Espinosa Against All Defendants)



                                                      21



                                                                                         USLI000104
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 99 of 126




     1
                136.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs a
     2
         if fully set forth herein.
     3
                137.    The FLSA requires employers to pay employees at least the minimum wag
     4
         rate as set by federal law. 29 U.S.C. § 206(a).
     5
                138.    At all times hereinafter mentioned, Defendants have been an employer with'
     6
         the meaning of 29 U.S.C. § 203(d).
     7
                139.    At all times hereinafter mentioned, Defendants have been an enterprise
     8
         engaged in commerce or in the production of goods for commerce within the meaning o
     9
         29 U.S.C. § 203(s)(1), that has had employees engaged in commerce or in the productive
    10
         of goods for commerce, or employees handling, selling, or otherwise working on goods o
    11
         materials that have been moved in or produced for commerce, or in any closely relate
    12
         process or occupation directly essential to the production thereof. Upon information an
    13
         belief, Defendants' enterprise has had, and has, an annual gross volume of sales made a
    14
         business done of no less than $500,000.00 (exclusive of excise taxes at the retail leve
    15
         which are separately stated).
    16
                140.    During the respective periods of Plaintiffs' employment by Defendants
    17
         Plaintiffs provided services for Defendants that involved interstate commerce for purpose
    18
         of the FLSA.
    19
                141.    In performing the operations hereinabove described, Plaintiffs engaged it
    20
         commerce within the meaning of 29 U.S.C. §§ 203(b), 203(i), 203(j), and 206(a).
    21
                142.    As a result of Defendants' pay policies, Plaintiffs were not compensated foe
    '2



                                                      22



                                                                                        USLI000105
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 100 of 126




      1   the work they performed at a rate of hourly pay equal to or greater than the minimum se

      2   by federal law, thereby violating 29 U.S.C. §§ 206 and 215(a)(2).

      3          143.    Moreover, Defendants knowingly, willfully, and with reckless disregar

      4   carried out their illegal pattern of failing to pay Plaintiffs the proper amount of minimun

      5   wage. 29 U.S.C. §§ 206(a), 255(a).

      6          144.    Defendants are sophisticated parties and employers, and therefore knew—o:

      7   should have known—that their pay policies violated the FLSA.

      8          145.    Plaintiffs now seek such compensation that was owed to them under 2

      9   U.S.C. § 206, plus liquidated damages, attorneys' fees, and costs.

     10                         COUNT II: VIOLATION OF THE FLSA
              (Failure to Pay Federal Overtime Wages as to Plaintiffs Guadarrama, Jimenez,
     1I                          Najera, Mundo Against All Defendants)

     12          146.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs a.

     13   if fully set forth herein.

    14           147.    The FLSA prohibits employers from employing their employees for

    15    workweek longer than forty (40) hours unless the employee receives compensation at no

    16    less than one and one-half times the regular rate at which he or she is employed. 29 U.S.C.

    17    § 207(a).

    18           148.    At all relevant times, Plaintiffs were employees who were engaged in

    19    commerce as required by 29 U.S.C. § 207.

    20           149.    Defendants have violated 29 U.S.C. §§ 207 and 215(a)(2) by employing

    21    Plaintiffs in an enterprise engaged in commerce within the meaning of the FLSA fox

    22    workweeks longer than forty (40) hours without compensating such non-exempt



                                                      23



                                                                                         USLI000106
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 101 of 126




     1    employees for all the hours they worked in excess of forty (40) hours per week at rates a

     2    least one and one-half times the regular rates for which they were employed.

     3           150.    Moreover, Defendants knowingly, willfully, and with reckless disregar

     4    carried out their illegal pattern of failing to pay Plaintiffs the proper amount of overtim

     5    compensation. 29 U.S.C. §§ 207(a), 255(a).

     6           151.    Defendants are sophisticated parties and employers, and therefore knew—o

     7    should have known—that their pay policies violated the FLSA.

     8           152.    The decisions and practices by Defendants to not pay the proper amount o

     9    overtime for all hours worked were neither reasonable nor in good faith.

     10          153.    Accordingly, Plaintiffs are entitled to be paid overtime wages for all hour

     11   worked in excess of forty (40) hours per workweek pursuant to the FLSA in an amoun

     12   equal to one- and one-half times their regular rate of pay, plus liquidated damages

     13   attorneys' fees and costs.

     14    COUNT III: VIOLATION OF A.R.S. & 23-363 AS AMENDED BY THE AMWA
           (Failure to Pay the State Minimum Wage as to All Plaintiffs Against All Defendants)
     15
                 154.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs a
     16
          if fully set forth herein.
    17
                 155.    The AMWA requires employers to pay employees at least the minimum
    18
          wage rate as set by state law. A.R.S. § 23-363.
    19
                 156.    At all times relevant to the Complaint, Defendants were employers withir
    20
          the meaning of A.R.S. § 23-362(B).
    21
                 157.    At all times hereinafter mentioned, Plaintiffs were employees within th
    22



                                                      24



                                                                                          USLI000107
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 102 of 126




      1   meaning of A.R.S § 23-362(A).

      2           158.   The FLSA's express reservation of the state's power to set standards highe

     3    than those required by the FLSA establishes a floor of protection which the states are fre

      4   to build upon. 29 U.S.C. § 218(a); see also Reyes v. Lafarga, No. CV-11-1998-PHX-SMM.

      5   2013 U.S. Dist. LEXIS 192798, at *7 (D. Ariz. Nov. 20, 2013). Therefore, the FLSA and

     6    applicable case law is persuasive authority for purposes of the AMWA to the extent it does

      7   not conflict with state law, specifically whether Plaintiffs suffered or were permitted to

     8    work.

     9            159.   As a result of Defendants' pay policies, Plaintiffs were not compensated for

     10   the work they performed at a rate of hourly pay greater than the minimum set by state law.

     11           160.   Defendants willfully failed to pay Plaintiffs at least minimum wage in

     12   violation of the AMWA, A.R.S. § 23-363.

     13           161.   Plaintiffs now seek such compensation that was owed to them under A.R.S.

     14   § 23-363, plus liquidated damages, attorneys' fees, and costs.

     15                      COUNT III: VIOLATION OF A.R.S. & 23-355
              (Failure to Pay Wages Owed as to Plaintiff Guaderrama, Jimenez, Mundo, and
     16                            Espinosa Against All Defendants)

     17           162.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs a

    18    if fully set forth herein.

    19            163.   A.R.S. § 23-355(A) provides that if an employer fails to pay wages due any

    20    employee, the employee may recover in a civil action against an employer or former

    21    employer an amount that is treble the amount of the unpaid wages.

    22            164.   At all times hereinafter mentioned, Plaintiffs were employees within the



                                                       25



                                                                                          USLI000108
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 103 of 126




     1    meaning of A.R.S § 23-350(2).

     2           165.    At all times relevant to the Complaint, Defendants were employers within

     3    the meaning of A.R.S. § 23-350(3).

     4           166.    Defendants willfully failed to pay Plaintiffs for hours worked, including but

     5    not limited to, their hours worked for purposes of training and cleaning.

     6           167.    Plaintiffs now seek such compensation that was owed to them under A.R.S.

      7   § 23-355, plus liquidated damages, attorneys' fees, and costs.

               COUNT V: VIOLATION OF A.R.S. 4 23-372 AS ESTABLISHED BY THE
                                                AFWHFA
                (Failure to Give Paid Sick Time as to All Plaintiffs Against All Defendants)

     10          168.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs a

     11   if fully set forth herein.

     12          169.    The AFWHFA requires that employees shall accrue at least one (1) hour o

     13   earned paid sick time for every thirty (30) hours worked. A.R.S. § 23-372(B).

    14           170.    Plaintiffs were employed by Defendants during the relevant time period an

    15    were covered employees entitled to the protections of A.R.S. § 23-372(B).

    16           171.    Defendants' illegal policy has caused Plaintiffs to work hours for which the

    17    were not compensated and, accordingly, they accumulated less paid sick time than wa

    18    actually earned and at a slower rate.

    19           172.    The Industrial Commission of Arizona requires employers to pay employee

    20    for "all hours worked." A.R.S. § 23-362; A.A.C. § R20-5-1206. By implication, Plaintiff

    21    must accumulate paid sick time at a rate equivalent to "all hours worked." The FLSA'

    22    express reservation of the state's power to set standards higher than those required by th



                                                       26



                                                                                          USLI000109
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 104 of 126




     1    FLSA establishes a floor of protection which the states are free to build upon. 29 U.S.C. §

     2    218(a); see also Reyes, 2013 U.S. Dist. LEXIS 192798, at *7. Therefore, the FLSA and

     3    applicable case law is persuasive authority for purposes of the AFWHFA to the extent it

     4    does not conflict with state law, specifically whether Plaintiffs suffered or were permitted

      5   to work.

     6           173.   At all times relevant to the Complaint, Defendants have been an employer

      7   within the meaning of A.R.S. § 23-371(G).

     8           174.   At all times hereinafter mentioned, Plaintiffs were employees within the

     9    meaning of A.R.S. § 23-371(F).

     10          175.   Plaintiffs are entitled to recover the balance of the earned paid sick time

     11   owed, including interest thereon, and an additional amount equal to twice that amount owed

     12   pursuant to A.R.S § 23-364(G).

     13          176.   Plaintiffs have suffered damages as a result of Defendants' illegal pay

     14   practices.

    15           177.   Defendants are in possession and control of the necessary documents and

    16    information from which Plaintiffs would be able to precisely calculate damages, i.e.

    17    timekeeping records.

    18           178.   To the extent that Defendants also failed to maintain proper payroll record

    19    showing the hours worked and earned paid sick time of Plaintiffs, there is a rebuttabl

    20    presumption that Defendants did not pay the required earned paid sick time. A.R.S. § 23

    21    364(D).

    22           179.   Defendants are subject to a civil penalty of at least $250 for their firs



                                                      27



                                                                                          USLI000110
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 105 of 126




     1    violation and at least $1,000 for each subsequent and willful violation of the record keepin

     2    requirements pursuant to A.R.S § 23-364(F).

     3           180.    In violating the AFWHFA, Defendants acted willfully, without a good fait

     4    basis, and with reckless disregard of applicable Arizona law, and hence, a three-year statutt

     5    of limitations applies to the commencement of this action. A.R.S. § 23-364(H).

     6           181.    Plaintiffs now seek such compensation that was owed to them under A.R.S

      7   §§ 23-372 and 23-364(G), plus liquidated damages, attorneys' fees, and costs.

     8      COUNT VI: VIOLATION OF A.R.S. 23-374(A) AS ESTABLISHED BY THE
                                               AFWHFA
     9       (Systematic Denial of Paid Sick Time Rights as to Plaintiffs Jimenez and Mundo
                                         against All Defendants)
     10
                 182.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs a
    11
          if fully set forth herein.
    12
                 183.     The AFWHFA prevents employers from interfering with, restraining, o
    13
          denying the exercise of paid sick time rights. A.R.S. § 23-374(A).
     14
                 184.     Plaintiffs were employed by Defendants during the relevant time period an
    15
          were covered employees entitled to the protections of A.R.S. § 23-374(A).
    16
                 185.     Defendants' illegal policy preventing employees from taking earned pair
    17
          sick time has caused Plaintiffs to take sick time for which they were not compensated.
    18
                 186.    At all times relevant to the complaint, Defendants have been an employe
    19
          within the meaning of A.R.S. § 23-371(G).
    20
                 187.    At all times hereinafter mentioned, Plaintiffs were employees within th
    21
          meaning of A.R.S. § 23-371(F).
    22



                                                       28



                                                                                           USLI000111
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 106 of 126




     1          188.    Plaintiffs have suffered damages as a result of Defendants' illegal pay

     2   practices.

     3          189.     In violating the AFWHFA, Defendants acted willfully, without a good faitl

     4   basis, and with reckless disregard of applicable Arizona law, and hence, a thee-year statutc

     5   of limitations applies to the commencement of this action. A.R.S. § 23-364(H).

     6          190.     Plaintiffs now seek such compensation that was owed to them under A.R.S

     7   § 23-374(A) plus liquidated damages, attorneys' fees, and costs.

     8                     COUNT VII: VIOLATION OF 26 U.S.C. 5 7434
          (Fraudulent Filing of Information Returns by Defendants as to Plaintiffs Najera and
     9                              Mundo Against Green Fili, LLC)

    10          191.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs a

    11   if fully set forth herein.

    12          192.     Defendant Green Fili, LLC willfully filed fraudulent information return

    13   with respect to payments made to Plaintiffs in violation of 26 U.S.C. § 7434.

    14          193.     As a result of Defendant's unlawful acts, Plaintiffs are entitled to recover

    15   in an amount equal to the greater of $5,000 or the sum of any actual damages sustained b

    16   Plaintiffs as a proximate result of the filing of a fraudulent information return, the costs o

    17   the action, and reasonable attorneys' fees.

    18                     COUNT VIII: VIOLATION OF A.R.S. 5 23-202
           (Unlawful Contract Requiring Plaintiffs to Pay Defendants for Employment as to
    19    Plaintiffs Najera and Guadarrama against Defendants Green Fili, LLC, an Arizona
          Corporation and Jiten Sibal and Mamta Sibal, in their personal capacity as husband
    20             and wife and as trustees on behalf of the Sibal Family Trust Sibal)

    21          194.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs a

    22   if fully set forth herein.



                                                       29



                                                                                           USLI000112
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 107 of 126




     1          195.    The Arizona Exactions of Fees as a Condition of Employment law makes ii

     2    unlawful for an employer to "demand or receive, directly or indirectly...a fee, commission

     3    or gratuity of any kind as the price or condition of the employment." A.R.S. § 23-202; see

     4    e.g., Logan v. Forever Living Prods. Int?, Inc., 52 P.3d 760 (Ariz. 2002).

     5           196.   Defendants willfully required Plaintiffs Guadarrama and Najera to pa

     6    Defendants twenty-thousand dollars ($20,000.00) as a condition of employment it

     7    violation of A.R.S. § 23-202.

     8           197.   At all times relevant to the Complaint, Defendants have been an employe

     9    within the meaning of A.R.S. §§ 23-362(B) and 371(G).

     10          198.   At all times hereinafter mentioned, Plaintiffs were employees within the

     11   meaning of A.R.S. §§ 23-362(A) and 23-371(F).

     12          199.   Plaintiffs have suffered damages as a result of Defendants' unlawfu

     13   contract.

     14          200.   Plaintiffs now seek to be repaid the twenty-thousand dollars ($20,000.00

     15   that was unlawfully taken from them as a condition of their employment with Defendants

     16   plus liquidated damages, attorneys' fees, and costs.

     17          201.   Defendants are liable to Plaintiffs for all wages unpaid, together wick

    18    reasonable attorneys' fees to be fixed by the court. The judgment shall also include

    19    compensation to Plaintiffs at the same rate at which the wages were agreed to be paid, from

    20    the time they became due until the judgement is satisfied. A.R.S. § 23-201(B).

    21           202.   This judgment shall be a first and prior lien against the Restaurant, the

     22   property of Defendants upon which Plaintiffs performed labor. A.R.S. § 23-201(C).



                                                      30



                                                                                         USLI000113
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 108 of 126




     1           203.    Obtaining labor under false pretenses is a class 1 misdemeanor. A.R.S. § 23

     2    201(D).

     3                   COUNT IX: VIOLATION OF A.R.S. § 12-543, et sea.
          (Fraud as to Plaintiffs Najera and Guadarrama Defendants Green Fili, LLC and Jiten
     4    Sibal and Mamta Sibal, in their personal capacity as husband and wife and as trustees
                                 on behalf of the Sibal Family Trust Sibal)
     5
                 204.    Plaintiffs Guadarrama and Najera reallege and incorporate by reference the
     6
          foregoing paragraphs as if fully set forth herein.
      7
                 205.    Defendants knowingly and willfully violated Arizona's common law on
      8
          fraud. A.R.S. § 12-543.
      9
                 206.    A showing of fraud requires a party to show: "(1) a representation; (2) its
     10
          falsity; (3) its materiality; (4) the speaker's knowledge of its falsity or ignorance of its
     11
          truth; (5) the speaker's intent that it be acted upon by the recipient in the manner
     12
          reasonably contemplated; (6) the hearer's ignorance of its falsity; (7) the hearer's reliance
     13
          on its truth; (8) the right to rely on it; and (9) his consequent and proximate injury."
     14
          Echols v. Beauty Built Homes, Inc., 132 Ariz. 498, 500 (1982).
     15
                 207.    Defendants represented to Plaintiffs Guadarrama and Najera that
    16
          Defendants would make Plaintiffs Guadarrama and Najera profit-sharing managers in
    17
          exchange for twenty-thousand dollars ($20,000.00).
    18
                 208.    This representation was false.
    19
                 209.    This representation was material.
    20
                 210.    Defendants knew that this representation was false.
    21
                 211.    Defendants intended that Plaintiffs Guadarrama and Najera act on the false
    22



                                                        31



                                                                                             USLI000114
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 109 of 126




         representation and pay Defendants twenty-thousand dollars ($20,000.00).

     2            212.   Plaintiffs Guadarrama and Najera did not know that the representation was

     3   false.

     4            213.   Plaintiffs Guadarrama and Najera relied on the representation being true.

     5            214.   Plaintiffs Guadarrama and Najera justifiably relied on such a statement

     6   coming from their employer.

     7            215.   Plaintiffs Guadarrama and Najera were injured in the amount of twenty

     8   thousand dollars ($20,000.00) as a direct result of Defendants' misrepresentation.

     9            216.   Plaintiffs have suffered damages as a result of Defendants' fraud.

    10            217.   Plaintiffs are entitled to recover all damages, including punitive damages

    11   and interest thereon, that they sustained as a result of Defendants' fraud, as well a.

    12   attorneys' fees and costs.

    13    COUNT X: ALTERNATIVE LEGAL THEORY: VIOLATION OF ARIZONA'S
                          COMMON LAW ON UNJUST ENRICHMENT
    14    (Unjust Enrichment as to Najera and Guadarrama Defendants Green Fili, LLC and
          Jiten Sibal and Mamta Sibal, in their personal capacity as husband and wife and as
    15                    trustees on behalf of the Sibal Family Trust Sibal)

    16            218.   Plaintiffs Guadarrama and Najera reallege and incorporate by reference the

    17   forgoing paragraphs as if fully set forth herein.

    18            219.   Defendants knowingly and unjustly enriched themselves in the amount of

    19   twenty thousand dollars ($20,000.00).

    20            220.   Plaintiffs Guadarrama and Najera were impoverished in the amount of

    21   twenty thousand dollars ($20,000.00).

    22            221.   There is a direct connection between Defendants' enrichment and



                                                      32



                                                                                          USLI000115
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 110 of 126




         Plaintiffs Guadarrama's and Najera's impoverishment.

     2          222.   There is no justification for Defendants' enrichment and Plaintiffs

     3   Guadarrama's and Najera's impoverishment.

     4          223.   In the absence of a finding that the Contract violated the Arizona Exactions

     5   of Fees as a Condition of Employment law, there is no remedy at law for this violation.

     6   See, e.g., Hill v. Hill, 185 Kan. 389, 345 P.2d 1015, 1025 (1959) ("The existence of a

     7   remedy at law does not deprive equity of jurisdiction unless such remedy is clear,

     8   adequate and complete").

     9          224.   The Contract was unlawful.

    10          225.   Defendants must make restitution to Plaintiffs Guadarrama and Naj era

    11   Harmon v. Harmon, 126 Ariz. 242, 245, 613 P.2d 1298, 1301 (App. 1980) ("A person whc

    12   has been unjustly enriched at the expense of another is required to make restitution to the

    13   other"); see also, Loiselle v. Cosas Management Group, LLC, 224 Ariz. 207, 210, 228 P.3

    14   943, 946 (App. 2010) ("A person is entitled to restitution if he mistakenly believes he i

    15   party to a contract with another and makes payment to the other based on this mistake. Se

    16   Restatement § 15").

    17
                                         PRAYER FOR RELIEF
    18          Plaintiffs pray that they recover from Defendants the following:
    19          A.     An award of unpaid overtime and minimum wages in an amount
    20   appropriate to the proof adduced at trial pursuant to 29 U.S.C. §§ 206, 207, and 216(b);
    21         B.      An award of liquidated damages regarding ¶ A supra, in an amount
    22   appropriate to the proof adduced at trial pursuant to 29 U.S.C. § 216(b);



                                                     33



                                                                                        USLI000116
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 111 of 126




     1         C.     An award of unpaid earned paid sick time in an amount appropriate to the

     2   proof adduced at trial pursuant to A.R.S. § 23-364(G), including interest thereupon;

     3         D.     An award of unpaid minimum wages in an amount appropriate to the proof

     4   adduced at trial pursuant to A.R.S. § 23-363;

     5          E.    An award of liquidated damages equal to twice the amount of unpaid

     6   minimum wages pursuant to A.R.S. § 23-364(G);

     7          F.    An award of liquidated damages equal to twice the amount of unpaid

     8   earned paid sick time pursuant to A.R.S. § 23-364(G);

     9         G.     An award of liquidated damages equal to treble the amount of unpaid

    10   wages owed pursuant to A.R.S. § 23-355(A);

    11         H.     Statutory penalties for a willful violation of A.R.S. § 23-364(F);

    12         I.     Statutory penalties for a willful violation of A.R.S. § 23-201(A);

    13         J.     Pre judgment and post judgment interest on unpaid back wages pursuant to,

    14   inter alia, A.R.S. § 23-364(G);

    15         K.     Attorneys' fees pursuant to 29 U.S.C. § 216(b), A.R.S. § 23-364(G) A.R.S.

    16   § 12-3401;

    17         L.     Statutory penalties for a willful violation of 26 U.S.C. § 7434;

    18         M.     Litigation costs pursuant to 29 U.S.C. § 216(b) and A.R.S. §§ 12-341 & 23-

    19   364(G);

    20         N      An award of relief for willful fraud, pursuant to A.R.S. § 12-543(3);

    21         O.     Restitution pursuant to Arizona's common law on unjust enrichment;

    22         P.     In the event Defendants fail to satisfy any judgment for Plaintiffs, to wit,



                                                     34



                                                                                           USLI000117
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 112 of 126




      1   against Defendants within ten (10) days of the Order becoming final, Defendants shall

          pay Plaintiffs an amount which is treble the amount of the outstanding judgment with

     3    interest thereon, in accordance with A.R.S. § 23-360;

     4           Q.     A declaratory judgment pursuant to the Uniform Declaratory Judgments

     5    Act, A.R.S. § 12-1831, et seq., that Defendants have violated their statutory and legal

     6    obligations and deprived Plaintiffs of their rights, privileges, protections, compensation,

     7    benefits, and entitlements under the law, as alleged herein; and

     8           R.     Such other legal and equitable relief, including punitive damages, as the

     9    Court deems just.

     10          RESPECTUFLLY SUBMITTED this 2nd day of November 2021.

     11

     12                                             LUBIN & ENOCH, P.C.

     13
                                             By:    /s/ Nicholas J. Enoch
    14                                              Nicholas J. Enoch, Esq.
                                                    Attorneys for Plaintiff
    15

    16                                         Tier Designation

    17          The amount of Plaintiffs' damages qualifies this matter as a Tier 2 case in

          accordance with Rule 8(b)(2) of the Arizona Rules of Civil Procedure.
    18

    19                                              LUBIN & ENOCH, P.C.

    20
                                             By:    Is/ Nicholas J. Enoch
    21                                              Nicholas J. Enoch, Esq.
                                                    Attorneys for Plaintiff




                                                      35



                                                                                           USLI000118
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 113 of 126




     1                                    Certificate of Service

     2         I hereby certify that on this 2nd day of November 2021, I electronically filed and

     3   transmitted the attached First Amended Complaint using the AZ-Turbo Court E-filing

     4   Online System.

     5
         /s/ Cristina Gallardo-Sanidad
     6

     7

     8

     9

    10

    11

    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22



                                                    36



                                                                                        USLI000119
    Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 114 of 126




                                                       Clerk of the Superior Court
                                                       *** Electronically Filed ***
                                                            C. Cuellar, Deputy
                                                         8/24/2021 11:28:12 AM
                                                           Filing 113 13288910
    In the Superior Court of the State of Arizona
    In and For the County of Maricopa

    Plaintiff's Attorneys:
    Nicholas J Enoch - Primary Attorney
    Bar Number: 016473, issuing State: AZ            CV2021-013286
    Law Firm: Lubin & Enoch PC
    Lubin & Enoch P.c. 349 North Fourth Avenue
    Phoenix, AZ 85003
    Telephone Number: (602)234-0008
    Email address: nick@lubinandenoch.com


    Clara S. Acosta
    Bar Number: 036044, issuing State: AZ
    Law Firm: Lubin & Enoch PC
    Telephone Number: (602)234-0008


    William W. Holder
    Bar Number: 009478, issuing State: AZ
    Law Firm: Lubin & Enoch PC
    Telephone Number: (602)234-0008


    Plaintiffs:
    Ana Jimenez Guadarrama
    Lubin & Enoch P.c. 349 North Fourth Avenue
    Phoenix, AZ 85003


    Jose Eduardo Jimenez
    Lubin & Enoch P.c. 349 North Fourth Avenue
    Phoenix, AZ 85003


    Manuel Najera Flores
    Lubin & Enoch P.c. 349 North Fourth Avenue
    Phoenix, AZ 85003


    Daniela Mundo Jimenez
    Lubin & Enoch P.c. 349 North Fourth Avenue
1   Phoenix, AZ 85003
3

S




                                                                             USLI000120
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 115 of 126




                     EXHIBIT “F”
6/29/23, 2:18 PM   Case 2:23-cv-00655-DGC Document     14-1
                                              Civil Court       Filed 06/30/23
                                                          Case Information - Case HistoryPage 116 of 126



        Docket



        Civil Court Case Information - Case History

      Case Information
      Case Number:     CV2021-013286               Judge:      Viola, Danielle
      File Date:       8/24/2021                   Location:   Downtown
      Case Type:       Civil

      Party Information
      Party Name                                                        Relationship          Sex               Attorney
      Ana Jimenez Guadarrama                                            Plaintiff             Female            Nicholas Enoch
      Jose Eduardo Jimenez                                              Plaintiff             Male              Nicholas Enoch
      Manuel Najera Flores                                              Plaintiff             Male              Nicholas Enoch
      Daniela Mundo Jimenez                                             Plaintiff             Female            Nicholas Enoch
      Green Fili L L C                                                  Defendant                               Pro Per
      Rajen A Patel                                                     Defendant             Unknown           Pro Per
      Jiten Sibal                                                       Defendant             Unknown           Pro Per
      Mamta Sibal                                                       Defendant             Unknown           Pro Per
      Ana Maria Guadarrama Espinosa                                     Plaintiff             Female            Pro Per


      Case Documents
      Filing Date           Description                                                           Docket Date           Filing Party
      11/3/2022             RNM - Returned Mail                                                   11/3/2022
      NOTE:
      10/27/2022            RNM - Returned Mail                                                   10/27/2022
      NOTE:
      10/27/2022            RNM - Returned Mail                                                   10/27/2022
      NOTE:
      10/27/2022            RNM - Returned Mail                                                   10/27/2022
      NOTE:
      9/27/2022             042 - ME: Case Dismissed - Full                                       9/27/2022
      9/22/2022             NDI - Notice Of Dismissal                                             9/24/2022
      NOTE: Notice of Voluntary Dismissal with Prejudice
      8/11/2022             RNM - Returned Mail                                                   8/11/2022
      NOTE:
      8/11/2022             RNM - Returned Mail                                                   8/11/2022
      NOTE:
      8/11/2022             RNM - Returned Mail                                                   8/11/2022
      NOTE:
      8/4/2022              RNM - Returned Mail                                                   8/4/2022
      NOTE:
      7/6/2022              375 - Case on Dismissal Calendar                                      7/6/2022
      6/30/2022             NOS - Notice Of Settlement                                            7/1/2022
      NOTE: Notice of Settlement
      5/18/2022             375 - Case on Dismissal Calendar                                      5/18/2022
      11/16/2021            AFS - Affidavit Of Service                                            11/22/2021
      NOTE: RAJEN A PATEL
      11/15/2021            AFS - Affidavit Of Service                                            11/20/2021
      NOTE: GREEN FILI LLC
      11/15/2021            AFS - Affidavit Of Service                                            11/20/2021
      NOTE: MAMTA SIBAL
      11/15/2021            AFS - Affidavit Of Service                                            11/20/2021
      NOTE: JITEN SIBAL
www.superiorcourt.maricopa.gov/docket/CivilCourtCases/caseInfo.asp?caseNumber=CV2021-013286                                            1/2
6/29/23, 2:18 PM   Case 2:23-cv-00655-DGC Document     14-1
                                              Civil Court       Filed 06/30/23
                                                          Case Information - Case HistoryPage 117 of 126
      11/3/2021           322 - ME: Notice Of Intent To Dismiss                               11/3/2021
      11/2/2021           AMC - Amended Complaint                                             11/3/2021
      NOTE: First Amended Complaint
      8/24/2021           COM - Complaint                                                     8/24/2021
      NOTE: Complaint
      8/24/2021             CSH - Coversheet                                                  8/24/2021
      NOTE: Civil Cover Sheet
      8/24/2021             CCN - Cert Arbitration - Not Subject                              8/24/2021
      NOTE: Certificate Of Compulsory Arbitration - Is Not Subject To
      8/24/2021             SUM - Summons                                                     8/24/2021
      NOTE: Summons
      8/24/2021             SUM - Summons                                                     8/24/2021
      NOTE: Summons
      8/24/2021             SUM - Summons                                                     8/24/2021
      NOTE: Summons
      8/24/2021             SUM - Summons                                                     8/24/2021
      NOTE: Summons


      Case Calendar
      There are no calendar events on file


      Judgments
      There are no judgments on file




www.superiorcourt.maricopa.gov/docket/CivilCourtCases/caseInfo.asp?caseNumber=CV2021-013286                2/2
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 118 of 126




                     EXHIBIT “G”
     Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 119 of 126




                                                               1001 North Central Avenue, Suite 660
                                                               Phoenix, Arizona 85282
                                                               Phone: (602) 254-6010
                                                               Fax: (602) 254-6352
                                                               Brm@merchantlawaz.com
                                                               www.merchantlawaz.com


                                      April 11, 2022

Sent Via Email Only to mrubin@usli.com

Matthew Rubin, Assistant Vice President
Coverage Specialist
United States Liability Insurance Company
P.O. Box 6700
Wayne, Pennsylvania 19087

       Re:    Insured:                                  USA Truck Center, LLC
              Expanded Definition of Insured:           Green Fili LLC
              Policy No.:                               EPL1559591E
              Claim No.:                                0-13772
              Claimants:                                Ana Jimenez Guadarrama, et al.

Dear Mr. Rubin:

       Thank you again for taking the time to speak with me this morning. As we
discussed, I have reviewed the letter you sent of even date herewith and this letter will
acknowledge our telephone conversation this morning concerning United States Liability
Insurance Company’s (“USLI”) denial of coverage on this claim.

       As was discussed, my client, Green Fili LLC (“Green Fili”) received notification
of the lawsuit filed by Guadarrama, et al. (the “Lawsuit”) in or around September 2021.
Upon service of the Lawsuit, Green Fili notified my firm. Upon notification, this firm
reached out to opposing counsel in an effort to resolve the matter. Rather than involve
insurance, the thought was, even though Green Fili believed it would prevail on the
merits, to avoid further expense and time we would attempt resolution.

       To that end, this firm sought and obtained an extension from opposing counsel to
respond to the Lawsuit. This is important as the “Claim” had not fully matured. As you
will see, the Lawsuit complaint is more general in terms of damages. Unfortunately, it
took Plaintiffs’ counsel several months to send a more exhaustive damages calculation to
my office. It was not until March 29, 2022 wherein Plaintiffs’ attorney sent a letter asking


                                                                                       USLI000229
     Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 120 of 126

Matthew Rubin
United States Liability Insurance Company
April 11, 2022
Page 2

for an egregiously high amount. A Notice of Claim (“Notice”) was immediately filed the
following day on March 30, 2022 with USLI.

        Although you stated in our conversation that our client surpassed the Reporting
Period, you are using the wrong standard. The only standard that applies is: “as soon as
practicable,” which as is stated herein, was reported practicably. Policy EPL1559591E
states the following:

              1.     As a condition precedent to exercising any right to
                     coverage under this Policy, an Insured shall give to
                     the Company written notice of a Claim, as soon as
                     practicable . . .

The word in the Policy, “practicable,” means attainable or feasible. As indicated, Green
Fili made numerous attempts to resolve this matter before reporting it to USLI, offering
the claimants substantially more money than they were entitled to under the
circumstances, but opposing counsel insisted the offers were insufficient. Practicability
is a vague term and should be construed in its broadest sense so not to prejudice any
party. Green Fili worked to avoid filing any claim under its Policy, which was to USLI’s
benefit and to Green Fili’s detriment. Thus, based on the wording of the Policy, Green
Fili did submit its Notice in a timely and practicable manner, one day after claimants’
final, unacceptable settlement counteroffer.

       In your letter and on our telephone call, you insisted that the Green Fili was
required to provide notice of the Lawsuit within sixty (60) days of January 8, 2022. As
the basis for this rationale you cite the following section:

              (b)    if the Policy expires, is cancelled or non-renewed and
                     if no Extended or Reporting period is purchased, no
                     later than sixty (60) days after the expiration date or
                     effective date of such cancellation or non-renewal. . . .

However, what this fails to account for is the fact that the Policy was automatically
renewed prior to the expiration date. The language cited clearly states that notice must be
within sixty (60) days if the Policy “expires, is cancelled or non-renewed.” In this case,
the Policy did not expire nor was it cancelled and, in fact, it was timely renewed, i.e.,
there was no lapse whatsoever. Therefore, this section is not even applicable because of
the fact that it was renewed. Had it expired or was not-renewed then clearly they would
have had to report the Lawsuit within sixty (60) days. In fact, the sixty (60) days is
intended to serve as a grace period for insureds that cancel or do not renew. In this case,



                                                                                     USLI000230
     Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 121 of 126

Matthew Rubin
United States Liability Insurance Company
April 11, 2022
Page 3

Green Fili did timely renew. Had the intent of the policy language been to not cover
insureds that renew, the language would not have included “or non-renewed.”

        I reviewed your email in which you sent me the case Supima v. Philadelphia
Indemnity Insurance Company, 2021 WL 2454052 (D.Ct. 2021). That case is clearly
distinguishable in the fact that our client and your continued insured made every effort
not to involve USLI by taking the brunt of the costs associated with a settlement as
opposed to submitting a Notice for coverage. Green Fili attempted to resolve the claim
earlier but opposing counsel continued to delay such that when he did finally produce an
unreasonable counteroffer, Green Fili submitted a Notice the next day, not three policy
periods later as in Supima. Additionally, in the Supima case, notice was submitted well
after arbitration had commenced. In which case it is completely reasonable to deny
coverage as legal strategies had been develop and theories had been argued. In this case,
a responsive pleading to the Lawsuit has yet to be filed.

       As I indicated in our telephone call, Green Fili has had the same policy in effect
with USLI for several years. Each year, the Policy automatically renews. While USLI
internally changes the letter at the end of the policy with each successive year, the policy
is not a new policy altogether. It is simply a renewal of the same policy. For this
particular policy renewal, there was absolutely no changes to the scope and/or
characteristics of the Policy. To state otherwise is simply a bad faith tactic to avoid
coverage to a long-term and loyal client.

      USLI has a responsibility to provide coverage to Green Fili, plain and simple.
Any other decision would be considered bad faith.

        Green Fili requests you reconsider USLI’s coverage denial. Should USLI
continue to refuse coverage to Green Fili, Green Fili will have no other option than to file
suit for bad faith. As I mentioned, time is of the essence in this matter. Please respond
within 24 hours of your receipt of same.

                                          Sincerely,

                                          MERCHANT LAW FIRM PLLC



                                          Bimal R. Merchant
                                          for the Firm
BRM/ef
cc:  Client



                                                                                      USLI000231
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 122 of 126




                     EXHIBIT “H”
Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 123 of 126




April 11, 2022

Raj Patel
USA Truck Center, LLC
9831 S. 51st Street, Ste. D134
Phoenix, AZ 85044

VIA EMAIL at raj85008@gmail.com

RE:    Claimant:                             Ana Jimenez Guadarrama, et al.
       Claim Number:                         0-13772
       Reported Date of Loss:                3/30/2022
       Date Received:                        3/30/2022
       Insured:                              USA Truck Center, LLC
       Expanded Definition of Insured:       Green Fili, LLC
       Retroactive Date:                     1/6/2016
       Policy Number:                        EPL1559591F
       Policy Effective Dates:               1/8/2022 – 1/8/2023
       Issuing Company:                      United States Liability Insurance Company

Dear Raj Patel:

United States Liability Insurance Company (“this Company”) acknowledges receipt of the First
Amended Complaint filed by Ann Jimenez Guadarrama against you and Green Fili, LLC on
November 2, 2021. We also confirm issuing the above-referenced Employment Practices Liability
Policy (“the Policy”). We regret to inform you there is no coverage, either defense or
indemnification, under the Policy for this matter.

Without delving into the substance of Ms. Guadarrama’s First Amended Complaint, Ms.
Guadarrama filed her original Complaint on August 24, 2021. You confirmed in an email to
Andrea Dulac that you and Green Fili, LLC received notice of Ms. Guadarrama’s Complaint in
September of 2021 and hired counsel to respond. Ms. Guadarrama filed her First Amended
Complaint on November 2, 2021 and then filed an Affidavit of Service on November 15, 2021.

Bearing the foregoing in mind, please refer to paragraph A of the Insuring Agreement of the Policy,
as amended by the EPL-169 (11-13) Amended Notice/Claim and Circumstance Reporting
Provisions endorsement, which reads:

                 A.   The Company will pay on behalf of the Insured, Loss in excess of the
                      Retention not exceeding the Limit of Liability shown on the policy
                      Declarations for which this coverage applies that the Insured shall become
                      legally obligated to pay because of Claims first made against the Insured
                      during the Policy Period or during any Extended Reporting Period, if
                      applicable, for Wrongful Acts arising solely out of an Insured's duties on




                                                                                              USLI000225
     Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 124 of 126

                                                                                Raj Patel
                                                                                 0-13772
                                                                           April 11, 2022
                                                                                    pg. 2
                      behalf of the Organization. Such Claim must be reported to the Company
                      in accordance with Section IX herein.

"Claim" is defined in the DEFINITIONS section of the Policy, on page one of the EPLJ (09-07)
policy form, as follows:

               B.     "Claim" means:

               (1)    any written notice received by any Insured that any person or entity intends
                      to hold such Insured responsible for a Wrongful Act, or

               (2)    any proceeding initiated against any Insured, including any appeal
                      therefrom, seeking to hold such Insured responsible for a Wrongful Act,
                      including any proceeding conducted by the Equal Employment Opportunity
                      Commission or similar federal, state or local agency, and any appeal
                      therefrom;

               A Claim shall be considered first made when the Insured or its legal representative
               or agent first receives notice of a Claim.

The Policy is a “Claims Made and Reported” policy that provides coverage only for claims “first
made during the Policy Period”. As is noted in the caption of this letter, the Policy incepted on
January 8, 2022, and the Policy Period began on that date. Ms. Guadarrama first brought her
“Claim” against Green Fili, LLC when Green Fili, LLC received notice of her original Complaint
in September of 2021. Per the Court’s docket, Green Fili, LLC was also served with her First
Amended Complaint on or before November 15, 2021. Thus, Ms. Guadarrama’s “Claim” was
first made against Green Fili, LLC on or before November 15, 2021, prior to the inception of the
Policy and it was not “first made during the Policy Period”. Therefore, there is no coverage under
the Policy for her “Claim”.

To the extent you might inquire if coverage exists under policy EPL1559591E, effective from
January 8, 2021 to January 8, 2022, and which was in force at the time Green Fili, LLC first
received notice of Ms. Guadarrama’s claim, please refer to the Notice/Claim Reporting
Requirements section of that policy, as modified by the Amended Notice/Claim and Circumstance
Reporting Provisions endorsement, which reads:

       A.      Written Notice of a Claim:

               (1)    As a condition precedent to exercising any right to coverage under this
                      Policy, an Insured shall give to the Company written notice of a Claim,
                      as soon as practicable but:

                      (a)     if the Policy expires, is cancelled or is non-renewed and if no
                              Extended Reporting Period is purchased, no later than sixty (60)




                                                                                            USLI000226
     Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 125 of 126

                                                                                    Raj Patel
                                                                                     0-13772
                                                                               April 11, 2022
                                                                                        pg. 3
                               days after the expiration date or effective date of such cancellation
                               or non-renewal. Coverage for a Claim reported to the Company
                               during the sixty (60) day period after expiration, cancellation or non-
                               renewal applies only if the Claim is first made against an Insured
                               prior to the Policy expiration or effective date of cancellation or non-
                               renewal; or

                       (b)     if an Extended Reporting Period is purchased, no later than the last
                               day of the Extended Reporting Period;

Like the Policy, policy EPL1559591E is a “Claims Made and Reported” policy that provides
coverage for claims “first made during the Policy Period” provided that those claims are also
reported within 60 days after the expiration of that policy. As a condition precedent to coverage,
Green Fili, LLC was required to report any claim made against it “as soon as practicable” and in
no event “later than sixty (60) days after the expiration date” of the policy in which the “Claim”
was made. Because Ms. Guadarrama first made her “Claim” while policy EPL1559591E was in
force, Green Fili, LLC was required to report her “Claim” by March 9, 2022. However, Green Fili,
LLC did not report her “Claim” to this Company until March 30, 2022, 81 days after the expiration
of policy EPL1559591E. Thus, Green Fili, LLC failed to report Ms. Guadarrama’s “Claim” within
60 days after the expiration of policy EPL1559591E, thereby breaching a condition precedent to
coverage under that policy and negating any coverage that might have otherwise existed under
policy EPL1559591E for her claim.

For the reasons stated above, neither the Policy nor policy EPL1559591E provides coverage for
this matter. This determination is based upon all information available to me at this time. If you
have additional information or legal authority that you believe may affect the Company’s position
regarding coverage for this claim, or you obtain such information or authority in the future, I would
be happy to review the same at any time. There may be other reasons for which coverage does not
exist for this matter, and the failure to enumerate each and every potential ground for a coverage
denial does not mean that the Company has waived any rights under the Policy. The Company’s
position may be subject to change if additional facts and legal theories are developed and we
reserve all of our rights under the Policy.

If you have questions or disagree with the decision communicated in this letter, please contact me
via email at mrubin@usli.com or by phone at (610) 902-9515.

                                              Sincerely,



                                              Matthew Rubin
                                              Assistant Vice President
                                              Coverage Specialist




                                                                                                USLI000227
      Case 2:23-cv-00655-DGC Document 14-1 Filed 06/30/23 Page 126 of 126

                                                                 Raj Patel
                                                                  0-13772
                                                            April 11, 2022
                                                                    pg. 4
Cc:    Brett Nelson
       Via email at brett-nelson@leavitt.com




                                                                             USLI000228
